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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK


  EMILY ZAPANTIS-DALAMAKIS, TRAVIS
  CARTER, MARIANA ARGYROS, MICHELLE
  BAPTISTE, VENESSA BURRELL-BARTLEY,                          CASE NO. 24-4631
  STEPHON BYNOE, CONNI CALIA,
  ADRIANA CARBONE, JESSICA DALY,
  SUZANNE DEEGAN, STEPHANIE DICAPUA,
  LEAH ERLENBACH, MEGAN FICCHI,                               SECOND AMENDED
  KELLY FINLAW, MICHELE GARRETT,                              PROPOSED CLASS ACTION
  ARIJANA LUKACEVIC, ANAMARIE MEDINA,                         COMPLAINT
  AYELLET MOAS, MICHAEL MONZILLO,                             JURY TRIAL DEMANDED
  DONNY NAPOLITANO, MAWULI OLIVIERRE,
  PETER OTTO, LEONARD PIZZA, SAUNDRA
  RAYMOND, ROBERT RETTINO, NICOLE
  RIVICCI, CHRISTIAN SCHMIDT, DAMARIS
  SCOTT, BONNIE SKALA KILADITIS, JUDITH
  STAMOS, ZABDIEL VALERA, and all others
  similarly situated,


                        Plaintiffs,

        vs.

  CITY OF NEW YORK and the NEW YORK CITY
  DEPARTMENT OF EDUCATION,

                        Defendants.




       “The Religion then of every man must be left to the conviction and conscience of every
       man; and it is the right of every man to exercise it as these may dictate. This right is in its
       nature an unalienable right. It is unalienable, because the opinions of men, depending
       only on the evidence contemplated by their own minds cannot follow the dictates of other
       men: It is unalienable also, because what is here a right towards men, is a duty towards
       the Creator. It is the duty of every man to render to the Creator such homage and such
       only as he believes to be acceptable to him.”

                                                      ― James Madison, 1784

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         The above-named Plaintiffs, through their counsel, stand before this honorable court

  seeking justice and compensation for unlawful religious discrimination carried out by their

  employer, the New York City Department of Education (“DOE”) in concert with the City of New

  York (the “City”). Plaintiffs assert claims under Title VII of the Civil Rights Act of 1964, as

  amended (“Title VII”), 4200 U.S.C. § 2000e, et seq; 42 U.S.C.§1983, for the deprivation of rights

  under the First Amendment and Fourteenth Amendment of the United States Constitution; the New

  York City Human Rights Law (“CHRL”), NYC Administrative Code Title 8, and the New York

  State Human Rights Law (“SHRL”), NY Executive Law § 296, et seq.

                     INTRODUCTION AND SUMMARY OF THE CASE

         1.     This case arose because the City, working in concert with its DOE, engaged in

  widespread religious discrimination in an attempt to evade statutory obligations to accommodate

  religious practices of DOE employees that conflicted with the City’s Covid-19 vaccine mandate.

         2.     The discrimination occurred through three distinct phases:

                a. Initial “Phase 1” DOE denial: DOE denied 100% of applications through an

                    autogenerated system on the basis that it was allegedly “more than a minimal

                    burden” to provide any accommodations. No human being reviewed a single

                    application, and no cooperative dialogue was offered before the autogenerated

                    denials were sent out. Denials were even sent to employees that already had

                    remote jobs.

                b. Stricken Standards “Phase 2” Appeals: arbitrators considered whether to

                    reverse the DOE denials using a written policy that required them to facially

                    discriminate against applicants depending on what religion they belonged to

                    and whether their “religious leader” supported vaccines. If the applicant met the


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                      discriminatory criteria, they were reinstated regardless of undue hardship. If

                      not, they were rejected. During the appeals, DOE and City actors repeatedly

                      and aggressively argued that their official policy was to categorically deny

                      Catholics, Jews, Buddhists, Muslims and most Christians as well as anyone

                      with beliefs derived from prayer or an objection to abortion.

                  c. Citywide Panel “Phase 3” Remedial Review: after the DOE’s religious

                      accommodation policies were found unconstitutional by the Second Circuit, the

                      City offered to remediate the acknowledged constitutional harm by reviewing

                      those denied by the arbitrators de novo. They denied 499 out of 500 applicants

                      with unexplained autogenerated emails stating that applicants “did not meet

                      criteria” and noting that it would be an undue hardship to accommodate them

                      given the need for safe in person learning.

          3.      This lawsuit is brought by 31 Plaintiffs denied through all three phases of the

  DOE’s religious accommodation process. They bring this case as a proposed class action lawsuit

  on behalf of themselves and all others similarly situated, asserting statutory claims and

  constitutional claims.

          4.      This lawsuit is distinct from the Second Circuit’s decision in New Yorkers for

  Religious Liberty, Inc. v. City of N.Y. ("NYFRL") in that it asserts statutory as well as constitutional

  claims. Title VII and the SHRL and CHRL all place the burden on the employer (not the plaintiff)

  to prove that an employee’s accommodation request would pose a significant threat of substantial

  harm that could not be mitigated with reasonable measures without significant hardship or

  expense.

          5.      Plaintiffs in this case also are entitled to constitutional relief. In NYFRL, the Second



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  Circuit affirmed that Phase 1 and 2 of the DOE’s religious accommodation process was

  unconstitutional, but held that to make a free exercise claim for denials under Phase 3, plaintiffs

  would have to plead facts that gave rise to an inference that the “undue hardship” reasoning

  provided by the panel was either pretextual or not based on lawful standards. The NYFRL court

  held that two of the plaintiffs met that burden and the rest did not on the conclusory facts in that

  complaint. The facts in this complaint establish that the Citywide Panel’s undue hardship

  determinations were pretextual and did not meet these or other statutory standards for any

  plaintiffs. For example, after the NYFRL complaint was filed in early 2022, the City offered

  Attorney Eric Eichenholtz as a 30(b)(6) witness to provide further information about how the

  Citywide Panel operated. He affirmed under oath that the Citywide Panel applied the unlawful de

  minimis hardship standard rather than the “significant expense or difficulty” standard required by

  law, failed to consider any of the required statutory factors for economic harm, safety or alternative

  accommodations, and conducted no individualized assessment of direct threat analysis. He also

  testified that the City did not actually make any independent undue hardship assessment but simply

  relied on the DOE’s tainted, blanket and unsupported assertion that it could be an undue hardship

  to accommodate anyone under the unlawful “de minimis” burden test.

         6.      Plaintiffs in this case include not only classroom teachers but also administrators,

  psychologists, secretaries, and remote workers who posed no direct threat and could have been

  accommodated without any hardship whatsoever, as set forth in detail later in this complaint.

  Multiple Plaintiffs already worked remotely, had co-teachers in place, or worked exclusively in

  administrative offices without student contact.

         7.      Moreover, substantial evidence has arisen since the operative complaint in NYFRL

  that requires a re-examination of all the constitutional claims. For example, the Second Circuit’s



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  holding on animus depends on the holding that there were insufficient nonconclusory facts that

  could lead to an inference that the Mayor or the City participated in implementing the DOE’s

  clearly unconstitutional Phase 1 and 2 reviews or that the DOE was involved in the undue hardship

  determinations at the Phase 3 Citywide Panel review phase.

         8.      This complaint asserts specific facts that show that both were true. For example,

  this complaint cites the fact that the Mayor admitted publicly to the press that the City was involved

  in the DOE’s original determinations under the Stricken Standards, and directed them to

  categorically deny Catholics, Jews and others besides Christian Scientists. Moreover, in blatant

  violation of the Establishment Clause, the City sent articles to DOE representatives and directed

  them to categorically deny most religions, and Commissioner Chokshi wrote a letter to the

  arbitrators and the Citywide Panel instructing them to deny religious objections that involved

  concerns about abortion, despite his acknowledgment that all three vaccines used fetal cell lines

  derived from aborted fetuses in their production or development. These and other examples of

  animus require strict scrutiny of the City’s “remedial” review of the original acknowledged

  unconstitutional denials as well as the DOE’s original two determinations.

         9.      After denying accommodation and terminating employees for failing to violate

  their sincerely held religious beliefs, Defendants attached “problem codes” to plaintiff’s

  employment files, marking them as unhireable, and creating a barrier to getting rehired or

  employed elsewhere that still haunts most plaintiffs today.

         10.     Plaintiffs have been gravely harmed. They’ve lost their livelihoods, their homes,

  their savings, gone hungry and suffered severe trauma from having been subjected to punitive

  policies that forced them to choose between their jobs and faith in such a discriminatory and

  arbitrary manner.



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         11.     Despite the fact that the Mandate was repealed in early 2023, and despite severe

  staffing shortages, DOE continues to retaliate against Plaintiffs and still refuses to allow most

  Plaintiffs to return to work.

         12.     Plaintiffs seek declaratory relief, reinstatement with back pay, front pay and

  benefits, nominal and compensatory damages, and attorneys' fees. They also seek an apology and

  a promise that this will never happen to anyone employed by the City again.

                                   JURISDICTION AND VENUE

         13.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

  Plaintiffs further invoke the supplemental jurisdiction of this Court pursuant to 28 U.S.C. § 1367(a)

  to hear related claims arising under New York State law because they are so related to the federal

  claims that they form part of the same controversy.

         14.     Venue is proper in this district under 28 U.S.C § 1391(b) because it is the district

  in which a substantial part of the events giving rise to Plaintiffs’ claims occurred.

                                          NAMED PARTIES

         15.     Plaintiff MARIANA ARGYROS is a resident of Queens County, New York. Prior

  to being denied religious accommodation, Ms. Argyros was a tenured teacher working in Queens

  with over 17 years of service at DOE.

         16.     Plaintiff MICHELLE BAPTISTE is a resident of Kings County, New York. Prior

  to being denied religious accommodation, Ms. Baptiste was a tenured teacher working in Brooklyn

  with over 30 years of service at DOE.

         17.     Plaintiff VENESSA BURRELL-BARTLEY is a resident of Queens County, New

  York. Prior to being denied religious accommodation, Mrs. Burrell-Bartley was a tenured teacher

  working in Queens with four years of service at DOE.



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         18.    Plaintiff STEPHON BYNOE is a resident of Kings County. Prior to being denied

  religious accommodation, Mr. Bynoe was a tenured Special Educator and General Education

  Teacher who worked in an administrative building with 22 years of service at DOE.

         19.    Plaintiff CONNI CALIA is a resident of Queens County, New York. Prior to being

  denied religious accommodation, she was a school psychologist, working in Brooklyn with over

  20 years of service at DOE.

         20.    Plaintiff ADRIANA CARBONE is a resident of Bronx County, New York. Prior

  to being denied religious accommodation, Ms. Carbone was a Community Associate working at

  the administrative offices in Manhattan with over nine years of service at DOE.

         21.    Plaintiff TRAVIS CARTER is a resident of Richmond County, New York. Prior to

  being denied religious accommodation, Mr. Carter was a tenured teacher working in Staten Island

  with over 21 years of service at DOE.

         22.    Plaintiff JESSICA DALY is a resident of Richmond County, New York. Prior to

  being denied religious accommodation, she was a paraprofessional working in Staten Island with

  over ten years of service at DOE.

         23.    Plaintiff EMILY ZAPANTIS-DALAMAKIS currently resides in Greece. Prior to

  being denied reasonable religious accommodation, she was a tenured Assistant Principal working

  in Queens with over twenty years of service at DOE.

         24.    Plaintiff SUZANNE DEEGAN is a resident of Monmouth County, New Jersey.

  Prior to being denied religious accommodation, Mrs. Deegan was a tenured teacher working in

  Staten Island with over 20 years of service at DOE.

         25.    Plaintiff STEPHANIE DICAPUA is a resident of Richmond County, New York.

  Prior to being denied religious accommodation, Ms. DiCapua was a tenured teacher working in



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  Richmond County with nearly five years of service at DOE; Ms. Dicapua joins this lawsuit only

  for the Title VII claims.

         26.     Plaintiff LEAH ERLENBACH is a resident of Kings County, New York. Prior to

  being denied religious accommodation, Ms. Erlenbach was a paraprofessional working in

  Brooklyn with 5 years of service at DOE.

         27.     Plaintiff MEGAN FICCHI is a resident of Richmond County, New York. Prior to

  being denied religious accommodation, Mrs. Ficchi was an Assistant Principal working in

  Richmond County with over ten years of service at DOE.

         28.     Plaintiff KELLY FINLAW is a resident of New York County. Prior to being denied

  religious accommodation, Ms. Finlaw was a tenured teacher working in Manhattan with over

  fourteen years of service at DOE.

         29.     Plaintiff MICHELE GARRETT is a resident of Suffolk County, New York. Prior

  to being denied religious accommodation, she was a tenured teacher working in Queens with over

  twenty years of service at DOE.

         30.     Plaintiff ARIJANA LUKACEVIC is a resident of Queens County, New York. Prior

  to being denied religious accommodation, she was a paraprofessional working in Queens with two

  years of service at DOE.

         31.     Plaintiff ANAMARIE MEDINA is a resident of Westchester County. Prior to being

  denied religious accommodation, Ms. Medina was a tenured teacher working in the Bronx with 27

  years of service at DOE.

         32.     Plaintiff AYELLET MOAS is a resident of Broward County, Florida. Prior to being

  denied religious accommodation, Ms. Moas was a tenured special education teacher working in

  Manhattan with over thirteen years of service at DOE.



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         33.     Plaintiff MICHAEL MONZILLO is a resident of Nassau County, New York. Prior

  to being denied religious accommodation, he was a biology teacher, working in Queens with over

  eight years of service at DOE.

         34.     Plaintiff DONNY NAPOLITANO is a resident of Saint John’s County in Florida.

  Prior to being denied religious accommodation, he was a tenured secondary math teacher working

  in Brooklyn with over eight years of service at DOE.

         35.     Plaintiff MAWULI OLIVIERRE is a resident of Kings County, New York. Prior

  to being denied religious accommodation, he was a tenured teacher working in Brooklyn with over

  23 years of service at DOE.

         36.     Plaintiff PETER OTTO is a resident of Suffolk County, New York. Prior to being

  denied religious accommodation, Mr. Otto was a tenured teacher working as a school programmer

  in charge of remote learning in Queens with just under fifteen years of service at DOE.

         37.     Plaintiff LEONARD PIZZA is a resident of Suffolk County, New York. Prior to

  being denied religious accommodation, he was a tenured teacher working in Queens with eighteen

  years of service at DOE.

         38.     Plaintiff SAUNDRA RAYMOND is a resident of Westchester County, New York.

  Prior to being denied religious accommodation, she was a tenured teacher working in the Bronx

  with over twenty-four years of service at DOE.

         39.     Plaintiff ROBERT RETTINO is a resident of Putnam County, New York. Prior to

  being denied religious accommodation, he was a tenured teacher working in the Bronx with over

  sixteen years of service at DOE.

         40.     Plaintiff NICOLE RIVICCI is a resident of Richmond County, New York. Prior to

  being denied religious accommodation, she was a tenured teacher working in Brooklyn with six



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 years of service at DOE.

        41.     Plaintiff CHRISTIAN SCHMIDT is a resident of Kings County, New York. Prior

 to being denied religious accommodation, he was a tenured teacher, working in Manhattan with

 over sixteen years of service at DOE.

        42.     Plaintiff DAMARIS SCOTT is a resident of Bronx County, New York. Prior to

 being denied religious accommodation, she was a secretary, working in the Bronx with over

 twenty-four years of service at DOE.

        43.     Plaintiff BONNIE SKALA KILADITIS is a resident of Queens County, New York.

 Prior to being denied religious accommodation, she was a tenured teacher working in Queens with

 over twenty-four years of service at DOE.

        44.     Plaintiff JUDITH STAMOS is a resident of Suffolk County, New York. Prior to

 being denied religious accommodation, she was an occupational therapist working in Queens with

 over ten years of service at DOE.

        45.     Plaintiff ZABDIEL VALERA is a resident of Essex County, New Jersey. Prior to

 being denied religious accommodation, he was a tenured teacher, working in Manhattan with over

 fifteen years of service at DOE.

        46.     Defendant CITY OF NEW YORK is a municipal corporation of the State of New

 York and can sue and be sued. The City operates and employs people through its municipal

 agencies. Since 2002, the City has exercised Mayoral control over DOE pursuant to a grant of

 authority to the City from the State Legislature.

        47.     Defendant DOE is a school board organized under, and existing pursuant to, the

 New York Education Law. Defendant DOE maintains its headquarters at 52 Chambers Street, New

 York, New York and operates in all five boroughs of the City of New York. The Mayor of the City



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 of New York exercises mayoral control over the DOE.

                                CLASS ACTION ALLEGATIONS

         48.     Plaintiffs propose that this matter be certified as a class action pursuant to Rule 23

 in their representative capacity on behalf of themselves and the class of all others similarly situated,

 as defined in this Amended Complaint.

         49.     Plaintiffs propose that the class consist of all persons who applied for but were

 denied religious accommodation from the Covid-19 vaccine mandate applicable to DOE

 employees and contractors (the “Class”) and were informed they would get a Citywide Panel

 review but were not accommodated through that process.

         50.     This action meets the following prerequisites of Rule 23(a):

                 a. Numerosity: upon information and belief, the Class consists of approximately

                     five hundred people. Due to the large number of class members, joinder of all

                     members is impracticable, and indeed, virtually impossible.

                 b. Ascertainability: the Class is ascertainable. DOE and the City sent notifications

                     to applicants for religious accommodation between November 2021 and

                     January 2022 confirming that they would get the fresh review.

                 c. Commonality: the central issues in this case are common to the whole Class,

                     including but not limited to –

                          i. Whether the facts give rise to an inference of discrimination that could
                             have impacted the Defendants’ religious accommodation decisions and
                             policies; and
                         ii. Whether the DOE’s original accommodation policies were unlawful or
                             discriminatory on their face or as applied; and
                        iii. Whether the facts give rise to an inference that the Citywide Panel
                             reviews were also affected by discrimination and animus; and
                        iv. Whether the denials based on undue hardship were pretextual; and
                         v. Whether the denials based on undue hardship were applied evenly
                             between those accepted under the DOE’s original, admittedly


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                       unconstitutional religious accommodation policies and those unlawfully
                       denied under that policy but given fresh consideration by the Citywide
                       Panel; and
                   vi. Whether Defendants could have accommodated Plaintiffs and other
                       members of the Class without undue hardship; and
                  vii. Whether the policies at issue are subject to strict scrutiny; and
                 viii. Whether Defendants’ policies can survive strict scrutiny or rational
                       basis review.

            d. Typicality: Plaintiffs’ claims are typical of the claims of the Class. Plaintiffs

                were all in good standing at their jobs at DOE, and each applied for religious

                accommodation, was denied, timely appealed, was denied again, and suffered

                harm as a result including the harm of being placed on leave without pay and

                deprived of their salary and tenure in or around the fall of 2021. Plaintiffs were

                each subsequently informed that they would get fresh consideration by the

                Citywide Panel but were not accommodated as a result of that fresh review. The

                claims of the Plaintiffs and the Class arise from the same events and actions by

                Defendants and are based on the same legal theories.

            e. Adequacy: Plaintiffs will fairly and adequately protect the interests of the Class.

                They do not have any interests that conflict with the interests of the Class. They

                have engaged competent counsel who are experienced in complex litigation,

                including class actions, and have won relief for groups of Plaintiffs impacted

                by these very same policies.

            f. Superiority: a class action is superior to alternatives, if any, for the timely, fair,

                and efficient adjudication of the issues alleged herein. A class action will permit

                numerous similarly situated individuals to prosecute their common claims in a

                single forum simultaneously without duplication of evidence, expense and

                resources. This action will result in uniformity of decisions and avoid risks of


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                    inconsistency and incompatible standards of conduct in the judicial system. It

                    will also more efficiently allow adjudication of the pattern and practice claims.

                 g. Maintainability: this action is properly maintainable as a class action for the

                    above-mentioned reasons and under Rule 23(b). Individual litigation is too

                    costly. This is expensive litigation against deep-pocket government employers

                    who have shown an unwillingness to afford relief class wide even after

                    admitting that its policies were discriminatory. The City and DOE routinely

                    appeal when they lose and tie up case in years of expensive appeals. These hard-

                    working employees, who have been shut out of work and retaliated against for

                    three years now, do not have the means to hire attorneys to individually litigate

                    their claims for years on end, and there are not enough attorneys who work in

                    this area to represent them all individually even if they did. Individual actions

                    would also unnecessarily burden the courts and waste judicial resources.

                 h. Predominance: questions of law or fact common to Class Members predominate

                    over any question that may affect only individual members. A class action is

                    superior to other methods for fairly and efficiently adjudicating the controversy.

                   STATEMENT OF FACTS COMMON TO ALL CLAIMS

    I.         BACKGROUND ON THE MANDATE AND INITIAL REFUSAL TO
               ACCOMMODATE

    A. The Pandemic

         51.     At some point between the fall of 2019 and spring of 2020, the Covid-19 virus

 began circulating in New York City and around the world.




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        52.       In March 2020, New York State declared a state-disaster emergency due to the

  Covid-19 pandemic. Schools were closed for the remainder of the Spring 2020 semester across

  the state, including all DOE schools.

        53.       In the 2020-2021 school year, DOE schools reopened for in-person learning, with

  the option of remote instruction if families preferred that option.

        54.       This fact was not addressed in NYFRL, where the Court was under the impression

  that the DOE was just resuming in person learning in the fall of 2021 when the Mandate was

  issued.

        55.       In fact, most DOE teachers and staff were required to return to in-person instruction

  the year before in the fall of 2020 and many students resumed in person learning in the fall of

  2020 as well.

        56.       In or around December 2020, vaccines became available against Covid-19.

        57.       But there was no vaccine mandate during the 2020-2021 school year, and DOE

  allowed Plaintiffs to continue to work unvaccinated for the entire school year and following

  summer, even if they were working in person around students in the classroom.

    B. Scientific Consensus Prior to Mandate

        58.       On June 23, 2021, a year and a half in to the pandemic, Governor Cuomo announced

  that the pandemic emergency was officially over in New York State.

        59.       The virus had mutated by that time to become more mild, there were far fewer

  deaths and hospitalizations, and the crisis had stabilized dramatically.

        60.       By the end of July 2021, the scientific consensus among world public health leaders

  coalesced around three facts:




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                 a. vaccinated people could still catch and spread SARS-CoV-2 and were equally

                      as infectious as unvaccinated people when they did; and

                 b. herd immunity could not be achieved through vaccination; and

                 c. any vaccine protection waned significantly after a matter of weeks.

         61.     By August 2021, governments around the world publicly acknowledged that

 vaccination would not stop the spread of the virus, and that everyone, vaccinated and unvaccinated

 alike, would likely catch Covid-19 regardless of vaccine measures.

         62.     On August 5, 2021, prior to the issuance of any DOE Mandate, Wolf Blitzer

 interviewed CDC Director Rochelle Walensky, who acknowledged on national television that the

 vaccines could not stop transmission of Covid-19.

         63.     For example, Dr. Walensky said: “But what [the vaccines] can’t do anymore is

 prevent transmission.” When asked if asymptomatic vaccinated people could pass on the virus, Dr.

 Walensky further stated, “that’s exactly right.” 1

     C. Issuance of Mandate and Initial Refusal to Accommodate

         64.     On or about August 24, 2021, Mayor Bill de Blasio and Commissioner Chokshi

 issued the first version of a new "emergency" regulation mandating Covid-19 vaccination for most

 DOE employees and removing the previous alternative option of testing in lieu of vaccination.

         65.     Initially, the City and DOE announced they would consider no religious or medical

 accommodations from the Mandate.

         66.     Plaintiffs assert that an inference of animus against those with religious objections

 to the vaccine can be deduced from the aggressive no accommodation stance given that: (1) the

 scientific consensus at the time showed that vaccines could not meaningfully stop the spread of


 1
  Blitzer, W. (2021, August 5). Transcript: Interview with CDC Director Dr. Walensky. The Situation Room, CNN.
 http://www.cnn.com/TRANSCRIPTS/2108/05/sitroom.02.html

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 Covid; (2) the CDC had already announced, prior to the issuance of the Mandate, that vaccinated

 people could also spread Covid-19; (3) the DOE had allowed teachers to work in person for the

 past year unvaccinated without issue with students; and (4) no other school district in the state or

 neighboring states refused the accommodation of weekly testing in lieu of vaccination.

           67.     On or about September 9, 2021, the MLC and sixteen unions filed a lawsuit

 (“MLC Litigation”) in State Court, challenging the Mandate and the Defendants’ refusal to

 consider reasonable accommodations pursuant to their statutory duties.

           68.     On September 14, 2021, the Supreme Court, New York County, issued a temporary

 restraining order (“TRO”) enjoining the City from enforcing the Mandate “solely because the

 Department of Health and Mental Hygiene Order’s mandate did not reference the possibility of

 any medical or religious exemption.” The New York City Mun. Labor Committee v. The City of

 New York, No. 158368/2021, 2021 WL 4502854, at *2 (N.Y. Sup. Ct. Sep. 22, 2021).

           69.     The next day, on September 15, 2021, the first version of the DOE Mandate was

 rescinded and reissued, with an amendment clarifying that “[n]othing in this order shall be

 construed to prohibit any reasonable accommodation otherwise required by law.” 3

           70.     The City assured the court that it intended to allow for reasonable religious and

 medical accommodation from the Mandate.

           71.     The New York State Supreme Court accordingly vacated the TRO, stating that it

 was “obviate[d]” by the Commissioner’s amendment allowing for religious and medical

 accommodation. Mun. Labor Committee, 2021 WL 4502854, at *3.

     II.         DEFENDANTS ADOPT AND ENFORCE THE STRICKEN STANDARDS.




 3
  The Mandate was also further amended later in September 2021, but not substantively for purposes of this Petition
 other than to push back the effective date as a result of further lawsuits.

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        72.     In a parallel proceeding against both the City and DOE, the United Federation of

 Teachers (“UFT”), Local 2, AFT, AFL-CIO (“UFT”) filed a Declaration of Impasse on September

 1, 2021, contending, among other things, that Defendants’ failure to provide religious and medical

 accommodations was unlawful and that the Defendants further failed to afford due process

 regarding job and benefits protection.

        73.     On September 10, 2021, an impact arbitration decision was rendered by Arbitrator

 Martin Scheinman requiring that the DOE provide eligible employees with reasonable religious

 accommodation. [Exhibit 1 – not offered for the truth of the document, but to show what the policy

 said]. Shortly thereafter, materially identical awards were issued to cover Counsel of School

 Supervisors and Administrators (“CSA”) members and District Council (“DC37”) employees

 subject to the DOE Mandate.

        74.     The arbitration awards are collectively referred to hereafter as the “Stricken

 Standards” since they were later struck down as unconstitutional by the Second Circuit Court of

 Appeals. Kane v. de Blasio, 19 F.4th 152, 167 (2d Cir. 2021).

        75.     In the Stricken Standards, the arbitrator began by ordering both the City and the

 DOE to provide religious accommodation from the Mandate, allowing them to either choose their

 own accommodation process or an expedited process issued in the Stricken Standards. The

 decision begins: "As an alternative to any statutory reasonable accommodation process, the City,

 the Board of Education of the City School District for the City of New York (the 'DOE'), and the

 United Federation of Teachers, Local 2, AFT, AFL-CIO (the 'UFT'), (collectively the 'Parties')

 shall be subject to the following Expedited Review Process..."

        76.     This information was not before the Court in NYFRL or in Kane, in which

 litigations the parties had not realized that the arbitration had been against the City and DOE, and



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 both entities had been ordered to implement and oversee a religious accommodation process for

 DOE employees.

        77.     The arbitrator, Martin Scheinman, served as a major donor and fundraiser for

 Mayor de Blasio and his neutrality is and was contested at the time that DOE adopted the Stricken

 Standards.

        78.     He acknowledged that in drafting the Stricken Standards, he incorporated

 submissions from the parties.

        79.     The language setting forth the criteria for which religious beliefs could (and could

 not) qualify was largely proposed by the City and the DOE.

        80.     These criteria in the Stricken Standards were clearly designed to deny most

 applicants by unconstitutionally narrowing the definition of what beliefs could qualify for religious

 accommodation. The City’s participation in drafting and proposing this language leads to another

 inference of animus.

        81.     On its face, the “Expedited Review Process” set forth in the Stricken Standards sets

 forth unconstitutional denominational preferences and categorically excludes most religions from

 protection and access to accommodation.

        82.     For example, the Stricken Standards provide the following criteria for determining

 who could access accommodation: “religious exemptions for an employee to not adhere to the

 mandatory vaccination policy must be documented in writing by a religious official (e.g., clergy).

 Requests shall be denied where the objection is personal, political, or philosophical in nature.

 Exemption requests shall be considered for recognized and established religious organizations

 (e.g., Christian Scientists).” [Stricken Standards at 9]. This language was almost entirely drafted and

 proposed by Defendants’ attorneys.



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         83.     Multiple problems stand out in this definition of what constitutes “acceptable”

 religious beliefs:

         84.     First, the criteria favors Christian Scientists, predefining Christian Science as the

 only enumerated example of a “recognized” and “established religious organization.” This gives

 Christian Scientists an unfair advantage.

         85.     Second, the policy requires the government to decide which other religions than

 Christian Science are “recognized” as “established religious organizations” which requires them

 to entangle themselves with religious questions in violation of the Establishment Clause. If an

 applicant belongs to a religion that is not deemed “established” and “recognized” by the

 government employer, whatever that means, the person must be denied. It is well-settled law that

 government cannot “establish” which religions are “recognized” and thus valid.

         86.     Third, the policy also provides that religious objection based on personally held or

 “philosophical” religious beliefs must be denied. This violates federal, state, and local statutory

 standards, as well as constitutional standards, all of which require that personally held or unorthodox

 religious beliefs are just as protected as those that are endorsed by official church dogma.

         87.     In fact, even moral or philosophical beliefs are defined by the EEOC and governing

 law as expressly protected religious beliefs, but under the Stricken Standards, they were excluded

 from protection even if the beliefs were sincerely held.

         88.     Fourth, the Stricken Standards require that the religious objection “must be

 documented in writing by a religious official (e.g. clergy).” The certification requirement

 discriminates against those who practice religions that do not belong to a hierarchical organization

 or who have different religious beliefs about the Covid-19 vaccines than their pastor or church

 leader. Defendants were on notice that the clergy requirement was illegal. It is long-established

 law in New York that governments cannot require a person to show a clergy letter or belong to an

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 “established religion” to have their religious beliefs protected. See, e.g., Sherr v. Northport-E.

 Northport Union Free Sch. Dist., 672 F. Supp. 81, 92 (E.D.N.Y. 1987).

         89.     Fifth, the Stricken Standards require that, even if the DOE were to determine a

 person does belong to an “established” and “recognized” religion, and that religious organization

 provided a clergy letter, the applicant must still be denied if the “leader” of their faith has publicly

 expressed support for vaccination. “Leader” is not defined in the Stricken Standards, but in

 practice, the City and the DOE repeatedly interpreted this concept broadly to categorically deny

 accommodation to whole categories of religious employees based on sometimes random ideas

 about who the leader of a faith might be.

         90.     Though the government is prohibited by the Fourteenth Amendment to the United

 States Constitution from making or enforcing any policy which abridges the privileges and

 immunities of citizens of the United States, or which denies any person within its jurisdiction equal

 protection, the City and the DOE adopted and enforced the Stricken Standards as the official policy

 for determining religious accommodations from the vaccine mandate. The Mayor further endorsed

 the process as valid in a press conference.

         91.     These actions lead to a further reasonable inference of animus against both

 Defendants.


     A. Phase 1 - DOE denies 100% of applicants without review based on “undue hardship.”

         92.     Under the Stricken Standards, employees had only a few days to submit their

 applications, and initial determinations were to be made by DOE staff in the Division of Human

 Capital, Office of Equal Opportunity and Office of Employee Relations.

         93.     These DOE departments were to apply the criteria from the Stricken Standards to

 determine who should be accommodated and provide a reason for any determination.


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        94.     Within hours or days of submitting their application, every single applicant who

 applied under the Stricken Standards received the same autogenerated email from DOE stating:

        Dear [NAME],

        We have reviewed your application and supporting documentation for a religious
        exemption from the DOE COVID-19 vaccine mandate. Your application has failed to meet
        the criteria for a religious based accommodation.

        Per the Order of the Commissioner of Health, unvaccinated employees cannot work in a
        Department of Education (DOE) building or other site with contact with DOE students,
        employees, or families without posing a direct threat to health and safety. We cannot offer
        another worksite as an accommodation as that would impose an undue hardship (i.e. more
        than a minimal burden) on the DOE and its operations.

        This application was reviewed in accordance with applicable law as well as the Arbitration
        Award in the matter of your union and the Board of Education regarding the vaccine
        mandate. Under the terms of the Arbitration Award, you may appeal this denial to an
        independent arbitrator. If you wish to appeal, you must do so within one school day of this
        notice by logging into SOLAS https://dhrnycaps.nycenet.edu/SOLAS and using the option
        "I would like to APPEAL". As part of the appeal, you may submit additional
        documentation and also provide a reason for the appeal.

        Sincerely, HR Connect Medical, Leaves, and Records Administration

        Please do not reply to this message via e-mail. This email address is automated.

        95.     Notwithstanding that the Stricken Standards already was designed to categorically

 deny most applicants, Defendants thus applied the Stricken Standards to exclude even more

 employees from protection than the discriminatory policy allowed.

        96.     As bad as the Stricken Standards were, the one thing that the policy did for

 employees was to guarantee that the DOE had to grant religious accommodation by allowing an

 employee to remain on payroll and work outside of the classroom if an applicant qualified under

 its criteria, without an excuse to deny based on “undue hardship.”

        97.     In the Stricken Standards, there was no provision for undue hardship, which the

 unions had argued would be applied as a pretext given the Defendants’ prior refusal to apply the



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 accommodation standards in good faith.

        98.     Rather, under the Stricken Standards, at both the initial DOE review and in the

 appeals, any applicant who qualified “within the specific criteria identified above shall be

 permitted the opportunity to remain on payroll..” and further provided: “Such employees may be

 assigned to work outside of a school building (e.g., at DOE administrative offices) to perform

 academic or administrative functions as determined by the DOE while the exemption and/or

 accommodation is in place…the DOE shall make best efforts to make these assignments within

 the same borough as the employee’s current school, to the extent a sufficient number of

 assignments exist in the borough. Employees so assigned shall be required to submit to COVID

 testing twice per week for the duration of the assignment.”

        99.     The DOE’s decision to deny 100% of the applicants, even those who qualified and

 even those who already worked in administrative offices or could easily do so violated the Stricken

 Standards, which stated: “The process set forth, herein, shall constitute the exclusive and complete

 administrative process for the review and determination of requests for religious and medical

 exemptions to the mandatory vaccination policy and accommodation requests where the requested

 accommodation is the employee not appear at school.”

        100.    In addition to violating the arbitrator’s award, the autogenerated denials violated

 statutory standards in multiple ways.

        101.    First, the DOE did not engage in any good-faith individualized attempts to
                ---

 accommodate employees before issuing blanket “undue hardship” denials to 100% of applicants.

        102.    No human being at the DOE individually reviewed the applications before

 sending out the autogenerated emails denying accommodation.

        103.    Applicants were not contacted by any person at DOE to discuss their applications



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 before they were denied.

        104.    No cooperative dialogue was offered or took place before the denials were issued.

        105.    The same or substantially the same email was sent to all applicants.

        106.     The DOE also sent out the same email to employees who were already approved

 to work remotely and those who did not have student-facing jobs.

        107.    Plaintiffs assert these facts lead to a further reasonable inference of discrimination

 and pretext.

        108.     Second, the denial incorrectly states that the Mandate did not allow DOE

 employees to work in person.

        109.    It was not true that the Mandate did not allow DOE employees to work in person

 around students – on the contrary, as Attorney Eichenholtz admitted in sworn depositions, the

 Mandate had been expressly amended to allow for any reasonable religious accommodation,

 which would include in person accommodation.

        110.    By law, employers bear the burden of proving that an employee is a direct threat

 and of proving that no reasonable accommodation could be made without undue hardship that

 would mitigate this threat.

        111.    Nothing in the Mandate provided justification for a blanket ban on in-person

 accommodation without individualized analysis of the statutory factors for each employee, as

 Eric Eichenholtz, the City’s Rule 30(b)(6) witness, affirmed under oath.

        112.    Third, the DOE’s denials admitted - on their face - that Defendants applied the

 wrong legal standard for assessing whether accommodation would pose an undue hardship.

        113.    The denials stated that Defendants used the de minimis standard, but under the

 SHRL and CHRL, the employer bears the burden of proving that accommodation would create a



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 “significant” burden or expense, and under Title VII, the employer must prove substantial

 hardship, not de minimis hardship.

        114.    Moreover, pursuant to federal, state and local law, employers also must prove that

 they made the undue hardship determination after assessing all possible accommodations against

 specific statutory defined criteria, and the best available evidence, on a good-faith individualized

 basis before denying an applicant.

        115.    Under all three statutes, an employer must also engage in a good faith cooperative

 dialogue about any potential accommodations and the employers concerns about economic or

 safety issues they may present, which allows the employee to then address those concerns and/or

 propose a different accommodation.

        116.    DOE did not engage in cooperative dialogue with any employee before issuing

 the denials.

        117.    DOE did not make any good faith attempt to individually analyze any of the

 required statutory factors for any applicant before conclusively denying them all based on alleged

 undue hardship.

        118.    DOE did not prove or individually assess whether any employee was a direct

 threat due to their vaccination status before sending out the autogenerated blanket denials.

        119.    DOE did not prove or individually assess whether it would be an undue hardship

 to provide reasonable accommodation for any employee deemed a direct threat before sending

 out the autogenerated blanket denials.

        120.    Some employees were already working remotely, or could have easily worked

 remotely, when they received the blanket undue hardship denials, and no one ever articulated

 why it would be an undue hardship to accommodate them.



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           121.   Most of those who received the email denial had already been accommodated to

 work remotely in the past and could have easily been accommodated to do so again.

           122.   And all employees could have been easily accommodated in person or remotely,

 as they had been for the entirety of the pandemic, without undue hardship or safety concerns, as

 further set forth in the undue hardship section below.

           123.   Upon information and belief, the summary blanket denials were issued to

 demoralize, discourage and harass employees with religious objections to the vaccines.

           124.   Whatever the motive, employees got the message, loud and clear, that DOE was

 not acting in good faith.

           125.   The applicants had poured their hearts out into their religious accommodation

 letters, which is a vulnerable thing to do.

           126.   They were given only a few days to commit their most sacred innermost thoughts

 to paper, and to gather a clergy letter if they could.

           127.   Receiving an autogenerated response, almost immediately, with a boilerplate

 denial, felt like a mockery of their faith and showed many employees that further efforts were

 futile.

           128.   The DOE’s decision to violate statutory standards and their own Stricken

 Standards policy by proactively denying 100% of the applicants through an autogenerated email

 pretextually asserting “undue hardship” leads to a reasonable inference of animus, bad faith

 and/or that the undue hardship denials were pretextual and not issued in accordance with statutory

 standards.

     B. Phase II – the Defendants Each Participate in Unconstitutional Arbitration Appeals

           129.   Pursuant to the autogenerated email denials, and the Stricken Standards policy,



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 applicants had 24 hours to appeal their initial DOE denials.

        130.      Many employees were unable to appeal, since the electronic “SOLAS” system

 they were required to submit applications through crashed and froze repeatedly during their brief

 window to appeal. Many others felt it was futile to appeal, after receiving DOE’s insulting

 autogenerated generic denials in response to their good-faith and heartfelt accommodation

 requests.

        131.      Notwithstanding these hurdles, each named Plaintiff in this lawsuit timely

 submitted their request for appeal.

        132.      Pursuant to the Stricken Standards, the appeals were sent to an arbitrator, who was

 supposed to judge the appeals based on the criteria set forth in the Stricken Standards.

        133.      Arbitrators could deny the application outright or request a zoom hearing first.

        134.      Arbitrators were given unfettered discretion whether to allow a hearing.

        135.      There was no apparent reason why some employees were granted a hearing, and

 others denied.

        136.      Some of the Plaintiffs were denied without the opportunity for a zoom hearing.

 They were provided with no explanation whatsoever for the denial of the hearing, or the reasons

 for the denial of their appeals, just given a paper that had an “x” next to the word “Denied.”

        137.      Other identically situated applicants were allowed a zoom hearing.

        138.      After the appellate process, at least 169 DOE employees were granted

 accommodation, and some of these were classroom teachers. The vast majority were denied,

 again, with no explanation other than an “x” next to the word denied in the vast majority of cases.

 Direct Evidence of Discrimination in the Arbitration Hearings

        139.      Neither DOE nor the arbitrators kept any records explaining the arbitration



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 decisions and DOE admitted in other lawsuits and position statements to the EEOC that it cannot

 explain the reasons why some were granted, and others denied.

        140.    But dozens of employee accounts in this and other cases show direct evidence of

 systematic discrimination by DOE representatives and by the arbitrators during this process. As

 set forth more fully in this complaint, at the zoom hearings, the arbitrators and DOE

 representatives engaged in what can only be described as heresy inquisitions, in which they

 discriminated even more zealously than the already discriminatory policy required.

        141.    For example, DOE representatives openly and repeatedly asserted that DOE’s

 official position was that all Jews, Catholics, Muslims, Buddhists and most Christian

 denominations had to be categorically denied.

        142.    DOE took the official position that all Jews must be denied because of a Jerusalem

 Post article stating that a Rabbi in Israel was vaccinated.

        143.    DOE representatives repeatedly referenced this article in zoom hearings to assert

 that all Jews must be categorically denied accommodation.

        144.    Jewish applicants from this and other lawsuits repeatedly documented that though

 they explained that their own Rabbi did not share the Israeli Rabbi’s opinion, that Judaism is a

 diverse religion, and that a random Rabbi in Israel could not be deemed the “leader” of all Jews,

 they were still told that Jews could not qualify under the Stricken Standards because of the

 Jerusalem Post article.

        145.    Similarly, DOE also took the repeated position that all Catholics had to be denied,

 because Pope Francis is vaccinated.

        146.    There is substantial debate within the Catholic faith, like many other faiths, about

 whether it is religiously permissible to take a Covid-19 vaccine.



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        147.    For example, a whole council of Catholic Bishops set forth a document asserting

 that it is likely not permissible for Catholics to take any of the Covid-19 vaccines due to the use

 of aborted fetal cell lines in production and development of the vaccines.

        148.    Moreover, while Pope Francis is vaccinated and expressed his public opinion that

 vaccination might be permissible despite the connection to abortion, he also instructed Catholics

 that they must each consult their religious conscience to make the choice for themselves.

        149.    Nonetheless, DOE argued repeatedly in the zoom hearings that all Catholics

 should be denied because the Catholic Pope was vaccinated.

        150.    DOE maintained this position even if the applicant provided a letter from their

 own Priest or religious leader stating that they had a valid religious objection.

        151.    DOE representatives went so far as to argue in at least one documented case that

 a Buddhist applicant should be denied because his views were not shared by the Catholic Pope

 even though the DOE representative acknowledged that DOE found his religious beliefs sincere

 and even after he pointed out that he was not Catholic. Nonetheless, DOE argued that since he

 was raised as a Christian and said that he was still guided by Christ as well as Buddha, he must

 be denied because the Pope was vaccinated.

        152.    DOE representatives also often argued that any non-denominational Christians

 other than Christian Scientists should be categorically denied due to the Pope’s beliefs.

        153.    In multiple cases where Christians submitted letters from their own religious

 leaders, explaining that they also religiously opposed vaccination, DOE argued that the Pope’s

 beliefs controlled all Christians other than Christian Scientists, and the applicant had to be denied,

 even if sincere and even if they were following the teachings of their religious leader.

        154.    Alternatively, DOE representatives often argued that less hierarchical, or non-



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 denominational Christian churches were not “Established” enough to allow members to be

 accommodated under the Stricken Standards.

        155.    Similarly, the DOE representatives routinely argued for categorical denial of

 Seventh Day Adventists, often referencing a letter purporting to be from a Seventh Day Adventist

 leader to assert that all Seventh Day Adventists must be denied.

        156.    DOE also argued that all Buddhists had to be denied because the Dalai Lama was

 vaccinated.

        157.    The Dalai Lama is a spiritual leader of the Gelug (“Yellow Hat”) sect, which is

 one of at least four sects of Tibetan Buddhism.

        158.    There are many other sects of Buddhism - perhaps thousands of other sects,

 outside of Gelug Buddhism.

        159.    Moreover, according to spiritual texts, Buddha told his followers not to take any

 leader when he was dying, but rather, that each must rely on the dharma to examine the truth for

 themselves.

        160.    But DOE still repeatedly argued that all Buddhists should be categorically denied

 because the Dalai Lama was vaccinated.

        161.    DOE also argued repeatedly that all Muslims must be denied due to the alleged

 discovery of an alleged “leader” of that diverse faith who was vaccinated.

        162.    DOE also categorically denied several specific religious objections, even in cases

 where they deemed them sincerely held.

        163.    Especially, DOE representatives argued that any religious objection based on

 concerns about the use of aborted fetal cell lines was presumptively invalid.

        164.    In support of this argument, DOE primarily relied on a letter from Health



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 Commissioner David Chokshi, in which the Commissioner argued that concerns about aborted

 fetal cells did not merit religious protection.

         165.    In the letter, the Commissioner admitted that aborted fetal cell lines were used

 prior to licensing in some phase of the development of each Covid-19 vaccine, but he

 recommended that arbitrators and decision-makers deny these concerns because he believed

 many faith leaders felt it was okay to take the vaccines notwithstanding this connection due to

 the potential public health benefit.

         166.    It is well documented that aborted fetal cell lines were used in the production

 and/or development of the available Covid-19 vaccines.

         167.    DOE’s attorneys have admitted they have no basis to contest this fact.

         168.    Mr. Chokshi’s opinion that these concerns do not merit religious protection is

 impermissible governmental entanglement in religious questions and constitutes discrimination.

         169.    Nonetheless, the DOE repeatedly used Commissioner Chokshi’s letter in zoom

 hearings, arguing that concerns about the use of aborted fetal cell lines did not merit religious

 protection and were a reason to categorically deny anyone who brought it up, regardless of

 whether they were deemed sincere or not.

         170.    The DOE’s discriminatory statements and ignorant assumptions about faith were

 common and well-documented throughout the accommodation process, as evidenced by the

 following examples from the individual plaintiffs in this case.

         171.    Many Plaintiffs experienced firsthand how DOE representatives repeatedly made

 categorical statements denying accommodation based on an applicant's religious affiliation rather

 than their individual sincerely held beliefs, as evidenced by the following examples:

                 a. When Ms. Zapantis, a Greek Orthodox applicant, explained that the Greek



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                    Orthodox church is autocephalous, that many Bishops and Greek Orthodox

                    churches she follows share her religious objection to vaccines, and that she

                    follows the teachings of the Holy Spirit, the Holy Elders and the Saints, DOE

                    representatives argued that this was essentially heretical, and that the arbitrator

                    must take the Archbishop's guidance as the only valid religious belief for a

                    Greek Orthodox applicant and deny Ms. Zapantis’ beliefs on that basis.

                b. In Mr. Valera's hearing, though DOE acknowledged he had sincerely held

                    religious beliefs, they argued he must be denied because the leadership of the

                    Seventh Day Adventist religion was vaccinated, presenting a letter from the

                    President/leadership committee of the Church as evidence against Mr.

                    Valera’s own religious interpretation of what his faith required.

                c. Despite Mr. Stephon Bynoe's role as Pastor of his Ministry and his having

                    written religious accommodation letters for two of his congregation that were

                    granted accommodation, his own request was denied without a hearing.

        172.    DOE representatives demonstrated particular hostility toward religious beliefs

  related to abortion and the use of fetal cell lines in vaccine development.

                a. In Mrs. Burrell-Bartley's hearing, DOE representatives chiefly argued that she

                    was not entitled to accommodation because her church was "wrong" to object

                    to the link between vaccines and abortion, arguing that Commissioner

                    Chokshi's letter and opinion that such concerns were silly required she be

                    dismissed.

                b. When Ms. Daly explained that she did not worship the Pope or any man, but

                    rather followed God's guidance, the DOE representative still pulled out



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                    Commissioner Chokshi's letter and argued that based on this letter, and its

                    reference to the Pope, her religious objections to abortion should be denied

                    accommodation.

                 c. Similarly, when Ms. Finlaw presented her religious objections during her

                    hearing, the DOE representative argued that beliefs derived from guidance

                    from God and scripture, and concerns about abortion are inherently

                    "philosophical" not religious, despite her pastor's letter affirming her religious

                    beliefs.

        173.     DOE representatives routinely dismissed personally held religious beliefs or

 those derived from prayer, showing hostility toward non-hierarchical religious practices. As a

 few examples:

                 a. For Mr. Napolitano, who stated that his beliefs derived from prayer and his

                    interpretation of scripture, the DOE representative acknowledged the sincerity

                    of his religious beliefs but repeatedly argued that his beliefs were "wrong,"

                    and thus should not be granted accommodation.

                 b. During Ms. Stamos' hearing, she was subjected to what her then-attorney

                    characterized as unconstitutional questioning, with the arbitrator "aggressively

                    grilling her about irrelevant aspects of her faith and whether she belonged to a

                    religious organization that shared these same beliefs." Ms. Stamos reported

                    feeling she was in a "heresy inquisition" and left "shaken and traumatized."

        174.     These and similar lines of argument in the hundreds of other zoom hearings

 demonstrated a clear pattern of “direct evidence” of religious discrimination, with DOE

 representatives and arbitrators making impermissible judgments about the validity of applicants'



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 religious beliefs rather than focusing on sincerity and consistently imposing a hierarchy of

 religions that privileged certain faiths and religious interpretations over others.

 Arbitrators Exercised Substantial Discretion

        175.    Arbitrators often joined in in the discriminatory positions and comments, accusing

 applicants of being wrong about what their faith required, or essentially, of being heretics for not

 allegedly following Pope Francis or the Dalai Lama or the Israeli Rabbi or whoever they decided

 to deem the leader of the faith.

        176.    Arbitrators also routinely referenced the letter from Commissioner Chokshi as a

 basis for categorically denying sincerely held religious beliefs in cases where an applicant

 mentioned abortion.

        177.    DOE and City representatives encouraged such harassment from the arbitrators,

 joining in and doing nothing to remediate the comments when made.

        178.    However, the arbitrators were given enormous discretion to decide who was

 accommodated and not, which led to some instances where those who DOE argued should be

 categorically denied were accommodated.

        179.    For example, one applicant, Amaryllis Ruiz-Toro, who was an assistant principal

 whose job required substantial student classroom work in person, was accommodated even

 though DOE argued that she should be categorically denied.

        180.    Ms. Ruiz-Toro belonged to a small non-denominational church, which shared her

 religious objection to the vaccines. Her pastor wrote a letter in support and all parties found her

 sincere. However, the DOE argued that she still could not be accommodated under the Stricken

 Standards because her non-denominational Christian church was too small to be considered

 “established” as required under the Stricken Standards.



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        181.    The arbitrator assigned disagreed with the DOE. He admitted that many of his

 colleagues were denying people who belonged to minority churches but asserted that he, as a

 Southerner, appreciated that there were independent and non-denominational churches. So, Ms.

 Ruiz-Toro was accommodated and remained accommodated and on payroll throughout the

 Mandate.

 The City aided, abetted and colluded in the direct discrimination during this phase.

        182.    As set forth more fully throughout this section, each phase of this discriminatory

 conduct occurred with the City's knowledge and most of the discriminatory conduct was endorsed

 and encouraged by the City. The Mayor’s office and the City actively participated in establishing

 the discriminatory criteria, were responsible for providing religious accommodation under the

 arbitration order and participated in implementing the Stricken Standards. The City is thus jointly

 liable for the DOE’s discriminatory religious accommodation policies and practices.

        183.    Most of the facts in this section were not before the court in NYFRL or Kane. In

 Kane, when assessing whether those plaintiffs were likely to succeed in establishing a facial

 challenge to the mandate itself based on discriminatory comments made by the Mayor, the Court

 held that there were insufficient factual allegations in that early complaint to show that the City

 “had a meaningful role in establishing or implementing the Mandate’s accommodation process,

 which was implemented by DOE staff, and later, the Arbitrator.” Kane, 19 F.4th at 165. Now,

 substantially more facts are known that change this analysis.

        184.    As a threshold matter, in 2002, the New York State Legislature granted the City

 “Mayoral Control” over New York City’s public schools. At all times relevant to this Complaint,

 pursuant to this authority, as extended and amended over the years, the Mayor’s office exercised

 control over DOE and its operations.



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        185.    Moreover, the arbitration was against the City as well as the DOE. The arbitration

 award did not only order the DOE to accommodate employees but also ordered that the City

 accommodate employees, using the Stricken Standards, or any other “statutory reasonable

 accommodation process.”

        186.    Pursuant to the fact that the City was jointly ordered to implement the Stricken

 Standards, at all times relevant to this Complaint, the Mayor and/or City employees under his

 control worked closely with DOE to oversee and direct the religious accommodation policies and

 their discriminatory implementation.

        187.    The City also actively participated in suppressing religious accommodation

 unlawfully as described more fully in this section.

        188.    The Mayor’s office and Mayor’s legal counsel initially directed DOE not to offer

 any religious or medical accommodation from the Mandate.

        189.    When faced with a court order to provide religious accommodation, the Mayor’s

 office and/or Mayor’s legal counsel then participated in drafting the proposed language for what

 criteria to use in judging a valid religious accommodation requests, which were later adopted in

 the Stricken Standards.

        190.    Upon information and belief, Attorney Eichenholtz, who was, at all times relevant

 to this Complaint, working under the direction and guidance of the City of New York, was one

 of the attorneys who drafted the proposed criteria adopted in the Stricken Standards and advised

 the City on how to implement it.

        191.    At the time, Attorney Eichenholtz was the director of the labor and employment

 litigation group and was in charge of all litigation against the City arising from the Stricken

 Standards.



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        192.    After advising the City in proposing and adopting the religious accommodation

 criteria struck down by the Second Circuit as unconstitutional in Kane, Attorney Eichenholtz was

 promoted to Managing Attorney for the entire New York City Law Department.

        193.    The City, who was ordered to jointly implement the accommodation process, was

 also intimately involved in directing the DOE in the implementation of these policies and aiding

 and abetting the exclusion of as many applicants as possible from accommodation based on

 unconstitutional criteria.

        194.    In a press briefing held on September 23, 2021, the day before the DOE arbitration

 appeal hearings began, Mayor de Blasio was questioned about how the City was going to decide

 who to accommodate and how. What follows is the relevant excerpt from the transcript:

        Question: … So, my first question actually addressed when you were talking about
        deploying, you know, moving substitute teachers if you need to for potential shortages on
        Monday. But in terms of the religious and medical exemptions, do you have an exact
        number? The percentage of teachers who have asked for the exemptions?
        Mayor: I don't have it in front of me, but I'll make sure the DOE gets you that update.
        What we saw was the rules were, you know, through the arbitration process, very, very
        clear about what constituted the types of criteria for those exemptions. And what the
        consequences are if someone doesn't have an exemption and chooses not to work. So, I
        think what's different in these last few days compared to weeks ago is the ground rules
        were 100 percent set through an arbitration process that involved the city and the union. I
        have been struck at how few people have applied for those exemptions. We'll get you the
        final numbers. And the process of determining who gets them and who doesn't is playing
        out over these next few days. But again, we saw, you know, even yesterday, I think as we
        were talking through the vaccination numbers. You see they're jumping up intensely
        among educators and staff. I think the truth is a hell of a lot of people are getting ready
        for Monday. They hadn't gotten vaccinated yet. They're planning to do it the next few
        days. Go ahead.
        Question: Could you maybe go into some of that criteria so I know like with religious
        exemptions, for example, there have been leaders such as the Pope that have said it's okay
        you know, to get – for Catholics to get the vaccine. So, are there any religious exemptions
        that you know of?
        Mayor: Yeah, it's a great question. Thank you. Yes. And very powerfully Pope Francis
        has been abundantly clear that there's nothing in scripture that suggests people shouldn't
        get vaccinated. Obviously, so many people of all faiths have been getting vaccinated for
        years and decades. There are, I believe it's two well-established religions, Christian
        Science and Jehovah's Witnesses that have a history on this, of a religious opposition. But


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        overwhelmingly the faiths all around the world have been supportive of vaccination. So,
        we are saying very clearly, it's not something someone can make up individually. It has
        to be, you're a standing member of a faith that has a very, very specific long-standing
        objection. Go ahead.

        195.    There is no reasonable interpretation that could render these full comments to be

 merely a personal opinion. The Mayor clarifies that the City was involved in establishing the

 Stricken Standards policy – for example, when he states: “the ground rules were 100 percent set

 through an arbitration process that involved the city and the union.” And then the Mayor goes on

 to admit an intention to categorically discriminate against most religions and only grant religious

 accommodation to members of certain faiths that have “a very, very specific longstanding

 objection” according to the Mayor. He does not say “DOE” will do this. He says “So, we are
                                                                                            --
 saying very clearly, it's not something someone can make up individually. It has to be, you're a

 standing member of a faith that has a very, very specific long-standing objection.”

        196.    There is additional evidence that the City was intimately involved in and aided

 and abetted the DOE’s implementation of the Stricken Standards in a maximally discriminatory

 way.

        197.    The Mayor’s office and/or Mayor’s legal counsel provided DOE with a letter from

 the Jerusalem Post and advised DOE to deny Jewish applicants based upon that article.

        198.    The Mayor’s office and/or Mayor’s legal counsel also advised DOE to exclude

 Buddhists, because the Dalai Lama was vaccinated.

        199.    The Mayor’s office and/or Mayor’s legal counsel also advised DOE to exclude

 Muslims, because the City believed a Muslim leader was vaccinated.

        200.    The Mayor’s office and/or Mayor’s legal counsel also advised DOE to exclude

 Catholics, because Pope Francis was vaccinated.

        201.    The Mayor also took an official City position on religious questions, announcing


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 to the press that “Pope Francis has been abundantly clear that there’s nothing in scripture that

 suggests people shouldn’t get vaccinated" when explaining that the City would not allow people

 with personally held religious beliefs that differed from the leaders of their faith to get

 accommodation.

           202.   The Commissioner of Health went so far as to write a letter instructing the

 arbitrators and DOE to deny religious accommodation to those who had a religious objection to

 the use of aborted fetal cell lines used to develop the vaccines.

           203.   The Chokshi letter admitted that fetal cell lines were used in testing and/or

 developing all three vaccines.

           204.   The Chokshi letter argues, however, that religious objections to vaccination based

 on abortion should nonetheless be rejected because Chokshi believes that they lack merit after

 reviewing comments by other religious leaders and because he feels the abortions took place too

 long ago to matter much.

           205.   The Mayor and/or Mayor’s legal counsel also directed DOE to deny all personally

 held religious beliefs.

           206.   The evidence of animus from City decision-makers like Commissioner Chokshi

 and Mayor de Blasio towards most religious objection to vaccination constitute direct evidence

 of discrimination and also gives rise to an inference of animus not only in assessing the

 appropriate scrutiny to apply to the religious accommodation process, but also the Mandate’s

 themselves, at least as applied to religious objectors.

    III.      STRICKEN STANDARDS DECLARED UNCONSTITUTIONAL

           207.   A group of educators brought a proposed class action lawsuit against the City and

 DOE, titled Kane v. de Blasio et al, in the Southern District of New York on or about September



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 21, 2021, arguing, among other things, that the DOE’s religious accommodation policies were

 unconstitutional.

         208.   This verified complaint, which was served on the DOE and the City, notified both

 Defendants that the Stricken Standards were discriminatory and violated the rights of -all- DOE

 employees seeking religious accommodation.

         209.   Both Defendants acknowledged receipt of the notice by entering the Kane v. de

 Blasio case.

         210.   The Complaint was timely served on the Department of Education and the City of

 New York.

         211.   Neither Defendant adjusted Plaintiffs’ claims.

         212.   In November 2021, the Second Circuit Court of Appeals held, first in a motion

 panel and then a merits panel, that the DOE’s religious accommodation policies were

 unconstitutional, and the plaintiffs were likely to succeed on the merits of their claim and

 deserved injunctive relief.

         213.   The Second Circuit first assessed whether the Mandate itself was subject to strict

 scrutiny. On the facts before it at the time, the Court held that it was not, because the complaint

 lacked allegations to establish that the Mandate was not neutral or generally applicable on its

 face.

         214.   But the Court still held that Plaintiffs were likely to succeed on their as applied

 claims, because the religious accommodation policies that were applied to them in implementing

 the Mandate were neither neutral, nor generally applicable, and could not pass strict scrutiny.

 Kane, 19 F.4th at 167-170.

         215.   The Court first assessed neutrality and found that the religious accommodation



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 policies were not neutral, stating:

            We conclude, first, that the procedures specified in the Arbitration Award and applied
            to Plaintiffs are not neutral. The Supreme Court has explained that “the government,
            if it is to respect the Constitution's guarantee of free exercise, cannot impose
            regulations that are hostile to the religious beliefs of affected citizens and cannot act
            in a manner that passes judgment upon or presupposes the illegitimacy of religious
            beliefs and practices.” Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights Comm'n, ––
            – U.S. ––––, 138 S. Ct. 1719, 1731, 201 L.Ed.2d 35 (2018). We have grave doubts
            about whether the Accommodation Standards are consistent with this bedrock First
            Amendment principle. They provide that “[e]xemption requests shall be considered
            for recognized and established religious organizations” and that “requests shall be
            denied where the leader of the religious organization has spoken publicly in favor of
            the vaccine, where the documentation is readily available (e.g., from an online
            source), or where the objection is personal, political, or philosophical in nature.” Joint
            App'x 197.16 Moreover, Plaintiffs have offered evidence that arbitrators applied the
            Accommodation Standards to their applications by, for example, telling Plaintiff Keil
            that his religious beliefs “were merely personal, [because] there are other Orthodox
            Christians who choose to get vaccinated.”17 Id. at 376. Denying an individual a
            religious accommodation based on someone else's publicly expressed religious views
            — even the leader of her faith —runs afoul of the Supreme Court's teaching that “[i]t
            is not within the judicial ken to question the centrality of particular beliefs or practices
            to a faith, or the validity of particular litigants' interpretations of those creeds.”
            Hernandez v. Commissioner, 490 U.S. 680, 699, 109 S.Ct. 2136, 104 L.Ed.2d 766
            (1989) (emphasis added); see also Frazee v. Illinois Dep't of Emp. Sec., 489 U.S. 829,
            833, 109 S.Ct. 1514, 103 L.Ed.2d 914 (1989) (noting that “disagreement among sect
            members” over whether work was prohibited on the Sabbath had not prevented the
            Court from finding a free exercise violation based on the claimant's “unquestionably
            ... sincere belief that his religion prevented” him from working (citing Thomas v. Rev.
            Bd. of Indiana Emp. Sec. Div., 450 U.S. 707, 714, 101 S.Ct. 1425, 67 L.Ed.2d 624
            (1981)). Accordingly, we conclude that based on the record developed to date, the
            Accommodation Standards as applied here were not neutral, triggering the application
            of strict scrutiny. Kane, 19 F.4th at 168–69.

        216.    Next, the Court assessed general applicability and found that the religious

 accommodation policies were not generally applicable, as further described in the general

 applicability section below.

        217.    As the Second Circuit pointed out, the religious exemption criteria in the Stricken

 Standards are blatantly unlawful. The City itself even conceded that the policy was

 “constitutionally suspect.” The Second Circuit clarified that such “suspicions” could be

 considered confirmed, stating: “The City concedes that the Arbitration Award, as applied to

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 Plaintiffs, “may” have been “constitutionally suspect,” Defendants Br. 37–38, and its defense of

 that process is half-hearted at best. Indeed, it offers no real defense of the Accommodation

 Standards at all…We confirm the City's “susp[icion]” that the Arbitration Award procedures

 likely violated the First Amendment as applied to these Plaintiffs.” Id. at 167.

        218.    The Second Circuit rejected Defendants’ attempts to pin the illegality on the

 arbitrators or to argue that Plaintiffs had to sue the union, not the DOE and the City.

        219.    Nothing in the arbitration award, or in the governing collective bargaining

 agreement waived Plaintiffs’ rights to challenge the religious discrimination inflicted by DOE or

 the City in Court.

        220.    Both Defendants knew or should have known that the Stricken Standards are

 blatantly unconstitutional, and that the Government cannot make or enforce unconstitutional

 policies, nor can it encourage, aid or abet discrimination.

        221.    Notwithstanding the obvious illegality of the Stricken Standards, the DOE adopted

 and enforced the policy to decide religious accommodation requests to the Mandate and the City

 participated in and was complicit in these discriminatory denials.

        222.    After it became clear in oral arguments that the Second Circuit would rule against

 them, the City asked the Court to let them try to mitigate the harm done by their application of

 the Stricken Standards by providing a “fresh review” by a newly created “Citywide Panel”,

 spearheaded by Defendants’ attorneys, particularly, Attorney Eichenholtz. The City promised

 that any employee who qualified under lawful standards would be reinstated with back-pay. The

 DOE agreed to this plan.

        223.    In November 2021, first a motion panel and then a merits panel of the Second

 Circuit Court of Appeals issued an order requiring the City to give fresh consideration through



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 the new “Citywide Panel” and reinstate those who qualified with backpay.

        224.    Though the orders did not apply to non-named plaintiffs in the Kane lawsuit, the

 City promised to make the Citywide Panel review and reinstatement available more broadly on a

 voluntary basis.

        225.    In or around November and early December 2021, dozens of plaintiffs and

 similarly situated colleagues served notices of claim on the NYC DOE, the Chancellor and the

 Office of General Counsel, each designated to receive such notices under Education Law § 3813.

 These claims alerted the DOE of widespread discrimination against all applicants subjected to

 the process. The claims were not adjusted.

        226.    According to later representations by Defendants counsel in related litigation, the

 Citywide Panel only reviewed about 500 of the original 7,000 applicants denied religious

 accommodation.

        227.    According to Eichenholtz, the Citywide Panel only reviewed employees who

 submitted appeals to the arbitrators. This fact leads to a reasonable inference of animus, as

 Defendants were well aware that many employees were unable to submit their appeal due to the

 system crashing and other similar reasons.

        228.    All of the named Plaintiffs in this lawsuit were among those who were informed

 that the Citywide Panel was going to give de novo consideration to their religious accommodation

 application and reinstate them with back pay if they qualified for accommodation under lawful

 standards.

        229.    In accordance with the Court’s order in Kane, fifteen original Kane plaintiffs were

 reviewed in December 2021 by the Citywide Panel. On or about December 10, 2021, they each

 received a “final determination” – fourteen of them were denied, and one, William Castro, an



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 administrator whose job included substantial in person student-facing work, was accepted. Each

 was given the same “reason” for the determination, which was simply “Does Not Meet Criteria”

 (even for Castro, whose appeal was accepted).

        230.    Plaintiffs argued these determinations were pretextual. During litigation, the

 City’s attorneys provided “summaries” of reasons that they asserted were provided by various

 panelists for the denial. Those summaries (hereinafter the “Kane Summaries”) are attached hereto

 as Exhibit 2, not for the truth of what they say but the fact that these reasons were offered.

        231.    Plaintiffs were immediately thereafter ordered to amend the complaint to include

 allegations about the Citywide Panel, which at that point was essentially a black box. Prior to

 filing, Plaintiffs had had no opportunity to gather discovery about how the Citywide Panel worked

 or what it based determinations on.

        232.    The lower court then dismissed their constitutional claims, and Kane plaintiffs

 appealed, consolidating the appeal with another case (NYFRL). After three years, the Kane

 plaintiffs received a decision from the Second Circuit, which held that two of the plaintiffs

 (Natasha Solon and Heather Clark) had properly asserted free exercise claims and the rest had

 not. The reason provided for affirming the dismissal of the remaining plaintiffs was that the

 allegations pertaining to the City related to animus were too conclusory and that plaintiffs would

 alternatively have had to provide non-conclusory allegations to raise an inference the Citywide

 Panel’s classroom teacher undue hardship determinations were either pretextual or unlawful to

 merit first amendment protection against the City’s denials.

        233.    Substantial factual development since the Kane plaintiffs filed their amended

 complaint in January 2022 reveals that the Citywide Panel reviews were infected by the same

 animus that plagued the initial denials of accommodation at DOE and that the City’s alternative



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 undue hardship claims were both pretextual and unlawful.

          234.   The NYFRL court did not have these facts available when addressing whether the

 Citywide Panel’s undue hardship policies were pretextual or unlawful, or whether there was

 evidence of animus against the City and thus that decision is not controlling in this case.

    IV.      THE CITYWIDE PANEL CONTINUED TO APPLY DISCRIMINATORY
             STANDARDS FOR JUDGING RELIGIOUS BELIEFS

    A. The Citywide Panel Continued to Discriminate Against Disfavored Faiths

          235.   Substantial evidence has emerged in related litigation that the Citywide Panel

 continued to apply discriminatory criteria to determine whether an applicant had, so called,

 qualifying religious beliefs.

          236.   First, discovery reveals that the Citywide Panel continued to unlawfully reject

 applicants whose religious belief included objection to the connection between the vaccines and

 abortion.

          237.   Emails exchanged between a Panelist and Mr. Eichenholtz provide evidence that

 Mr. Eichenholtz instructed the panel that such beliefs do not merit religious protection and should

 be rejected as invalid.

          238.   Mr. Eichenholtz’s own deposition testimony, while contradictory, supports this

 inference that he and the Citywide Panel improperly denied accommodation to applicants with

 religious objections to the use of aborted fetal cell lines, on the arrogant assumption that these

 beliefs are “wrong” or that the applicant is mistaken about what her religion requires of her in

 thinking she cannot take a vaccine tainted by abortion.

          239.   Mr. Eichenholtz has also filed numerous sworn pleadings in related cases in which

 he admits that the Citywide Panel substitutes judgment about whether the applicant is right that

 taking a vaccine tainted by abortion is against their religion, even in cases in which he


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 acknowledged that the applicant sincerely believed this was true.

        240.    Evidence from related cases also shows that the Citywide Panel continued to rely

 on Chokshi’s letter as a basis to deny religious concerns about abortion. Multiple Citywide Panel

 notations reference the letter as a reason to deny applicants whose religious beliefs do not allow

 them to take a vaccine tainted by abortion.

        241.    The City has also admitted in related litigation through pleadings and oral

 argument that the Citywide Panel routinely substituted judgment about whether a sincere

 applicant was right about what their religion required of them, particularly in cases where

 abortion was a factor. This was their argument in NYFRL for why they denied Heather Clark.

 The Second Circuit rejected this approach as unconstitutional. However, the City has also

 advanced the same argument in dozens of other cases, showing it was a systemic problem and

 not limited just to Clark’s case.

        242.    The Citywide Panel also continued to deny beliefs grounded in prayer or

 consultation with the moral conscience, on the mistaken theory that such beliefs are somehow

 personal and not “religious.”

        243.    Beliefs derived from prayer and conscience are religious in nature and are

 protected as such.

        244.    As one of many examples, it is a foundational catechism of Catholicism that the

 Holy Spirit, and ultimately God, speaks to us and reveals truth through the conscience.

        245.    Most Catholics believe they are required to consult their conscience and follow

 the guidance of the Holy Spirit when it is provided, regardless of what any other person may

 believe.

        246.    Many other religious people have similar beliefs.



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        247.    But other litigation reveals that the Citywide Panel routinely decided that such

 beliefs are not religious because they allegedly allow a person to pick and choose what they

 believe they should do.

        248.    This is ignorant, as many religious people would say that instructions from God

 or the Holy Spirit do not allow a person to pick and choose what they want to do, since religious

 people believe they are required to follow such guidance even over black letter law handed down

 by man. But in any event, the rejection of these beliefs is also discriminatory.

        249.    In a nutshell, the Citywide Panel continued the same discrimination against

 unorthodox faiths that had been codified in the Stricken Standards, that is, requiring that a

 person’s religious objection come from dogma or instruction from church leaders, rather than

 from guidance from God or other personally held sources of religious belief.

        250.    The Citywide Panel also entangled itself to an unconstitutional degree with

 religious questions, denying applicants because their beliefs were allegedly not logical or

 articulated in a sufficiently coherent manner.

        251.    This was another reason given by the City for why they denied Plaintiff Clark (in

 addition to undue hardship). The Second Circuit rejected this approach as discriminatory. Yet,

 related litigation reveals this was not an isolated incident – most applicants were denied with the

 same discriminatory reasoning.

        252.    Discovery in other litigation and the City’s own admissions show the Citywide

 Panel also denied employees if they’d taken other vaccines, even if the employee explained that

 they took the previous vaccine before they converted to their current beliefs system, or that their

 religious objection did not apply to that vaccine (for example, if the other vaccine did not use

 aborted fetal cell lines in production or development).



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         253.    Discovery in other litigation and the City’s own admissions show the Citywide

 Panel also refused to credit applicants’ own interpretation of their faiths, instead adopting a policy

 that the City was tasked with the job of determining what their faith required of them.

         254.    Moreover, the Law Department, which was one of three agencies given a vote on

 the Citywide Panel, continued to submit court filings seeking denial of unemployment insurance

 to employees denied religious accommodation on the ground that their beliefs was not supported

 by the Pope and thus per se ineligible, for years after the Second Circuit rebuked them for this

 unconstitutional position.

         255.    These are just some of the discriminatory policies applied by the City to uphold

 all but one of the original denials.

         256.    Ultimately, the fact that the Citywide Panel arrived at nearly the same result as the

 original admittedly discriminatory process leads to an inference that the City’s reasons for denial

 were pretextual.

         257.    The goal of the Citywide Panel was to try to get out of liability for the

 acknowledged original discrimination by upholding nearly all the original discriminatory denials,

 rather than review them in good faith to remediate the discrimination, as promised.

         258.    The City set up an inherent conflict of interest by placing Mr. Eichenholtz in

 charge of this process.

         259.    Mr. Eichenholtz was the head of their defense counsel for labor and employment

 litigation.

         260.    He was required under ethical rules not to say or do anything that went against

 Defendants’ legal interests.

         261.    Defendants had a legal interest in mitigating the damage from having denied



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 thousands of employees under an admittedly discriminatory religious accommodation policy.

         262.   Mr. Eichenholtz therefore had an interest in helping the Defendants show that they

 would have denied the employees anyway, even if the original policy had not been discriminatory

 on its face.

         263.   Upon information and belief, out of an estimated five hundred applications

 allegedly given “fresh consideration” under lawful standards required by the SHRL, CHRL, Title

 VII and the First Amendment, the Citywide Panel only reversed the denial of one DOE employee

 and affirmed the denials of all the rest. This percentage inherently gives rise to an inference or a

 finding of discrimination.

         264.   The history of Defendants’ participation in the religious accommodation policies

 applied under the Stricken Standards also supports the inference that the Citywide Panel’s denials

 were pretextual.

         265.   Before the Mandate was implemented, Defendants’ religious accommodation

 policy was to assume that an applicant had sincerely held religious beliefs and focus on whether

 a request would present an undue hardship.

         266.   Denials based on sincerity or adequacy of religious beliefs were rare before the

 Mandate, both at DOE and at City agencies.

         267.   After the Mandate was implemented, Defendants changed the policy and

 attempted to circumvent accommodation requirements and find ways to deny accommodation to

 as many employees as possible based on substituted judgment about what a person’s faith

 requires.

         268.   After the Mandate, DOE denied most applicants based on unfounded assumptions

 that they might be insincere or have incorrect religious beliefs.



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         269.    The City affirmed those decisions and carried out the same changed policy,

 attempting to find reasons to deny applicants, rather than attempting in good faith to find a way

 to accommodate them.

         270.    Even if there had been a legitimate interest in limiting the number of exemptions

 given, the government cannot lawfully winnow the number down by discriminating against

 certain faiths or beliefs it disfavors.

         271.    But this is precisely what the City and DOE did, both in the original denials and

 in the Citywide Panel appeals.

     B. Defendants Failed to Disavow the Stricken Standards

         272.    Continued animus at the City level (which taints the Citywide Panel, controlled

 and operated by the City) can also be evidenced through the City’s failure to rescind or repudiate

 the original Stricken Standards.

         273.    After imposing the DOE Mandate, the City issued hundreds of additional

 “emergency” executive orders, extending the vaccine mandates to nearly every employee in New

 York City.

         274.    Tellingly, even after the City’s own attorneys admitted in the Kane case that the

 Stricken Standards policy was likely unconstitutional (and the Second Circuit confirmed they

 were definitely unconstitutional), the City failed to repudiate them.

         275.    Instead, the City extended the use of the Stricken Standards to more agencies –

 striking deals and encouraging nearly every City agency to offer the Stricken Standards as one of

 two options for employees to apply for accommodation.

         276.    The City’s failure to repudiate the Stricken Standards is yet more evidence of

 animus, which infects both the mandates and the religious accommodation determinations



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 thereunder.

         277.   Plaintiffs assert that a but for cause of each of their denials was also due to the

 Citywide Panel’s continued use of these discriminatory criteria.

         278.   The conclusory denials do not reveal precisely why Plaintiffs were denied.

         279.   Unlike the Kane Plaintiffs, they never received any follow up summary of why

 they were denied.

         280.   However, a reasonable inference can be drawn that the evidence of systematic

 application of such discriminatory criteria likely impacted their denials as well.

         281.   Plaintiffs respectfully ask that the City be required to provide discovery showing

 the reasons applied for each of their denials prior to a dismissal on this point.

    V.      THE CITYWIDE PANEL’S UNDUE                         HARDSHIP DENIALS            WERE
            PRETEXTUAL AND UNLAWFUL.

         282.   Plaintiffs provide the following factual allegations to highlight how the Citywide

 Panel’s undue hardship determinations were also unlawful, pretextual, and failed to cure the

 acknowledged discrimination that they were subjected to under the original accommodation

 policies at DOE.

    A. The Panel Creates New Equal Protection Problem with Two-Tiered Undue
       Hardship Standard

         283.   As set forth in the following paragraphs, the evidence shows that Citywide Panel

 imposed a different undue hardship standard on those given fresh review than had been imposed

 on those accepted under the discriminatory Stricken Standards policy. Facts that support this

 assertion include but are not limited to the following:

         284.   The City claimed in related litigation that the Citywide Panel applied a blanket

 undue hardship ban on accommodation for all teachers and most administrators without any



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 independent review on the assumption that DOE’s claim that it would likely be more than a

 minimal burden to accommodate anyone who worked in a building with children was likely met

 since the de minimis burden test required so little to meet in the City’s opinion.

        285.    In depositions, Mr. Eichenholtz confirmed that the City did not review any

 evidence or make any independent undue hardship, and assumed that any reason was likely

 sufficient to prove undue hardship since he had asked the Panel to only apply the de minimis

 burden test (despite repeated notifications from counsel and litigants that this was not sufficient

 under New York’s statutory standards).

        286.    Mr. Eichenholtz further claimed that the Citywide Panel simply checked whether

 the DOE put a piece of paper stating “undue hardship” in an employee’s file, and if they did, the

 City would add that as an additional reason for denial as a matter of course.

        287.    However, none of the Kane plaintiffs had these “undue hardship” papers in their

 file, and yet, the Citywide Panel still tacked on the potential for undue hardship reasoning onto

 their denials, leading to an inference that the backup reason was applied as a matter of course

 without individual review, as admitted by the City’s attorneys.

        288.    Either way, this additional undue hardship burden was unequal to the one applied

 under the Stricken standards, as described below.

        289.    By contrast, under the Stricken Standards, if an arbitrator found the employee’s

 religion met the discriminatory definition for determining they had a qualifying religious belief,

 the applicant had to be accommodated without regard to the blanket undue hardship defense DOE

 had claimed for all applicants under the Phase 1 review.

        290.    Most arbitration hearings focused entirely on whether a person’s religion qualified

 under the Stricken Standards, and undue hardship was hardly, if ever discussed in the Phase 2



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 reviews by the arbitrators.

        291.    With few exceptions, the arbitrators read the Stricken Standards policy to mean

 that their job was to evaluate the religious beliefs, not undue hardship, and that they were to

 reverse DOE’s initial denials and reinstate applicants to the payroll if their beliefs qualified under

 the criteria for what qualifies as an acceptable religious objection in the Stricken Standards policy.

        292.    The written policy itself supports this allegation, as it states that any applicant with

 qualifying beliefs under the discriminatory criteria set forth in the policy “shall be allowed to

 remain on payroll” and the award does not address any avenue for denial based on undue

 hardship.

        293.    Further evidence of the unequal approach to undue hardship comes from the

 results. Under the discriminatory Stricken Standards policy, at least 169 employees who the DOE

 had denied based on undue hardship initially had their determinations reversed and were

 accommodated. Some of them were classroom teachers and other identically situated to those

 denied by the Citywide Panel based on alleged “undue hardship.”

        294.    The City has never explained why classroom teachers and administrators who had

 jobs that included working in person with students could be accommodated under the Stricken

 Standards and remain accommodated throughout the existence of the Mandate such that they still

 have their jobs today but could not be similarly accommodated under a Citywide Panel review.

        295.    To the extent that the Citywide Panel argues that the allowable number of

 accommodations were all taken by those preferenced under the old system, leaving no room for

 more, that underscores Plaintiffs’ assertion in this case that the Citywide Panel process could not

 and did not remediate that original harm of having been denied access to one of the

 accommodations because Plaintiffs’ belonged to the wrong religion.



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         296.    In sum, the Citywide Panel’s more rigorous blanket undue hardship bar for those

 who qualified under “lawful” standards versus those that qualified under the openly

 discriminatory standards, constituted a fresh incident of direct evidence of discrimination (since

 it was not applied to those who were impermissibly favored under the old policy) and gives rise

 to relief as a matter of law.

     B. The City Admits the Panel Did Not Follow Statutory Standards on Undue Hardship

         297.    The Citywide Panel’s blanket undue hardship denial policy also violated statutory

 factors because the City failed to consider the statutory factors before denying applicants.

         298.    In related litigation, the City offered Attorney Eichenholtz, who created and

 supervised the Citywide Panel, to be deposed for the purpose of addressing the Citywide Panel’s

 policies. This deposition took place after the complaint was amended in Kane and was not

 considered in the NYFRL decision. The facts revealed in the deposition and related discovery

 show that the Citywide Panel failed to meet statutory standards as ordered by the Court and

 promised.

         299.    Mr. Eichenholtz was one of the architects of the Citywide Panel and oversaw it

 and had veto power over determinations.

         300.    Under oath, Mr. Eichenholtz admitted that neither the Citywide Panel nor the DOE

 analyzed any of the enumerated required statutory factors for economic hardship or safety

 concerns before denying applicants.

                         i. Citywide Panel Conducted No Individualized Safety Analysis for
                            In-Person Accommodation

         301.    Mr. Eichenholtz specifically admitted that the Citywide Panel conducted no

 individualized or categorical safety analysis, and that DOE did not conduct one either

         302.    He admitted that neither the Citywide Panel nor the DOE ever assessed any


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 objective evidence to determine that unvaccinated employees requiring religious accommodation

 could not safely be accommodated before issuing the undue hardship denials.

        303.    He further admitted that the Citywide Panel did not know or assess whether the

 vaccine could stop transmission of disease or whether unvaccinated employees were more

 dangerous than vaccinated employees.

        304.    Mr. Eichenholtz also stated that he could not recall any panel member assessing

 whether Covid-19 vaccination could limit the spread of Covid-19.

        305.    Mr. Eichenholtz admitted that neither he nor the panel ever relied on any evidence

 or data to conclude that unvaccinated employees might pose a substantial risk of significant harm

 if allowed to work in person unvaccinated, which is the statutory requirement for an undue

 hardship determination based on safety.

        306.    He further confirmed that the Citywide Panel did not assess any other required

 statutory factor on safety, including the duration of any risk, nature and severity of potential harm,

 likelihood of harm, or imminence of harm.

                          ii.     Citywide Panel Conducted No Individualized Economic
                                  Burden Analysis

        307.    Similarly, Mr. Eichenholtz admitted that to the extent that accommodation would

 create any safety issue at all, no accommodations were individually considered to mitigate the

 risk or mitigate the harm done to employees with sincerely held religious beliefs.

        308.    Despite notice of multiple viable accommodations, DOE only purports to have

 considered one – that is, a generalized assumption about whether it would be an undue burden to

 accommodate employees by allowing them to work in administrative buildings instead of

 classrooms in person with students.

        309.    This was the accommodation given to most of those accommodated under the


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 Stricken Standards. Under that policy, at least 169 employees, many of them classroom teachers,

 had been accommodated.

        310.    However, even for this analysis, Mr. Eichenholtz admits that neither DOE nor the

 City engaged in any good faith analysis as required by statute. For example:

        311.    Mr. Eichenholtz admitted under penalty of perjury that DOE never provided

 information to the Citywide Panel “as to the number of employees it could afford to employ

 without causing undue hardship.”

        312.    He also swore that the “inability to pay employees” who were not able to work in

 person “has not come up” nor had DOE submitted any information about increased costs that

 could present an undue hardship if employees were accommodated.

        313.    Mr. Eichenholtz said the Citywide Panel did not ask the DOE to explain whether

 the remote worksites it set up and was using for many accommodated under the Stricken

 Standards were at capacity (they were not).

        314.    He also conceded that the Panel had imposed “no evidentiary requirement” from

 any agency on the issue of undue hardship.

        315.    When pressed, Mr. Eichenholtz stated that he did not think analysis of any

 statutory factors was necessary for an appellate body like the Citywide Panel, and he had made

 sure there was no requirement that the DOE or any other agency “provide that kind of data.”

        316.    Ultimately, Mr. Eichenholtz conceded that the Citywide Panel did not assess

 undue hardship at all but rather deferred to the agency.

        317.    So, it was the DOE and not the Citywide Panel that claimed undue hardship –

 which changes the analysis of animus for purposes of constitutional claims significantly.

        318.    In NYFRL, the Court was under the impression (as were the plaintiffs) that the



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 Citywide Panel had provided de novo review as ordered and independently determined undue

 hardship on their own using the statutory factors and burdens they were ordered to apply. Having

 found that the plaintiffs in that case had not sufficiently alleged animus against the City, the Court

 therefore declined to assess the denials under strict scrutiny absent such evidence or evidence of

 pretext or failure to follow statutory standards in the hardship determinations themselves.

          319.   However, given the substantial and already acknowledged evidence of animus that

 the Court already has recognized against the DOE, Mr. Eichenholtz’ admission that it was DOE

 not the City that was asserting the vague undue hardship defense should result in the application

 of strict scrutiny in assessing constitutional claims regarding the denials.

                          iii.    The City Applied the Wrong Legal Standard

          320.   Third,
                 - - - - the Citywide Panel applied the wrong legal standard to determine undue

 hardship. In his deposition and in many sworn pleadings, Mr. Eichenholtz repeatedly admitted

 under oath that the City and DOE used the unlawful “de minimis” standard for undue hardship

 rather than the significant or substantial standard required by the three controlling statutes.

          321.   Using the unlawful de minimis standard, the City and DOE made blanket

 speculative assumptions that any accommodation would naturally be “more than a minimal

 burden” as it would require some effort, and justified denial of all classroom teachers on that

 basis.

          322.   Panelists from the law department went further, and recommended that all

 applicants, even those that were not classroom teachers, must be denied based on an assumed and

 unsupported undue hardship basis.

          323.   In the NYFRL case, the Second Circuit rejected this further extension of the

 blanket undue hardship ban to non classroom teachers, vacating and remanding the dismissal of



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 administrator Heather Clark’s free exercise claim even though the City had claimed it would also

 be an undue hardship to accommodate her.

        324.    In this case, multiple plaintiffs are in the same position as Clark, and their free

 exercise claims must go forward as Clark’s have as they were not classroom teachers.

        325.    Prior to the Citywide Panel’s denial of any non-Kane plaintiffs, attorneys for the

 Kane and NYFRL plaintiffs repeatedly alerted the City and DOE that the SHRL and CHRL

 required a significant hardship analysis, not a de minimis one.

        326.    The fact that the Citywide Panel continued to use the de minimis standard, even

 after attorneys for the Kane and NYFRL plaintiffs repeatedly alerted them it was wrong, gives

 rise to an inference of animus.

                         iv.       No Cooperative Dialogue on Undue Hardship Before Denial

        327.    Fourth, the Citywide Panel failed to engage in cooperative dialogue with any

 applicant about undue hardship before denying their applications.

        328.    Specifically, prior to their denial, no one from the City or the Panel engaged in

 any written or oral dialogue concerning the applicant’s accommodation needs, potential

 accommodations, including alternatives to what was requested, or any difficulties those

 accommodations might create for the employer or covered entity.

        329.    This leads to an inference that the undue hardship determinations were pretextual

 and discriminatory, especially because some of those denied under these blanket bans already

 worked remotely or in buildings without students.

                         v.        Denial of Numerous Remote Workers Shows the City did not
                                   Make Good Faith Decisions.

        330.    Fifth, numerous Plaintiffs denied based on “undue hardship” by the Citywide

 Panel already worked remotely or in non-student facing positions, demonstrating that


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 accommodation would not have created a hardship (leave aside a significant one) and giving rise

 to a credible inference of pretext, for example:

                a. Ms. Calia a school psychologist, worked primarily on computers writing IEP’s

                    and holding IEP meetings (which were held remotely even before the

                    pandemic). She had also been granted medical accommodation to work fully

                    remotely during the 2020-2021 school year with no issue or added expense

                    and there was no reason she could not continue to do her job remotely during

                    the 2021-2022 school year, especially because her job did not take place in

                    classrooms.

                b. Ms. Carbone worked in the Manhattan Borough Office, an administrative

                    office that had no students. Her primary job was to coordinate with nonprofits

                    and handle custodial payroll services. She did not have a student facing job

                    and did not need to enter any school buildings.

                c. Ms. Scott was a secretary working in the Bronx who did not work in a student-

                    facing job. All of her job duties could be done remotely.

                d. Pastor Stephon Bynoe was employed as a UFT Teacher Center

                    Coach/Specialist. He worked in an administrative building and had no student

                    conduct. His job was to teach professional development workshops to

                    teachers. Since March 2020 and continuing through the 2021-2022 school

                    year, all of this work took place virtually.

                e. Mr. Otto worked primarily as a school programmer, a fully digital job that

                    does not require any in-person interaction at all.

        331.    These and other examples show that the boilerplate “undue hardship” denials were



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 not based on an individualized good faith analysis of possible accommodations or hardships

 therewith but were pretextual and unlawful.

                              vi.   Classroom Teachers Could Have Also Been Accommodated
                                    Remotely without Undue Hardship.

         332.    Sixth,
                 - - - if it were truly the case that the safety of in person learning was jeopardized

 by allowing a few unvaccinated classroom teachers to keep teaching in person, classroom

 teachers also could have been accommodated remotely through co-teaching arrangements and

 reassignments just as their colleagues who were granted accommodation under the Stricken

 Standards were allowed to do.

         333.    The 169 employees granted accommodation were given a variety of

 accommodations to be able to remain on payroll throughout the Mandate without working inside

 the classrooms.

         334.    For classroom teachers, one accommodation that the DOE provided to teachers

 under the Stricken Standards was to have a co-teacher physically present in the classroom, while

 the accommodated teacher taught via Google Classroom.

         335.    Some classroom teachers accommodated had a co-teacher already, and others did

 not. For the latter category, DOE hired long term substitutes to be physically present in the

 classroom while the accommodated teacher joined the class virtually to teach.

         336.    Classroom teachers accommodated this way under the Stricken Standards taught

 early education, special education and art, as well as traditional academic subjects.

         337.    This co-teacher method was also employed for a variety of classroom teachers

 during the prior 2020-2021 school year for teachers who were accommodated but had students

 that were still in person.

         338.    In some instances, the DOE had to hire long-term substitute teachers to man the


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 classroom for teachers accommodated under the Stricken Standards. Other times, teachers

 already had a co-teacher in the room with them, so this was unnecessary.

        339.    DOE hired long-term substitutes to remain in the classroom for some classroom

 teachers accommodated under the Stricken Standards.

        340.    Meanwhile, many Plaintiffs already had co-teachers and would not have required

 this accommodation.

        341.    Defendants have articulated no lawful reason that the classroom teachers whose

 beliefs were rejected under the Stricken Standards could not be accommodated the way their

 identically situated and in some instances less easily accommodated colleagues had been whose

 beliefs were unconstitutionally preferenced under the Stricken Standards.

        342.    Moreover, DOE also could have provided other non-classroom accommodations,

 such as reassignment of duties.

        343.    Many of the DOE employees accommodated under the Stricken Standards had

 their job descriptions temporarily adjusted during the temporary mandate so that they could work

 remotely. Often, they were given more administrative work, and asked to work in one of the

 remote building sites that DOE had set up for this very purpose.

        344.    At all times during the relevant period, these remote worksites stood largely empty

 and well below capacity.

        345.    Moreover, DOE continued to offer a remote learning program to hundreds of

 students during the entire 2021-2022 school year and beyond.

        346.    During the period when the Citywide Panel was assessing applications, DOE

 continued to advertise for and hire remote teachers to teach the students in this remote program.

        347.    Yet, those who were already working as fully remote teachers in the program, and



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 those who were ready, willing and qualified to do so were denied on the basis of alleged undue

 hardship.

                           vii.    The Mandate allowed for in-person accommodation

        348.    Seventh, nothing in the Mandate specified that DOE employees could not be given

 religious accommodation that would allow them to work in person around students or other staff.

        349.    On the contrary, the Mandate specified that nothing in it prevented reasonable

 accommodation as required by law.

        350.    DOE made a number of accommodations that would have violated the Mandate

 but for the clause that stated that they could make reasonable accommodations. For example, they

 allowed most of the 169 accommodated under the Stricken Standards to work in person with

 colleagues, even though the Mandate did not allow unvaccinated employees without religious

 accommodations to work in person with colleagues or students.

        351.    Moreover, in attempting to dissolve the early TRO, the City had represented to the

 court that they intended to allow reasonable religious accommodations pursuant to statutory

 guidelines.

        352.    Pursuant     to    statutory   requirements,   employers   must   grant   religious

 accommodation unless they can show that there is a significant and non-speculative safety

 concern that cannot be mitigated without serious undue hardship.

                           viii.   Defendants’ safety analysis was speculative and pretextual

        353.    Eighth, Defendants’ safety decisions and analysis show that safety concerns were

  pretextual.

        354.    For example, shortly after all unvaccinated employees were excluded, thousands

 of vaccinated DOE employees were infected with Covid-19.



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        355.    In or around January 2022, before the Citywide Panel undue hardship denials were

 issued, DOE adopted an open policy of encouraging and cajoling actively infected teachers to

 come back to the classroom within five days of onset of infection due to staffing shortages.

        356.    It was well-understood at the time that Covid-19 was still transmissible up to ten

 days after onset in most cases.

        357.    But, while DOE allowed actively infected and infectious teachers to teach children

 in person, they excluded Plaintiffs and their religiously opposed colleagues, who were not

 infected and were willing to test and take other precautions to protect themselves and the students.

        358.    DOE’s own data showed that the Mandate was not diminishing the number of

 daily Covid-19 infections among the students or fully vaccinated staff. Prior to the Mandate, the

 average daily infection rate among all staff (vaccinated and unvaccinated) tended to be under 50

 a day. After the DOE started excluding unvaccinated employees, the numbers shot up among the

 fully vaccinated staff. By January 2022, the at that point “fully vaccinated” staff’s daily infection

 rate reached well over 5,000 as Omicron spread among the vaccinated and unvaccinated with

 equal force.

        359.    The City’s denial of Plaintiffs’ religious accommodations rested on a

 discriminatory and legally baseless policy, informed by an article entitled “Designating

 Unvaccinated Employees as a Direct Threat to Others,” which the head of DCAS distributed to

 decision-makers in January 2022.

        360.    The article acknowledged that both vaccinated and unvaccinated employees could

 contract and transmit the Omicron variant of COVID-19, which undercut any argument that the

 unvaccinated posed a direct threat, yet advised that employers could get around this by only

 assessing unvaccinated employees for direct threat because vaccinated employees “generally” do



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 not seek accommodations from a vaccine mandate so could somehow be disregarded.

         361.    By adopting this flawed logic, the City wrongly assumed it could ignore the

 equivalent transmission risks posed by vaccinated employees, asserting that accommodating

 unvaccinated employees posed an undue hardship without evidence that Plaintiffs uniquely

 endangered the workplace due to their religious practices.

         362.    This approach is fundamentally flawed and discriminatory for several reasons.

 First, the City’s refusal to evaluate vaccinated employees for direct threat, despite knowing they

 could spread COVID-19, undermines its claim that unvaccinated employees posed a substantially

 greater risk.

         363.    If workplace safety was the true concern, the City would have applied a consistent

 standard, assessing all employees’ transmission risks regardless of vaccination status or

 accommodation requests. Instead, the City arbitrarily exempted vaccinated employees from

 scrutiny, creating a double standard that penalized Plaintiffs for exercising their protected

 religious beliefs. This selective analysis inflated the perceived “hardship” of accommodating

 unvaccinated employees, as the City failed to account for the baseline risk posed by all

 employees, vaccinated or not.

          364. Here, the City’s failure to assess whether unvaccinated employees posed a

 substantially higher risk than vaccinated employees rendered its direct threat and undue hardship

 claims speculative, as it lacked data showing Plaintiffs posed a unique or unmitigable danger

 compared to their vaccinated colleagues.

          365. The City’s actions mirror disability discrimination cases under the Americans with

 Disabilities Act, particularly those involving employees “regarded as” disabled, where employers

 are routinely found to violate their accommodation responsibilities when they stereotype



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 individuals as threats based on perceived characteristics without evidence.

         366. For example, in the early days of AIDS, gay men were routinely excluded from

 the workplace based on concerns that their lifestyle might make them more likely to contract and

 spread the virus. However, despite the fact that gay men were at the time substantially more likely

 to contract and spread HIV, courts struck down such speculative safety concerns absent robust

 data to show that the risk was imminent and likely and could not be mitigated.

         367. Similarly here, the City stigmatized Plaintiffs as dangerous solely due to their

 religious practice of remaining unvaccinated, while ignoring equivalent risks from vaccinated

 employees under the false assumption that their compliance with the mandate negated the need

 for scrutiny. This not only chilled Plaintiffs’ religious freedom but also exposed the City’s policy

 as pretextual, driven by administrative convenience or political optics rather than genuine safety

 concerns.

         368. By refusing to engage in the interactive process to explore reasonable

 accommodations, such as masking or testing, the City further violated its legal duties, leaving

 Plaintiffs without recourse to practice their sincerely held beliefs.

         369. DOE also failed to apply the Mandate fairly in other ways. For example, DOE

 allowed thousands of employees to remain only partially vaccinated in violation of the Mandate.

 DOE did this even though the Mandate required that employees get their second dose within 45

 days and even though it was well-understood that one dose provided no protection against

 transmission or even personal progression of disease.

        370.    The City was aware of this fact and did nothing to require compliance. But the

 City and DOE were totally inflexible when it came to religious accommodation.

    C. Scientific Evidence did Not Support the Undue Hardship Claims



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          371.   Proving undue hardship is Defendants’ burden, and Plaintiffs reserve the right to

 provide further rebuttal depending on what they offer in this regard, if anything.

          372.   But given the decision in NYFRL, Plaintiffs offer some evidence here on this

 point.

          373.   By 2022, when the Citywide Panel began issuing its determinations to non-Kane

 plaintiffs, there was no good faith basis to assert that unvaccinated employees posed a direct

 threat due to their religious practices according to the strict evidentiary standards set forth in the

 accommodation statutes.

          374.   By 2022, Omicron had swept through vaccinated populations with equal if not

 greater force and severity as it had among unvaccinated people. As set forth above, Defendants’

 own internal emails show that they were aware of this fact but ignored it.

          375.   From the outset of the mandate, the City and DOE had access to expert scientific

 testimony that undermined their blanket claim of undue hardship, which they also ignored.

          376.   In October 2021, the Kane plaintiffs submitted, on behalf of the proposed class,

 affidavits from Dr. Makary, then a public health expert and professor of medicine and public

 health at Johns Hopkins, and Dr. Jay Bhattacharya, then a professor of medicine and public health

 at Stanford University.

          377.   Plaintiffs hereby incorporate by reference as the complete expert affidavits of Dr.

 Jay Bhattacharya, Exhibit 3, and Dr. Martin Makary Exhibit 4, who are now, respectively, the

 Director of the National Institutes of Health and the Commissioner of the FDA—two of the

 highest public health scientific positions in the nation. The fact that these preeminent scientists,

 who provided early testimony that the City ignored, now lead our nation's premier health

 institutions further validates their expertise and the credibility of their opinions.



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        378.    Citing the best available evidence, Dr. Makary explained to Defendants why

 "Those who choose not to get vaccinated may be making a poor health decision at their own

 individual risk. However, they are unlikely to pose a significant public health threat to those

 around them in a school setting." Dr. Makary further testified that natural immunity, which nearly

 all Plaintiffs had, had been "shown to be highly effective in preventing severe Covid disease and

 in downgrading the severity of illness."

        379.    Similarly, Dr. Bhattacharya cited the best available then current evidence to

 explain why "any policy mandating vaccinations that does not recognize natural immunity is

 irrational, arbitrary, and counterproductive to community health" and how DOE employees, with

 or without natural immunity, could be safely accommodated in person.

        380.    Dr. Bhattacharya offered multiple practicable accommodations that would have

 posed no undue hardship, including: daily symptom checking paired with rapid antigen tests for

 symptomatic workers; weekly PCR testing for asymptomatic employees; recognition of natural

 immunity for COVID-recovered employees, to name a few.

        381.    Dr. Bhattacharya specifically further affirmed that "the DOE could adopt a robust

 sick policy, requiring that workers who have not been vaccinated and who show symptoms

 consistent with COVID-19 infection stay at home from work, returning to work only once they

 have had a negative COVID-19 antigen test result." He noted that such accommodations had been

 successfully implemented at other institutions, including Stanford University.

        382.    As Drs. Bhattacharya and Makary explained to Defendants, the objective

 scientific consensus overwhelmingly showed that vaccination could not stop transmission of

 Covid-19.

        383.    A 2021 Harvard study showed that there was "no discernable relationship between



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 percentage of the population fully vaccinated and new Covid-19 cases." This was supported by

 multiple public health experts from prestigious institutions, including Johns Hopkins, Yale, and

 Stanford.

        384.    By the time the Citywide Panel was making its determinations in 2022, there was

 simply no credible argument that an unvaccinated employee was a direct threat in the workplace.

 Plaintiffs offer, as additional evidence of this fact, an affidavit drafted by Dr. Harvey Risch of

 Yale School of Public Health, which summarized the best available evidence in effect when the

 Citywide Panel made its decisions. That affidavit is incorporated by reference as if fully set forth

 here as Exhibit 5, provided supporting expert testimony that confirms that the small percentage

 of religious employees who could not take the Covid-19 vaccine did not pose a direct threat.

        385.    Despite having this expert testimony available to them from the nation's top public

 health scientists, Mr. Eichenholtz admitted under oath that the Citywide Panel never assessed

 whether Covid-19 vaccination could limit the spread of Covid-19.

        386.    The Panel also failed to consider Dr. Bhattacharya's testimony that "asymptomatic

 disease spread is rare" and that simple accommodations like symptom checking and testing could

 effectively mitigate any minimal risks posed by unvaccinated employees.

        387.    The Panel's failure to consider this substantial body of scientific evidence from

 leading experts in the field (who now hold the highest leadership positions at agencies like the

 NIH and FDA) further demonstrates the pretextual nature of their undue hardship determinations

 and further demonstrates that the best-available objective science at the time did not support a

 blanket policy that in-person accommodation was per se a direct threat.

        388.    The claim that Plaintiffs posed a direct threat is further undermined by the

 following facts: (a) Defendants determined that one million students could safely attend school



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 unvaccinated; (b) the City still permitted unvaccinated bus drivers to transport these students in

 enclosed spaces; (c) every other school district in New York state allowed weekly testing as an

 alternative to vaccination; (d) other school districts with similar policies did not see any

 statistically significant increase in infection rates compared to NYC DOE; (e) DOE did not see

 any reduction in active daily covid infections among the fully vaccinated staff once unvaccinated

 staff were excluded (quite the contrary); and (h) unvaccinated employees had been allowed to

 work in person with students for the 2020-2021 school year without issue, even though that was

 a far worse phase of the pandemic.

        389.    Alternative accommodations could also have been easily implemented, including

 weekly testing, symptom checks, mask wearing, social distancing, ventilation, and other

 protective measures that could have mitigated any perceived risk from unvaccinated employees

 - exactly as Dr. Bhattacharya and Dr. Makary had testified was feasible in their expert opinions

 provided to the City.

        390.    Moreover, had it truly been impossible to accommodate the Plaintiffs in person or

 through remote work, the Citywide Panel (and DOE) failed to consider a number of other

 accommodations such as paid leave, unpaid leave without punitive consequences and with a real

 mechanism for rejoining the workforce without losing tenure once the Mandates were over, use

 of CAR and Sick days, reassignment and a number of other accommodations short of terminating

 and continuing to punish and harass unvaccinated employees.

        391.    Far from causing an undue hardship, terminating Plaintiffs created actual

 hardship, as evidenced by the case of Ms. Moas, whose termination forced the school to dismantle

 the program she taught, disrupting an entire class of special education students with autism and

 intellectual disabilities. Many other similar stories can be offered.



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          392.   These facts, combined with the expert testimony available to the City from the

 beginning of the mandate from scientists who now lead our nation's top public health institutions,

 demonstrate that the Citywide Panel's undue hardship determinations were pretextual,

 discriminatory, and unlawful.

    VI.      GENERAL APPLICABILITY AND CONTINUED STATUTORY
             VIOLATIONS

    A. The Mandates were Not Generally Applicable

          393.   In Kane, the Court held that the Mandate was generally applicable, but the

 religious accommodation policies it was applied to were not. Here, Plaintiffs assert additional

 facts to show that neither the Mandate nor the various religious accommodation policies were

 generally applicable.

          394.   After the Kane case was filed, as more executive orders were issued to extend the

 mandates to nearly all categories of workers in the City, it became apparent that the Mayor

 exercised unfettered discretion to make carve-outs, exceptions, or new requirements for secular

 reasons, or for any reason at all, while denying similar consideration to those with religious

 concerns.

          395.   For example, Mayor Adams issued Emergency Executive Order 62 (“EEO 62”)

 on March 24, 2022, making a carve-out for athletes, entertainers, and their make-up artists and

 entourages.

          396.   On its face, EEO 62 states that the exception was made due to economic reasons,

 and other reasons not related to stopping the spread of Covid-19.

          397.   Some of Mayor Adams’ top donors had lobbied for this carve-out.

          398.   Mayor Adams announced the controversial carveout at Citi field, the home of the

 New York Mets.


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        399.       New York Mets owner Steve Cohen had donated at least 1.5 million dollars to a

 political action committee supporting Mayor Adams just months before.

        400.       Other top donors to the Mayor in the entertainment industry also benefited from

 the carve-outs.

        401.       Due to the carve outs, stars like Kyrie Irving and various entertainers and their

 make-up artists and entourages could return to work unvaccinated, working in person in enclosed

 spaces in close proximity to fans and colleagues, but the janitors and minimum wage workers at

 the fields or theaters, along with most other hard-working people in New York City, like the

 teachers and educators in this case, were being denied religious accommodation and losing their

 jobs if they could not take the vaccine.

        402.       Significant outcry accompanied the carve outs.

        403.       Harry Nespoli, chair of the Municipal Labor Committee (“MLC”) said “There

 can’t be one system for the elite and another for the elite and another for the essential workers of

 our city.”

        404.       Not surprisingly, this favoritism also worried Jay Varma, a physician,

 epidemiologist, and senior advisor to Mayor Bill de Blasio for public health and COVID-19, who

 publicly expressed the concern that the new carve-outs would open the City to “legal action” on

 the basis that its remaining mandates were “arbitrary and capricious.”

        405.       The City was well-aware by March 2022 that there was no public health necessity

 for the Mandates.

        406.       The majority of its fully vaccinated staff had by that time caught Covid-19 despite

 the Mandate.

        407.       During the 2021-2022 school year, approximately sixty thousand fully vaccinated



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 DOE employees caught Covid-19 after the mandate was imposed to exclude unvaccinated staff.

         408.   Many more had already had Covid-19 before the mandate was imposed.

         409.   But the City refused to drop the rest of the mandates or accommodate employees

 who could not be vaccinated due to their religious beliefs in good faith.

         410.   On August 11, 2022, after over a year of verbal acknowledgments that the vaccine

 could not stop transmission, the CDC officially revised its guidance to stress that it was not

 appropriate to differentiated between vaccinated and unvaccinated due to the overwhelming

 scientific consensus that Covid-19 vaccines cannot stop infection and transmission.

         411.   Instead of accommodating or reinstating employees who’d been denied religious

 accommodation, DOE sent out a letter later that August 2022, making a fresh offer to DOE

 employees who’d been terminated or were on leave due to their vaccine status that they could

 come back and be reinstated to their old positions – but only if they got vaccinated by September

 2022.

         412.   Many Plaintiffs asked for religious accommodation, but they were all denied.

         413.   Some were able to submit applications through SOLAS, but they received the

 same vague “undue hardship” denial they’d received before or no response at all, further showing

 that the undue hardship violations were pretextual given the overwhelming evidence.

         414.   Others sent in email requests, or mailings, asking that they be able to be reinstated

 as offered but accommodated so that they did not have to violate their religious beliefs.

         415.   They were ignored and denied reinstatement.

         416.   Defendants also knew, when it sent the letter to each of those employees who’d

 been previously denied religious accommodation, that the applicants required religious

 accommodation.



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        417.    In September 2022, religious employees denied accommodation who were still on

 leave were all terminated for failing to violate their faith and get vaccinated.

        418.    On September 20, 2022, Mayor Adams announced in a press conference that he

 would repeal the private sector vaccine mandates, and the mandate for students and parents

 participating in after-school activities but would keep in place the public sector mandates and the

 DOE mandate for employees.

        419.    When asked how he could justify keeping the public sector mandates, the Mayor

 admitted that there was no reason, stating: “I don’t think anything dealing with COVID is [sic]

 makes sense and there’s no logical pathway of one can do [sic].”

        420.    Without any logical explanation why, the City kept the DOE Mandate in place

 until February 2023, when plaintiffs in related litigation were scheduled to argue their appeals

 over the unlawful DOE policies before the Second Circuit.

        421.    On the eve of those arguments, the City announced it would finally repeal the rest

 of the mandates, and argued to the Court that this should moot the lawsuits.

        422.    But despite the repeal, DOE refuses to hire back most of the fired unvaccinated

 workers to this day.

    B. The Religious Accommodation Policies were Not Generally Applicable

        423.    Whether or not the Mandates are found generally applicable, a separate question

 here is whether the religious accommodation policies were generally applicable.

        424.    In Kane, the Second Circuit held that the Phase 1 and 2 determinations were not

 generally applicable, stating:

            Nor does it appear that such procedures were generally applicable to all those seeking
            religious accommodation. In Smith, the Supreme Court held that an unemployment
            compensation system with discretionary, individualized exemptions “lent itself to
            individualized government assessment of the reasons for the relevant conduct” and


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              was thus not generally applicable. 494 U.S. at 884, 110 S.Ct. 1595. So too here.
              Plaintiffs have offered evidence that the arbitrators reviewing their requests for
              religious accommodations had substantial discretion over whether to grant those
              requests. Sometimes, arbitrators strictly adhered to the Accommodation Standards.
              Other times, arbitrators apparently ignored them, such as by granting an exemption to
              an applicant who identified as a Roman Catholic, even though the Pope has expressed
              support for vaccination. Cf. We The Patriots, 17 F.4th at 288 (denying a motion for a
              preliminary injunction where medical exemptions were granted exclusively in
              accordance with a uniform certification process). In our view, and based on the record
              to date, Plaintiffs have thus shown that they are likely to succeed on their claim that
              the Arbitration Award procedures as applied to them were not generally applicable.”
              Kane, 19 F.4th at 169.

           425.   Here, the Citywide Panel exercised the same unfettered discretion to grant or deny

 requests. In fact, when questioned about this, Eric Eichenholtz affirmed that the discretion was

 unfettered and that there were no standards that constrained them from granting or denying an

 accommodation.

           426.   This is further evidenced by the spreadsheets showing the reasons for denial or

 acceptance disclosed in other cases. Often, each agency would have a different recommendation

 and a different reason for denying or accepting an applicant, showing that they had discretion to

 decide.

           427.   Despite the instruction to deny beliefs related to abortion, Citywide Panelists

 would thus sometimes recommend that the applicant’s denial be reversed, yet others would

 recommend the opposite on the same facts.

           428.   Eric Eichenholtz then had unfettered discretion to change any vote for any reason,

 without having to explain to anyone why.

           429.   This unfettered discretion renders the determinations not generally applicable and

 therefore subject to strict scrutiny.

     VII.     SUMMARY OF THE RELIGIOUS                       ACCOMMODATION               PROCESS
              COMMON TO ALL PLAINTIFFS

           430.   Each named Plaintiff timely submitted an application and was denied through the

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 same autogenerated email stating it would be more than a minimal burden to accommodate them.

        431.    Each timely appealed and was denied with an “x” next to the word “denied.”

        432.    DOE suspended them all without pay beginning on or near October 4, 2021.

        433.    Between November 2021 and January 2022, each named Plaintiff was notified

 that their applications were being given fresh consideration by the Citywide Panel.

        434.    The Citywide Panel exercised an inexcusable delay after this notification in

 reviewing the applications.

        435.    The first ten Kane plaintiffs were quickly decided, within a few weeks, on or about

 December 10, 2021, as directed in the Second Circuit’s order.

        436.    All but one of the Kane plaintiffs were denied with no more information than

 “Decisional classification: Does not meet criteria” as an explanation.

        437.    This same explanation was offered for why the one Kane plaintiff was

 accommodated, as his “Decisional classification” was also listed as: “Does not meet criteria.”

        438.    The one Kane plaintiff was accommodated while the matter was under scrutiny

 by the courts so that the City could argue it was acting in good faith.

        439.    But in reality, the Citywide Panel was not acting in good faith.

        440.    The Kane Plaintiffs appealed, and afterwards, the City provided some further

 “explanations” for the denials through counsel, which they asserted at the time were not prepared

 in anticipation of litigation but would have been sent to any applicant, including Plaintiffs, had

 they not rushed to Court.

        441.    This turned out to be a misrepresentation. No other applicant other than the Kane

 plaintiffs ever received a similar list of supposed reasons for their denial.

        442.    In fact, when arguing that the original Kane plaintiffs could not be the sole class



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 representatives, the City argued that the Kane plaintiffs received additional explanations than

 other employees denied by the Citywide Panel, which were issued because their matter was

 subjudice at the time their applicants were decided.

         443.    Essentially, the City admitted that these extra “reasons” were generated in

 anticipation of litigation.

         444.    The reasons provided to the Kane plaintiffs are helpful though, as they show

 continued animus and discrimination.

         445.    As one of many examples, each Kane applicant who stated that their sincere

 religious objection was grounded in prayer or guidance from the Holy Spirit was denied with the

 explanation that, though the Panel did not question their religious sincerity, the City decided that

 such beliefs were not “religious in nature” since they allegedly allowed an applicant to “pick and

 choose” what beliefs to follow.

         446.    Nothing in any of the applications rejected as “nonreligious” provides any basis

 for such a conclusion other than animus and improper entanglement by the government in

 religious questions.

         447.    The Citywide Panel exercised inexcusable delay when assessing all the other

 applications other than those for Kane Plaintiffs.

         448.    They sat on the applications for everyone else for months.

         449.    Meanwhile, as the City was well aware, Plaintiffs and their colleagues remained

 on leave without pay, struggling and falling deeper into desperation.

         450.    Some of them, desperate as they faced eviction and watched their children go

 hungry, were forced to violate their faith and return to work before they ever got a response.

         451.    The majority waited and sustained massive economic harm and other serious



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 consequences.

        452.     In 2022, the Citywide Panel began issuing autogenerated denials to employees

 who were not part of the Kane lawsuit which were sent from a “do not reply” email address.

        453.     These denials had little more explanation than the “Does not meet criteria”

 provided to the Kane plaintiffs, though later versions appear to sometimes also or alternatively

 tack on an additional sentence stating: “DOE has demonstrated that it would be an undue hardship

 to grant this accommodation to appellant given the need for a safe environment for in-person

 learning.”

        454.     Some Plaintiffs never received an answer from the Citywide Panel at all, even

 though they had been notified their applications were being considered by the Citywide Panel.

        455.     Some did not receive an answer until September 2022 – almost a year later.

        456.     When the DOE sent out the invitation to get vaccinated and come back to work in

 September 2022, Plaintiffs and their colleagues asked for religious accommodation from the

 condition in the new offer.

        457.     They were all denied or ignored, despite the CDC’s updated guidance.

        458.     Plaintiffs also sent more notices of their group claims, which were not adjusted

 within the statutory period.

 Retaliation

        459.     Defendants not only failed to accommodate DOE employees’ sincerely held

 religious beliefs, they also harassed and retaliated against employees with religious objections to

 the vaccine.

        460.     As a threshold matter, there was no basis to impose some of the draconian

 requirements that DOE imposed on employees denied religious accommodation due to alleged



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 “undue hardship.”

        461.    For example, employees were forced to sign a waiver of their right to challenge

 the determination or face termination “for cause” and lose their good standing, paid time off

 credits (which belonged to them by law and contract) and health insurance while they waited on

 leave without pay.

        462.    These benefits belonged to the Plaintiffs pursuant to the Contract.

        463.    Tenured teachers cannot face any of these consequences, including loss of salary,

 without a 3020 hearing, which was not provided.

        464.    Moreover, the Education Law prohibits imposition of a waiver for any DOE

 employee under such conditions.

        465.    The DOE also informed employees that unless they resigned, they were prohibited

 for working or earning income from anywhere even outside of the DOE while on leave without

 pay. Defendants also could easily have at least allowed Plaintiffs with sincere religious beliefs to

 work elsewhere while they were kept on leave without pay, and then allowed them to return to

 their former positions once the temporary “emergency” mandate was lifted.

        466.    Instead, Defendants imposed a condition that they could not work anywhere while

 suspended from DOE.

        467.    Then, DOE attached problem codes to the employee files of those who were

 separated for failing to get vaccinated.

        468.    The problem codes were associated with Plaintiffs’ finger-print records, which are

 shared with the Federal Bureau of Investigation.

        469.    These problem codes were also visible to vendors and potential employers outside

 of the DOE system.



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        470.    The problem codes continue to this day to prevent many Plaintiffs from getting a

 job at DOE or elsewhere.

        471.    Even after the DOE repealed the vaccine mandate for DOE employees, DOE

 continues to use these problem codes and other methods to refuse to rehire the vast majority of

 Plaintiffs and their peers who were denied religious accommodation.

        472.    First, DOE continues to impose an arbitrary waiver requirement on some, but not

 all employees as a condition of return.

        473.    DOE told UFT that all employees would need to sign a waiver of their right to sue

 to come back, deterring many from trying.

        474.    In practice DOE imposes this waiver requirement selectively, forcing some to sign

 as a condition of return but neglecting to even mention it for others.

        475.    Second, DOE refuses to reinstate Plaintiffs or their peers, instead requiring that

 these mostly tenured teachers and educators apply as new hires.

        476.    Third, DOE continues to use the problem code to thwart efforts for those denied

 religious accommodation to return even as a new hire.

        477.    For example, there is a staffing crisis at DOE.

        478.    Many Plaintiffs with spotless employment records report that they have interviews

 and are offered a job, but then this job offer is rescinded after problems with their “security

 clearance” are reported.

        479.    Some employees have been told point blank that the security clearance issue is

 that they have a problem code attached to their file.

        480.    Others have seen the problem code.

        481.    These problem codes are typically imposed on employees who are not hirable due



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 to heinous offenses, like child abuse.

           482.   DOE has long been aware of this issue, as it has been repeatedly brought up in

 EEOC complaints and related litigation but refuses to address it.

           483.   There is currently a Congressional Investigation into the problem code issue, and

 members of the United States Congress have demanded answers from the City and DOE. Neither

 Defendant has bothered to answer these inquiries even though they are required to do so.

           484.   There have also been hearings by the City Council, and many employees from

 DOE and the City have testified about the ongoing retaliation and discrimination they face.

           485.   Fourth, DOE has attempted to block all efforts at receiving unemployment

 compensation.

           486.   For example, when employees would apply, DOE would routinely object and state

 that they were fired for misconduct or were ineligible for a “good cause” determination because

 the Pope or others did not agree with the employee’s religious choice.

           487.   DOE routinely made these discriminatory arguments even after the Second Circuit

 chastised them for conditioning access to accommodation on the beliefs of a religious leader like

 the Pope.

                          NAMED PLAINTIFFS’ INDIVIDUAL FACTS

           488.   Each Plaintiff sets forth additional facts below, which help demonstrate the

 widespread discriminatory policies and practices, and also support their as-applied individual

 claims.

 EMILY ZAPANTIS-DALAMAKIS

           489.   In September 2021, Plaintiff EMILY ZAPANTIS-DALAMAKIS (“Mrs.

 Zapantis”) was a tenured Assistant Principal working in Queens with over twenty years of service



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 at DOE.

        490.     She had a spotless record of service and was well regarded at her job.

        491.     Mrs. Zapantis timely submitted an application for religious accommodation

 through the Self-Service Online Leave Application System (“SOLAS”).

        492.     Her application included a five-page letter setting forth her sincerely held religious

 objections to the Covid-19 vaccines, which provided links to source material and writings by the

 Church’s Holy Elders and Saints and scripture that guide her religious objections.

        493.     Among other religious reasons, Mrs. Zapantis objects to the link between abortion

 and the vaccines and cannot take the vaccine because she believes that the Holy Spirit has clearly

 guided her on this issue.

        494.     DOE immediately responded with the same generic, autogenerated email it sent to

 all other applicants, claiming undue hardship under the unlawful de minimis standard.

        495.     Mrs. Zapantis was not contacted by any person at DOE to discuss her application

 before it was denied.

        496.     DOE did not individually review her application before sending out the

 autogenerated email denial.

        497.     As an Assistant Principal, Mrs. Zapantis could have been accommodated without

 undue hardship, just as Kane plaintiff Amaryllis Ruiz-Toro was allowed to be.

        498.     Mrs. Zapantis timely appealed and had a zoom hearing with Arbitrator Barry Peek

 and a representative of the DOE.

        499.     The DOE representative acknowledged that Mrs. Zapantis’ religious objections

 were sincere.

        500.     However, the DOE representatives and Arbitrator Peek each asserted that she



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 cannot qualify because she is Greek Orthodox, and a leader in the North American branch of the

 Greek Orthodox Church allegedly supports vaccination.

        501.    Mrs. Zapantis explained that the Greek Orthodox church is autocephalous, and that

 she is not bound by that leader’s beliefs.

        502.    She pointed out that many Bishops and Greek Orthodox churches that she follows

 share her religious objection the vaccines.

        503.    She also explained that she follows the teachings of the Holy Spirit, the Holy Elders

 and the Saints, and believes that their guidance is to abstain from the vaccines for religious reasons.

        504.    DOE argued, essentially, that this was heretical, and that the arbitrator must take

 the Archbishop’s guidance as the only valid religious belief for a Greek Orthodox applicant.

        505.    No one mentioned any alleged “undue hardship” as a reason to deny her appeal.

        506.    Mrs. Zapantis was denied again, with no further explanation than an “x” next to the

 word denied.

        507.    On or about October 4, 2021, Mrs. Zapantis was placed on involuntary leave

 without pay for failing to violate her religious beliefs.

        508.    In November 2021, Mrs. Zapantis was informed that the Citywide Panel would

 conduct a de novo review and reinstate her with back pay if her beliefs qualified under lawful

 standards.

        509.    In or around March 2022, Mrs. Zapantis was issued an autogenerated email from

 the Citywide Panel, denying her application without explanation other than: “The decision

 classification for your appeal is as follows: DOE has demonstrated that it would be an undue

 hardship to grant this accommodation to appellant given the need for a safe environment for in-

 person learning.”



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        510.    Mrs. Zapantis could have easily been accommodated in person or remotely.

        511.    Mrs. Zapantis did not pose a direct threat based on her vaccine status. During the

 2020-2021 school year, as a school supervisor, she routinely went to the school building to check

 on students and she was allowed to work every day unvaccinated at her post in person. She only

 took two sick days the entire year and remained healthy and well despite the fact that it was a far

 more dangerous phase of the pandemic.

        512.    Mrs. Zapantis also had been accommodated remotely in the spring of 2020 and

 could have been again. All of her obligations could have been successfully completed remotely

 as they had been during the Spring 2020 when DOE was in full lockdown, or in the 2020-2021

 school year in instances where many teachers had remote accommodations.

        513.    She could have conducted her teacher supervisory observations online through

 Google classroom or Zoom as she had often done during the pandemic.

        514.    She could have completed all of her NYS reports, SPED and ENL reports, LAP

 paperwork, and emails remotely from home.

        515.    She could have made all of her usual daily phone calls to parents, teachers, and

 staff members remotely from home.

        516.    Any essential meetings with parents, teachers, school nurses, and support staff

 could have easily been done remotely via Zoom.

        517.    The Citywide Panel did not engage in cooperative dialogue with Mrs. Zapantis

 before denying her relief.

        518.    On or about March 17, 2022, Mrs. Zapantis was terminated from DOE.

        519.    Mrs. Zapantis timely initiated and timely filed an EEOC complaint, alleging that

DOE and the City engaged in widespread discrimination and failure to accommodate in violation



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of Title VII.

         520.   DOE failed to adjust the claims or remedy the widespread discrimination.

         521.   In August 2022, DOE sent Mrs. Zapantis and all other employees fired for refusing

 to violate their religious beliefs a letter offering reinstatement if they would get vaccinated.

         522.   Mrs. Zapantis could not violate her religious beliefs so DOE would not take her

 back.

         523.   After the Mandate was repealed, Mrs. Zapantis asked for her job back.

         524.   DOE would not hire her back.

         525.   Instead, DOE hired two different people to do her job, one of whom was primarily

 doing work that could and would typically be done remotely.

         526.   Furthermore, DOE placed a problem code on Mrs. Zapantis’ file which will not

 allow her to pass a security check to get rehired at DOE.

         527.   This problem code has also impeded her ability to get work outside of DOE.

         528.   Unable to live in New York City without income, Mrs. Zapantis had to move out

 of the country to Greece to try to survive.

         529.   Mrs. Zapantis suffered severe financial, emotional, psychological and spiritual

 harm because of Defendants’ discriminatory actions and policies.

         530.   Despite diligent efforts, excellent qualifications, and a nationwide teacher shortage,

 she has been unable to get rehired at DOE or anywhere else. She believes that there is a problem

 code on her account that is contributing to this issue.

         531.   On or after April 1, 2024, Mrs. Zapantis received a right to sue letter from the

 EEOC.

         532.   This suit was timely commenced within ninety days thereafter.



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 MARIANA ARGYROS

         533.    In September 2021, Plaintiff MARIANA ARGYROS (“Mrs. Argyros”) was a

 tenured elementary school teacher working in Queens with over 17 years of service at DOE.

         534.    Mrs. Argyros has a spotless record and was well regarded at her job.

         535.    Like many of the named Plaintiffs, she received Highly Effective ratings (the

 highest level rating possible) and was nominated for the Big Apple Award in teaching.

         536.    Mrs. Argyros has sincere religious objections to taking a Covid-19 vaccine due to

 her Greek Orthodox faith.

         537.    As Mrs. Argyros explained in her timely filed application for accommodation, she

 has been a devout follower of the faith all her life and married a man who is also Greek Orthodox.

         538.    The Greek Orthodox Church goes back to the beginning of Christianity and can

 trace its lineage to the apostles.

         539.    Mrs. Argyros has made pilgrimages with her family to Holy places, including

 several trips to Saint Gerasimos’ monastery in Greece.

         540.    Orthodox Christians throughout the world believe Saint Gerasimos heals through

 God’s grace, and Mrs. Argyros prays to Saint Gerasimos for healing and protection from illness.

         541.    Followers of the Greek Orthodox faith believe scriptures were derived from God,

 and Mrs. Argyros prays to God for all major medical decisions.

         542.    She has received clear guidance against vaccination from God.

         543.    Based on this guidance, she applied and was granted a religious exemption from

 the DOE for her older son until the state repealed that option in 2019.

         544.    Since 2019, her children have had to homeschool because she will not violate her

 faith by getting them vaccinated. This was extremely difficult, as Mrs. Argyros was a full-time



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 teacher herself.

        545.    Mrs. Argyros also articulated other religious objections in her letter, including an

 objection to the use of aborted fetal cell lines in the production of the vaccines.

        546.    DOE immediately sent Mrs. Argyros the generic autogenerated denial email sent

 to all applicants alleging that it would be “more than a minimal burden” to accommodate her.

        547.    No one at DOE reviewed her application or reached out to engage in cooperative

 dialogue before denying relief.

        548.    Mrs. Argyros timely appealed her denial.

        549.    She was not given a hearing but was simply denied with no further explanation than

 an “x” next to the word “denied.”

        550.    Mrs. Argyros was placed on leave without pay on or about October 4, 2021.

        551.    In December 2021, she received notification that her application would be

 considered by the Citywide Panel.

        552.    On February 15, 2022, the Citywide Panel did not question her religious sincerity,

 but denied her application, with no further information than “The decision classification for your

 appeal is as follows: DOE has demonstrated that it would be an undue hardship to grant this

 accommodation to appellant given the need for a safe environment for in-person learning.”

        553.    It would not have been an undue hardship to accommodate Mrs. Argyros for the

 reasons set forth in the undue hardship section of this complaint, supra.

        554.    As discussed in the undue hardship section, supra, Mrs. Argyros did not pose a

 direct threat based on her vaccination status and could have been easily accommodated in person

 or remotely.

        555.    She had already successfully taught in person with students through the worst of



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 the pandemic.

        556.     She also taught in an Integrated Co-Teaching (“ICT”) classroom, which meant she

 already had a co-teacher.

        557.     During the pandemic, it was common in ICT classrooms for one teacher to work

 remotely with students through Google classroom while the co-teacher was present live in the

 classroom.

        558.     During the 2020-2021 school year, unless there was a lockdown or temporary

 closure, Mrs. Argyros taught in person from her classroom at P.S. 11. She even livestreamed the

 students who were learning from home (students in her class were coming in person on alternating

 days) even though she was not required to, because she did not want them to miss out on any

 learning. These students were able to interact with the classroom and learned more effectively.

        559.     Furthermore, she was a general education teacher at that time teaching in an ICT

 classroom on her own in a classroom that requires two teachers. The school could not find a

 substitute teacher to cover for the special education position during the pandemic so she was

 allowed to handle the class on her own without a co-teacher.

        560.     During the 2021-2022 school year, Mrs. Argyros did have a co-teacher and could

 have done her co-teaching remotely while her co-teacher was physically present in the building.

        561.     DOE accommodated some teachers this way whose religious beliefs were preferred

 under the discriminatory Stricken Standards for the 2021-2022 school year and could have granted

 the same accommodation to Mrs. Argyros.

        562.     DOE even hired long-term substitutes as co-teachers for some classrooms that were

 not ICT classrooms so that the primary teacher could teach via Google Classroom unvaccinated

 with a co-teacher.



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        563.     But they only did this for those whose religious beliefs were deemed to meet the

 discriminatory criteria set forth in the Stricken Standards.

        564.     Mrs. Argyros filed a request for a hearing, pursuant to Education Law 3020, on or

 about February 22, 2022, alerting the DOE to her claims and seeking adjustment.

        565.     DOE refused to provide her with a 3020 hearing, even though they are prohibited

 by law from taking adverse action against a tenured employee without a 3020 hearing and refused

 to adjust her statutory claims either.

        566.     In March 2022, DOE terminated Mrs. Argyros for failing to violate her sincerely

 held religious beliefs.

        567.     In August 2022, Mrs. Argyros received a letter from DOE, inviting her to return to

 her old position but only on the condition that she get vaccinated.

        568.     Mrs. Argyros could not violate her faith in this manner.

        569.     She was not given any religious accommodation, even though Defendants knew

 she needed one.

        570.     After the Mandate was repealed in February 2023, Mrs. Argyros tried diligently to

 get rehired at DOE.

        571.     DOE refused to take her back or offer her a new position.

        572.     Upon information and belief, she has a problem code attached to her file.

        573.     As soon as she learned about the problem codes, Mrs. Argyros filed another notice

 of claim in April 2023, addressing her unlawful denial of accommodation, and the ongoing

 retaliation through the failure to provide a legally required 3020 hearing, refusal to rehire, and the

 problem code.

        574.     Defendants failed to adjust these claims within thirty days of receipt.



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         575.    Mrs. Argyros suffered severe financial, emotional, psychological and spiritual harm

 because of Defendants’ discriminatory actions and policies.

 MICHELLE BAPTISTE

         576.    In September 2021, Plaintiff MICHELLE BAPTISTE (“Ms. Baptiste”) was a

 tenured preschool teacher working in Brooklyn with over 28 years of service at DOE.

         577.    She was born at the now shuttered Brooklyn Women’s Hospital on Eastern

 Parkway in Brooklyn within the bounds of the Community School District 17, attended District

 17 as a kindergartener and returned to that same school to teach in her first teaching assignment as

 a first-grade teacher.

         578.    She has deep ties to the community

         579.    Ms. Baptiste was a well-respected and beloved teacher. She loved her job, and her

 students loved her.

         580.    Ms. Baptiste has sincerely held religious objections to vaccination.

         581.    She previously sought religious accommodation for her son from school vaccine

 mandates based on these same sincerely held religious objections and was not required to vaccinate

 him.

         582.    Ms. Baptiste timely applied for accommodation, explaining that she seeks guidance

 from God through prayer for every decision, major and minor, and vaccination conflicts with this

 guidance and violates her faith.

         583.    Ms. Baptiste was sent the same autogenerated email sent to all other applicants,

 saying it would be more than a minimal burden to accommodate her.

         584.    Ms. Baptiste could have been easily accommodated as set forth in the undue

 hardship section, supra.



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         585.     She was willing, ready and able to test weekly, or assist with any other mitigation

 teachers available to teachers across the state, and as set forth above, did not pose a direct threat

 based on her vaccine status.

         586.     Moreover, Ms. Baptiste had been accommodated remotely in the past by DOE, and

 could have been allowed to work remotely again, just as those with favored religious beliefs were

 allowed to do.

         587.     Ms. Baptiste timely appealed and submitted additional materials about her faith and

 questions about the process.

         588.     She was not allowed to have a zoom hearing, but instead received a denial from

 Arbitrator Barry Peek with no further explanation than an “x” next to the word denied.

         589.     Ms. Baptiste was placed on leave without pay on or about October 4, 2021.

         590.     In November 2021, she was informed that the Citywide Panel was reviewing her

 application and would reinstate her with back-pay if her beliefs qualified under lawful standards.

         591.     She submitted a longer letter to the Panel. As these materials address in more detail,

 Ms. Baptiste is a devout and lifelong Catholic, from a devout Catholic family.

         592.     Her mother a pilgrimage to Lourdes, France, where she obtained a bottle of healing

 holy water, which Ms. Baptiste keeps, to this day, and uses sparingly for her faith healing.

         593.     When Ms. Baptiste was six years old, the family became followers of Veronica

 Leuken, known as the Bayside Prophet, who many believed was being visited by the Holy Mother

 Mary.

         594.     This sect of Catholicism is vehemently against participation in abortion, which they

 believe is a mortal sin and is imperiling the soul and future of all humanity.



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        595.    Ms. Baptiste was raised to understand that there is no grey area when it comes to

 participation in abortion – however indirect.

        596.    In her eight page, single-spaced heartfelt letter, Ms. Baptiste explained that though

 she still considers herself Catholic, she does not believe the Catholic Pope was right to excuse the

 vaccine’s use of aborted fetal cell lines. She received guidance from prayer and her religious

 conscience, and she believes that to avail herself of these vaccines would mean the destruction of

 her soul.

        597.    The Citywide Panel summarily denied relief on or about January 26, 2022, stating,

 without further explanation that: “The decision classification for your appeal is as follows: Request

 does not meet legal parameters for an RA and DOE has demonstrated it would be an undue

 hardship to grant this accommodation to appellant given the need for safe in-person learning.”

        598.    Ms. Baptiste was terminated on or about February 18, 2022 for failing to violate

 her sincerely held religious beliefs.

        599.    DOE continued to retaliate against her.

        600.    Upon information and belief, Defendants placed a problem code on her file.

        601.    Then, when Ms. Baptiste applied for unemployment insurance benefits, DOE

 opposed it, asserting that since the Pope disagreed with her, she was not entitled to a good cause

 determination and should be deemed to have quit.

        602.    This was well after the Second Circuit chastised Defendants for denying people’s

 religious accommodation requests based on the beliefs of the Pope and other religious leaders and

 well after Defendants acknowledged that such reasoning was unconstitutional.

        603.    The Administrative Law Judge shockingly upheld this unconstitutional reason,

 reiterating DOE’s argument to find: “Claimant acknowledged that the Pope was in favor of people



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 taking the vaccine and that no leader of the Roman Catholic Church was against taking the vaccine.

 Although claimant cites law asserting that the employer did not adequately implement an August

 24, 2021 arbitration award, I conclude that if the arbitration award had been correctly implemented

 that claimant would still have lost her job because the leader of claimant’s religion was against

 taking the vaccine. I, therefore, conclude that by choosing not to take the mandated vaccine, the

 claimant quit her job without good cause.”

        604.    This decision mirrored the Law Department’s argument for why she should be

 denied, showing that the Law Department continued to violate the Second Circuit’s direct orders

 to stop using the Stricken Standards.

        605.    With no possibility of income or even the safety net of unemployment insurance,

 Ms. Baptiste was forced to take early retirement, at great penalty, due to Defendants’

 discriminatory actions, among many other harms.

        606.    Ms. Baptiste and her family suffered severe financial, emotional, psychological and

 spiritual harm because of Defendants’ discriminatory actions and policies.

 VENESSA BURRELL-BARTLEY

        607.    In September 2021, Plaintiff VENESSA BURRELL-BARTLEY (“Mrs. Burrell-

 Bartley”) was a tenured Special Education teacher working in Queens with four years of service

 at DOE.

        608.    She had a spotless record, was rated “Highly Effective” and was appointed to the

 leadership team at her school, reviewing IEP’s schoolwide, training new teachers and helping

 create modules and best practices to share.

        609.    Mrs. Burrell-Bartley was unable to take a Covid-19 vaccine due to her sincerely

 held religious beliefs.



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        610.    She is a member of the Seventh Day Church of God, Reformed.

        611.    Her religious leaders share her belief that vaccination against Covid-19 goes against

 the teachings of her religion.

        612.    Mrs. Burrell-Bartley timely submitted an application for religious accommodation,

 including a letter from her Pastor, explaining that Covid-19 vaccination goes against the teachings

 of the Seventh Day Church of God, Reformed, for several reasons – one being the use of aborted

 fetal cell lines in the development of the vaccines.

        613.    Like all the rest of her colleagues, Mrs. Burrell-Bartley was immediately denied

 through an autogenerated email stating it would be more than a minimal burden to accommodate

 her.

        614.    No one reviewed her application before the denial was sent out or reached out to

 her to engage in cooperative dialogue.

        615.    Mrs. Burrell-Bartley could have been accommodated without undue hardship for

 the reasons set forth in the undue hardship section, supra.

        616.    Mrs. Burrell-Bartley timely appealed.

        617.    She was notified that she would be exempt from the vaccine requirement until she

 got a determination on appeal.

        618.    Mrs. Burrell-Bartley had a zoom hearing on or about September 28, 2021.

        619.    The zoom hearing was brief.

        620.    The DOE representatives chiefly argued that Mrs. Burrell-Bartley was not entitled

 to accommodation because her religion was wrong to object to the link between the vaccines and

 abortion.

        621.    The DOE representative presented the letter from Commissioner Chokshi to try to



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 prove that these religious concerns were somehow overblown.

          622.   Mr. Chokshi is not a member of Mrs. Burrell-Bartley’s church and has no basis to

 weigh in on this religious question even if he was.

          623.   Mrs. Burrell-Bartley was denied in October 2021, with no further explanation than

 an “x” placed next to the word denied.

          624.   From approximately October 4, 2021, through October 15, 2021, Mrs. Burrell-

 Bartley was allowed to work remotely while her request for religious accommodation was pending.

          625.   On or about October 15, 2021, Mrs. Burrell-Bartley was placed on Leave without

 Pay for failing to violate her sincerely held religious beliefs.

          626.   In November 2021, Mrs. Burrell-Bartley received notification that her application

 was being considered by the Citywide Panel.

          627.   She waited for months for a determination.

          628.   Upon information and belief, no decision was issued.

          629.   On or about September 5, 2022, Mrs. Burrell-Bartley received notification that she

 could be reinstated to her old position with no break in service if she was willing to get vaccinated

 in violation of her religious beliefs.

          630.   She submitted her religious accommodation request again.

          631.   On or about September 23, 2022, Mrs. Burrell-Bartley was informed that her

 religious accommodation request was being “administratively closed” since she was being

 terminated.

          632.   Mrs. Burrell-Bartley could have been accommodated in person without hardship

 and could also have been accommodated remotely, as discussed in the undue hardship section,

 supra.



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        633.    In fact, she already was accommodated remotely for the 2020-2021 school year.

        634.    She also was accommodated remotely for part of the 2021-2022 school year and

 was working remotely at the very time she was denied accommodation.

        635.    She could have continued to do her job, since she had a co-teacher in every class

 she taught, and she could have had her breakout sessions with her special education students

 remotely even if they were in the classroom.

        636.    DOE allowed other teachers to work remotely with a co-teacher but denied Mrs.

 Burrell-Bartley the same considerations because they did not approve of her religion.

        637.    She also could have taught in one of the fully remote programs, and/or continued

 to handle the IEP documentation, which were all handled remotely anyway.

        638.    But she was instead denied accommodation because Defendants discriminated

 against those whose beliefs included concerns about the link between the vaccines and abortion,

 among other discriminatory policies.

        639.    Mrs. Burrell-Bartley never received a decision from the Citywide Panel and is

 therefore similarly situated to NYFRL plaintiff Solon, who was determined to have articulated a

 free exercise claim because she was only ever considered under the blatantly unconstitutional

 Stricken Standards policy.

        640.    There is no material difference between plaintiff Solon and Mrs. Burrell-Bartley

 that would lead to a different outcome here.

        641.    Mrs. Burrell-Bartley suffered severe financial, emotional, psychological and

 spiritual harm as a result of Defendants discrimination

 STEPHEN BYNOE

        642.    In September 2021, Plaintiff STEPHON BYNOE (“Pastor Bynoe”) was a tenured



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 Special Educator and General Education Teacher with 22 years of service at DOE.

        643.    When the Mandate was announced, Pastor Bynoe was employed by DOE as a UFT

 Teacher Center Coach/Specialist.

        644.    His job was to teach professional development and workshops to new and

 experienced teachers across the DOE.

        645.    Pastor Bynoe had an excellent reputation and was recognized for organizing and

 executing programming that went above and beyond what he was required to do.

        646.    Pastor Bynoe has sincere religious objections to all vaccinations.

        647.    He is the Pastor and congregation leader of a Ministry which grew out of the

 Seventh Day Adventist Churches many years before the pandemic.

        648.    The church is opposed to all vaccination.

        649.    Accordingly, Pastor Bynoe does not take vaccines, and his children have never been

 vaccinated.

        650.    As a Pastor, Pastor Bynoe wrote religious accommodation requests for two

 individuals from his faith who worked or contracted with Defendants.

        651.    Upon information and belief, both individuals received religious accommodation

 based on his Pastor letter.

        652.    But DOE rejected Pastor Bynoe’s timely filed application when he filed it on behalf

 of himself.

        653.    First, DOE sent the same autogenerated email sent to all other employees, stating

 it would be “more than a minimal burden” to accommodate him given the need for children to

 have safe in-person learning.

        654.    But Pastor Bynoe did not work in person with children.



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           655.   He taught math and facilitated trainings for adult DOE teachers from his office in

 the UFT Teaching Center.

           656.   Since March of 2020, these trainings and workshops were all held virtually.

           657.   No one ever individually reviewed whether Pastor Bynoe could have been

 accommodated without undue hardship before sending the autogenerated denial on that basis.

           658.   In fact, no one ever individually reviewed his application at all before he was

 denied.

           659.   For the reasons set forth in the undue hardship section, supra, it would not have

 been an undue burden or created a direct threat to accommodate Pastor Bynoe in person.

           660.   Similarly, as detailed above, and in this section, it would not have been an undue

 hardship to accommodate Pastor Bynoe remotely as he already taught all his workshops virtually

 and worked in an administrative building.

           661.   Pastor Bynoe timely appealed, within one day of receiving his autogenerated denial.

           662.   The arbitrator denied him the right to have zoom hearing and denied the appeal,

 with no further explanation than an “x” next to the word “denied.”

           663.   Pastor Bynoe was involuntarily placed on leave without pay on October 4, 2021.

           664.   In or around November 2021, Pastor Bynoe received notification that the Citywide

 Panel would review his application and reinstate him if he qualified under lawful standards.

           665.   On or about March 28, 2022, the Citywide Panel denied his appeal, again on the

 basis of “undue hardship”, given the “need for a safe environment for in person learning.”

           666.   Again, no one reviewed whether it would be an undue hardship to accommodate

 Mr. Bynoe before sending this denial.

           667.   Clearly it would not have been, since Pastor Bynoe did not work in classrooms or



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 even with children.

        668.       Pastor Bynoe and his family suffered severe financial, emotional, psychological

 and spiritual harm because of Defendants’ discriminatory actions and policies.

        669.       He has lost everything, even his life insurance policy that he had to protect his

 children, which he could not pay due to Defendants’ discriminatory actions.

 CONNI CALIA

        670.       Plaintiff CONNI CALIA is a resident of Queens County, New York. Prior to being

 denied religious accommodation, she was a tenured school psychologist working in Brooklyn with

 over 16 years of service at DOE.

        671.       Most of Mrs. Calia’s work was on the computer, even before the pandemic.

        672.       As a school psychologist, her job included writing IEPs and holding IEP meetings

 (which are still done remotely even now), and some testing and IEP management, most of which

 was also done remotely or easily could have been.

        673.       At the school she worked at, there were several additional school psychologists who

 could have traded any tasks that had to be done in person.

        674.       During the 2020-2021 school year, Ms. Calia was given a medical accommodation

 to do her job fully remotely from home, with no issue or added expense.

        675.       In the fall of 2021, Ms. Calia applied for religious accommodation from the

 Mandate.

        676.       Ms. Calia is a devout Christian and has multiple sincerely held religious objections

 to the vaccine.

        677.       She suffers from several debilitating long-term health conditions and has learned to

 put her faith in God for healing and health matters.



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         678.       She prays over every medical intervention and believes that God did not want her

 to take this vaccine.

         679.       Among other religious concerns, Ms. Calia is also opposed to the link between the

 vaccines and aborted fetal cell lines.

         680.       Ms. Calia timely applied for religious accommodation and was immediately denied

 with the same autogenerated email sent to all DOE employees, stating it would be an undue

 hardship based on the “more than a minimal burden” standard.

         681.       No one from DOE ever reviewed her application before she was denied.

         682.       It would not have been an undue burden to accommodate Ms. Calia remotely.

         683.       Ms. Calia also could have been accommodated safely in person without causing a

 “direct threat.”

         684.       Ms. Calia appealed within the 24 hours allotted.

         685.       She was denied accommodation, with no opportunity for a hearing and no

 explanation, just an “x” next to the word “denied.”

         686.       In or around December 2021, Ms. Calia received notification that her application

 would be given fresh consideration by the Citywide Panel.

         687.       On or about February 15, 2022, the Citywide Panel denied her application without

 explanation..

         688.       No one from the Citywide Panel evaluated her individually to assess whether it

 would have been an undue hardship to accommodate her.

         689.       DOE did not establish that it would have been an undue hardship to accommodate

 Ms. Calia either.

         690.       Ms. Calia timely filed a notice of claim with the DOE, and DOE did not adjust it



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 within the time allotted.

         691.   Ms. Calia’s family was suffering terribly without her income.

         692.   In or around August 2022, Ms. Calia was informed that she could return to her old

 position if she got vaccinated by September 6, 2022.

         693.   To protect her children, she got vaccinated in violation of her faith and returned to

 work.

         694.   Ms. Calia suffered serious adverse reactions, and lasting health issues as a result of

 getting vaccinated.

         695.   Worse, she will never recover from the pain of being forced to violate her faith.

         696.   Ms. Calia suffered severe financial, emotional, psychological and spiritual harm

 because of Defendants’ discriminatory actions and policies.

 ADRIANA CARBONE

         697.   Plaintiff ADRIANA CARBONE is a resident of Bronx County, New York. Prior

 to being denied religious accommodation, Ms. Carbone was a Community Associate working in

 Manhattan with over nine years of service at DOE.

         698.   Ms. Carbone is a devout Christian and has sincere religious objections to taking a

 Covid-19 vaccine.

         699.   Ms. Carbone is a single mother of a small son, and she chose to not vaccinate her

 son due to her religious beliefs.

         700.   She timely applied for religious accommodation through SOLAS.

         701.   Ms. Carbone was immediately denied accommodation through the same

 autogenerated email sent to all employees, alleging it would be an undue hardship to accommodate

 her.



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         702.    Ms. Carbone’s job was not in person with school children.

         703.    She worked in the Manhattan Borough Office – an administrative office, and upon

  information and belief the same office that NYFRL plaintiff Heather Clark worked in.

         704.    Ms. Carbone’s primary job was to coordinate with nonprofits and oversee custodial

  payroll services.

         705.    Once a year, someone from her department would need to enter a school building

  to assess broken windows, custodial supplies or other similar inventory.

         706.    This could be done in the summer or after-hours when students were not in the

  building.

         707.    A number of other colleagues were available to do the assessment and it did not

  have to be Ms. Carbone.

         708.    Even before the Mandate, Ms. Carbone was asked to go to a school building to do

  that brief assessment only once in all the years she had worked at DOE.

         709.    Ms. Carbone never had to visit schools or be on site for any reason. Her main job

  site was in the Manhattan office, where no children were ever present.

         710.    Ms. Carbone could have easily been accommodated without undue hardship,

  remotely or in person at the administrative offices.

         711.    No one at DOE reviewed her application before denying her based on alleged undue

  hardship.

         712.    Ms. Carbone did not pose a direct threat to anyone based on her religious practices.

         713.    Ms. Carbone timely appealed her initial denial.

         714.    She had a hearing with an arbitrator and DOE representative on or about October

  20, 2021.



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          715.    Pending the hearing she was placed on Leave Without Pay on October 4, 2021,

  even though some of her colleagues were allowed to keep getting paid until after their hearings.

          716.    The arbitrator and DOE representatives were rude and dismissive of her religious

  beliefs at the hearing.

          717.    They harassed her and emphasized that the Pope was vaccinated.

          718.    The DOE representative said she just needed to go get vaccinated.

          719.      Soon afterwards, the arbitrator issued a denial with no further explanation than an

  “x” next to the word “denied.”

          720.    In or around January 2022, Ms. Carbone was informed that she would receive

  “fresh consideration” by the Citywide Panel.

          721.    On or about February 15, 2022, she received an autogenerated email from

  “salesforce” informing her that “The decision classification for your appeal is as follows:

  Employee did not establish religious belief that precludes vaccination.”

          722.    Ms. Carbone’s religious accommodation request clearly established a sincerely

  held religious objection to the vaccine.

          723.    Ms. Carbone’s heartfelt letter explained, among other things, that she turns to God

  for life’s major decisions, including decisions about health, seeking guidance from the Bible and

  from the personal language she believes God forms with her and each of his children, according

  to their own unique bond.

          724.    She explained that she received clear guidance that she should not take the vaccine

  through prayer.

          725.    Ms. Carbone explained that following this advice was not easy. She was terrified

  to lose her job and about the impacts of following God. But, as she stated in her letter, “the answer



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  that God provided was clear as his scripture and my inner knowing revealed that I must place my

  trust in God and his healing and shielding powers.”

          726.    She explained that based on God’s guidance, she had never taken any vaccine in

  her entire adult life.

          727.    She also explained that as a Christian, she does not use any vaccine or medication

  that uses fetal cells in its development, including Tylenol and Pepto-Bismol.

          728.    The City did not question Ms. Carbone’s religious sincerity yet they denied her

  with little to no explanation, just like her colleagues.

          729.    The Citywide Panel had no basis to conclude that Ms. Carbone’s sincerely held

  religious beliefs do not preclude vaccination.

          730.    The City may not agree with or understand the guidance that Ms. Carbone received

  from prayer, but they are not entitled to substitute judgment about what it means, as they did.

          731.    Ms. Carbone is a single mother.

          732.    She was now cut off not only from her income at DOE, but also from her side job

  waitressing due to the Key to NYC vaccine mandate, which did not allow for religious

  accommodation at all.

          733.    She suffered enormously, as did her family.

          734.    Losing her job deeply affected her and her son’s living situation, and the stress

  caused by trying to provide for her young son at this time caused great hardship for her.

          735.    Ms. Carbone applied for unemployment insurance.

          736.    DOE contested the process, claiming she “quit” and was not entitled to a good faith

  determination because her beliefs don’t merit religious protection. In making these arguments, the

  Law Department continued to argue that she did not qualify based on the unconstitutional criteria



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  struck down by the Second Circuit in Kane.

          737.    Ms. Carbone had to appeal and won her unemployment insurance appeal.

          738.    Up to and including this year, DOE continues to file frivolous motions to

  reconsider, even though they present no new evidence and lose every time.

          739.    This is another form of harassment and retaliation and shows a deep animus towards

  her religious beliefs.

          740.    Ms. Carbone and her family have suffered severe financial, emotional,

  psychological and spiritual harm because of Defendants’ discriminatory actions and policies.

  TRAVIS CARTER

          741.    Plaintiff TRAVIS CARTER (“Pastor Carter”) is a resident of Richmond County,

  New York. Prior to being denied religious accommodation, Pastor Carter was a tenured art teacher

  working in Staten Island with over 21 years of service at DOE.

          742.    Among other achievements, Pastor Cater was rated “Highly Effective” as a teacher.

          743.    He was a beloved and well-respected teacher, that touched the lives of his students.

          744.    He regularly received letters from his students, even years later, letting him know

  that he changed the course of their lives, and helped them at critical times to succeed and flourish

  despite adversity.

          745.    Pastor Carter is a very religious man.

          746.    He has faithfully attended the Pentecostal Tabernacle in Staten Island since he was

  a child, which is part of the United Pentecostal Church.

          747.    At the time of his application for religious accommodation, Pastor Carter was the

  Assistant Pastor at the Church.

          748.    For over twenty years prior to becoming Assistant Pastor, he was deeply involved



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  in the church, leading youth ministry, teaching Bible study groups, and attending religious

  education and training programs, among numerous other roles.

         749.    On January 1, 2023, Pastor Carter was appointed as a full Pastor of the church.

         750.    Due to his religious beliefs, Pastor Carter does not drink alcohol, smoke cigarettes,

  or consume any product that he believes will pollute God’s temple.

         751.    Due to these same religious beliefs, Pastor Carter does not believe in vaccination.

         752.    Pastor Carter’s wife shares his religious beliefs, and also lost her job due to a similar

  mandate for covered healthcare facilities, which was recently struck down as arbitrary and

  capricious.

         753.    Due to their religious beliefs, the Carters do not vaccinate their four children.

         754.    Before the Mandate was even announced, Pastor Carter proactively submitted a

  religious accommodation request on or about August 9, 2021, to ensure that DOE understood that

  he would need accommodation if a mandate was imposed.

         755.    He could see the writing on the wall, and believed that this was the direction that

  the City was headed.

         756.    No answer was provided.

         757.    On or about September 16, 2021, Pastor Carter resubmitted his request, which

  included a long, heartfelt letter detailing his religious beliefs and history, a letter from his Pastor

  at the Pentecostal Tabernacle Church, and proof of antibodies showing natural immunity due to

  recent Covid-19 infection.

         758.    The letter affirmed that Pastor Carter’s religious beliefs preclude any vaccination.

         759.    His Pastor affirmed Pastor Carter’s sincerely held religious belief and added that

  Mr. Carter’s religious opposition to using any product containing aborted fetal cell lines is



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  consistent with the Bible and the teachings of the church.

         760.    Pastor Carter was immediately denied through the same autogenerated “undue

  hardship” email sent to all applicants.

         761.    Pastor Carter could have been accommodated without undue hardship as discussed,

  supra, in the undue hardship section.

         762.    He could have worked safely in person.

         763.    Like most of his colleagues, he had already had Covid-19 recently and had natural

  immunity.

         764.    And, in addition to any number of other accommodations, he could have worked

  remotely.

         765.    During the 2020-2021 school year, Pastor Carter had been given a medical

  exemption so that he could teach his art classes through Google Classroom and conduct his parent-

  teacher conferences remotely as well.

         766.    Moreover, DOE did accommodate other teachers accepted under the Stricken

  Standards during the 2021-2022 school year to work remotely as well.

         767.    For example, DOE accommodated at least one other art teacher by hiring a long-

  term substitute to work in person while the art teacher zoomed in via Google classroom.

         768.    That teacher was not easier to accommodate than Pastor Carter was – she just

  happened to have religious beliefs that were favored by Defendants under the unconstitutional

  religious accommodation policies they implemented and enforced.

         769.    Pastor Carter was also able to do a full schedule of digital design classes and

  drawing classes remotely on Google Classroom. Students were given instruction, able to talk in

  real time to get feedback, and submit work for grading during each online class period.



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         770.      Pastor Carter timely appealed his denial.

         771.      He was allowed a zoom hearing on or about September 23, 2021.

         772.      A representative of the DOE was present, as well as the arbitrator Carol Hoffman.

         773.      The DOE attorney argued that Pastor Carter must be denied because he allegedly

  heard of a different Pentecostal church that was okay with the Covid-19 vaccine.

         774.      The same day, Pastor Carter was issued a denial, with no explanation, just an “x”

  next to the word “denied.”

         775.      He was involuntarily placed on leave without pay on or about October 4, 2021.

         776.      On or about the same day, he served a notice of claims on the Board of Education

  of his claims.

         777.      The DOE failed to adjust his claims.

         778.      In or around November 2019, Pastor Carter received notification that the Citywide

  Panel would review his application anew and reinstate him with back pay if he qualified under

  lawful standards.

         779.      On or about March 17, 2022, the Citywide Panel sent an autogenerated email stating

  that he was denied based on undue hardship.

         780.      He was then terminated for failing to get vaccinated in violation of his sincerely

  held religious beliefs.

         781.      Pastor Carter filed a grievance, asking for a 3020 hearing, which he is entitled to as

  a tenured teacher. This met the requirements of a second notice of claim served on DOE, which

  was not adjusted.

         782.      No hearing was provided under Education Law 3020 either.

         783.      When DOE sent out letters to Pastor Carter and his colleagues stating that they



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  would reinstate anyone who got vaccinated on or before September 6, 2022, they failed to provide

  religious accommodation to Pastor Carter even though they knew he needed it and even though

  they knew they could have without causing any safety issue.

          784.    Since the repeal of the Mandate, Pastor Carter has tried repeatedly to get rehired by

  the DOE.

          785.    DOE will not rehire him, even after they posted an opening at his old school for an

  art teacher position this year.

          786.    Pastor Carter is currently working as a substitute teacher on a per diem wage. Pastor

  Carter continues to apply for other jobs too, but DOE will not hire him as a full time teacher despite

  his qualifications and massive teacher shortages.

          787.    Mr. Carter and his family have suffered severe financial, emotional, psychological

  and spiritual harm because of Defendants’ discriminatory actions and policies.

  JESSICA DALY

          788.    Plaintiff JESSICA DALY is a resident of Richmond County, New York. Prior to

  being denied religious accommodation, she was a paraprofessional working in Staten Island, with

  over ten years of service at DOE.

          789.    In 2013, Ms. Daly’s husband, a New York City firefighter, was diagnosed with

  Stage IV cancer from working at ground zero during and after the September 11, 2001, attack.

          790.    While the family waited for the results of the first biopsy, Mrs. Daly went to her

  room alone, got on her knees and cried and prayed to God like she had never prayed. She placed

  herself, from that moment on, in God’s care, and asked that he help her, and her three children and

  her husband get through what was to come.

          791.    Mrs. Daly has sought guidance from God and the Holy Spirit through prayer ever



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  since in all matters, but especially medical matters.

         792.    She was guided through prayer that she could not take a Covid-19 vaccine.

         793.    When the Mandate came out, Mrs. Daly prepared a lengthy and heartfelt letter

  explaining her faith journey, and why she could not go against the guidance from God.

         794.    She explained that she was also religiously opposed to the use of aborted fetal cell

  lines in the development of the vaccines, among other issues.

         795.    Mrs. Daly was immediately denied through the autogenerated “undue hardship”

  email sent to all other applicants.

         796.    No one at DOE reviewed Mrs. Daly’s application before it was denied.

         797.    Mrs. Daly could have been accommodated without undue hardship, in person or

  remotely as described in the undue hardship section, supra.

         798.    She posed no danger to anyone based on her vaccine status.

         799.    The year before, though she’d offered to work in person, her principal had already

  given her one of the remote classes.

         800.    There were students in 2021-2022 who she could have taught remotely as well.

         801.    Mrs. Daly timely appealed and was given a zoom hearing.

         802.    At the hearing, the DOE representative harassed her, mocked her, and made

  discriminatory statements.

         803.    The DOE representative was particularly adamant that Mrs. Daly must be denied

  because the Pope is vaccinated.

         804.    Mrs. Daly explained that she did not worship the Pope, or any man. She said, “I'm

  going to do what my heart tells me, what God tells me, because that's who I worship. If you were

  to read the letter I wrote, you would get that."



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         805.    The DOE then pulled out the letter from Commissioner Chokshi and argued that

  based on the letter from Mr. Chokshi, Mrs. Daly should be denied accommodation.

         806.    Mrs. Daly explained that Commissioner Chokshi could not dictate what her faith

  required of her.

         807.    Soon after, Mrs. Daly received a denial, with no further explanation than an “x”

  next to the word “denied.”

         808.    On October 4, 2021, she was involuntarily placed on leave without pay.

         809.    Mrs. Daly received notification in or around the end of November that her

  application would be given fresh consideration by a Citywide Panel.

         810.    On or about March 7, 2022, Mrs. Daly received an autogenerated notification from

  “salesforce” stating that she was denied because it would be an undue hardship to grant

  accommodation given the need for in-person learning.

         811.    Mrs. Daly was terminated for failing to violate her religious beliefs on or about

  March 17, 2022.

         812.    She was not given religious accommodation when the DOE sent out fresh offers of

  reinstatement for all employees willing to get vaccinated by September 6, 2022, even though the

  DOE knew she needed it and even though they could have safely granted it.

         813.    Last fall, Mrs. Daly’s husband passed away. He was the 347th New York City

  firefighter to succumb to death by cancer as a result of his service to the City on 9/11.

         814.    Cast aside from her job at DOE, Mrs. Daly is now trying to support her three

  children on $16 an hour that she earns at the local Catholic school.

         815.    Ms. Daly and her family suffered severe financial, emotional, psychological and

  spiritual harm because of Defendants’ discriminatory actions and policies.



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  SUZANNE DEEGAN

          816.   Plaintiff SUZANNE DEEGAN is a resident of Monmouth County, New Jersey.

  Prior to being denied religious accommodation, Mrs. Deegan was a tenured science teacher

  working in Staten Island, with over 20 years of service at DOE.

          817.   Mrs. Deegan was a well-respected teacher and had been promoted to the position

  of Science Chair.

          818.   She was also the sustainability coordinator, coached cheerleading, and took on a

  number of other leadership roles over and above her job duties.

          819.   Mrs. Deegan has long-standing sincere religious objections to vaccinations.

          820.   Mrs. Deegan’s children are unvaccinated and both have religious accommodations

  from school vaccine requirements.

          821.   Mrs. Deegan’s husband received a religious accommodation from his workplace as

  well.

          822.   Mrs. Deegan timely submitted a religious accommodation request, detailing her

  sincerely held religious beliefs.

          823.   She was immediately denied due to alleged “undue hardship” through the same

  autogenerated email sent to everyone else.

          824.   No one reviewed Mrs. Deegan’s application before she was denied.

          825.   Mrs. Deegan could have easily been accommodated remotely as set forth above in

  the undue hardship section and in this section.

          826.   Much of her job involved scheduling and running state test reviews, which was

  often remote, and because she was the science chair, she could have taught any classroom

  components remotely, with any teacher in the building serving as the in-person co-teacher.



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             827.   Mrs. Deegan’s colleague was accommodated by the school in this same manner for

  her medical accommodation request during the 2021-2022 school year even though it was harder

  to accommodate her remotely than it was to accommodate Mrs. Deegan remotely.

             828.   Mrs. Deegan timely appealed her denial.

             829.   While she waited for her appeal, she was ostracized at school after her principal

  shared her vaccine status without permission and allowed people to make fun of her for it.

             830.   She had a zoom hearing with an arbitrator and DOE representative.

             831.   The DOE representative and arbitrator were dismissive and hostile about her

  beliefs.

             832.   The DOE lawyer informed Mrs. Deegan that the Catholic Church believes in

  vaccines, so her beliefs were wrong, though DOE did not question that they were sincere.

             833.   Mrs. Deegan explained patiently that she is not a Catholic.

             834.   The DOE representative still argued she must be denied based on the Pope’s views.

             835.   Soon after the hearing, Mrs. Deegan received a denial, with no further explanation

  than an “x” next to the word “denied.”

             836.   Mrs. Deegan was placed on leave without pay on or about October 4, 2024.

             837.   In or around November 2021, Mrs. Deegan was told that her application would be

  given fresh consideration by a newly created “Citywide Panel” and that she would be reinstated

  with backpay if her religious beliefs qualified under lawful standards.

             838.   On March 7, 2022, Mrs. Deegan received an autogenerated email from “salesforce”

  providing a generic denial with a decisional criteria of “undue hardship” without any

  individualized analysis.

             839.   Ms. Deegan and her family suffered severe financial, emotional, psychological and



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  spiritual harm because of Defendants’ discriminatory actions and policies.

  STEPHANIE DICAPUA

         840.    Plaintiff STEPHANIE DICAPUA is a resident of Richmond County, New York.

  Prior to being denied religious accommodation, Mrs. DiCapua was a tenured physical education

  teacher working in Staten Island, with nearly five years of service at DOE.

         841.    Ms. DiCapua was in excellent standing and was consistently recognized for going

  above and beyond for her students.

         842.    She regularly volunteered for extra projects to give her students the best possible

  experiences. She created a physical education leader club, raised money for the school’s first ever

  Wellness Room, created the school’s first ever Wellness Committee, developed a student and staff

  cookbook, and created various additional school-wide wellness initiatives for students.

         843.    In addition to her normal duties, Ms. DiCapua also coached softball and organized

  before and after school fitness and sports programs.

         844.    Before she was denied accommodation, she was selected to be a physical education

  reviewer through the Office of School Wellness to develop the first ever physical education scope

  and sequence for students across the New York City Department of Education.

         845.    Due to her sincerely held religious beliefs, she was unable to get vaccinated.

         846.    These beliefs are long-standing and also reflect the official teachings of her

  particular Christian church.

         847.    Ms. DiCapua timely submitted her application for religious accommodation along

  with a letter from her pastor, supporting the exemption and pointing out teachings of the Bible that

  support and guide their religious objection to vaccines.

         848.    She was summarily denied, like all applicants, through an autogenerated email



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  asserting it would be more than a minimal burden to accommodate her.

         849.    No one reviewed her application before denying her.

         850.    Ms. DiCapua could have been accommodated in person or remotely without undue

  hardship as set forth in the undue hardship section above.

         851.    She could have been allowed to undergo weekly or daily Covid testing to monitor

  for infection. She would have been more than willing to test every day, but it was never offered to

  her by her superiors as option.

         852.    She could have been allowed to wear a face mask, face shield, or other personal

  protective equipment during instruction and while interacting with students and staff.

         853.    Physical education was already adjusted during the school year before the vaccine

  mandate was in place, so students could participate in PE while maintaining social distance.

  Classes could have been scheduled and conducted in larger outdoor spaces to make social

  distancing even easier.

         854.    Classes could have been set in staggered class times to reduce contact with large

  groups and minimize indoor exposure risks.

         855.    All of Ms. DiCapua’s classes were taught with a co-PE teacher. It could have been

  arranged that she social distanced during lessons while the other teacher did more hands-on

  corrections. She could have also taken on more of the planning and curriculum writing while her

  co-teacher again did more of the hands-on correction and feedback.

         856.    Furthermore, enhanced hygiene protocols could have been practiced, i.e. regular

  cleaning of shared PE equipment with support from custodial staff or increased air purifiers in the

  gymnasium.

         857.    Lastly, strategic use of technology to minimize physical interaction and to keep a



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  distance could have also been easily implemented, such as: the use of microphones, megaphone,

  headsets, or sound system to maintain distance while still engaging with students effectively.

         858.    She appealed but was immediately denied, without the right to a hearing, even

  though she met the criteria set forth in the Stricken Standards, with no explanation, just an “x”

  next to the word “denied.”

         859.    She was placed on leave without pay on or about October 4, 2021.

         860.    Ms. DiCapua was one of the original plaintiffs in the Kane lawsuit.

         861.    After the Second Circuit held that she was likely to succeed and ordered fresh

  consideration by the Citywide Panel, submitted additional materials to the City, including a six-

  page heartfelt letter explaining her well-documented and long-standing sincere religious objection,

  a letter from her pastor, and confirmation that she had never taken a vaccine in her adult life.

         862.    On or about December 10, 2021, she was denied, with no further explanation than

  “does not meet criteria.”

         863.    After she filed an emergency motion, the City prepared an unsigned concocted

  summary, generated in anticipation of litigation, to further explain the denial as follows:

  APPEAL NO. 00004828, Stephanie DiCapua
  After carefully reviewing the documentation provided by all parties, the
  Citywide Appeal Panel has voted to AFFIRM the DOE’s determination to deny
  Appellant DiCapua’s reasonable accommodation. The record before the Panel
  demonstrated that the employee’s sincerely held religious beliefs, which the
  panel does not question, are not preventing the employee from vaccination.
  Rather, it appears the employee’s decision to refuse vaccination is based on her
  factual views of the COVID-19 mandate and vaccine. The employee did not
  provide, beyond the most general response, any examples of other medications
  or specific vaccines she has refused due to her articulated religious belief.
  Even assuming the appellant had established a valid basis for a reasonable
  accommodation, the panel believes the DOE has satisfied what is necessary
  under the law to demonstrate undue hardship. Appellant is a classroom
  teacher who, under the present circumstances, cannot physically be in the
  classroom while unvaccinated without presenting a risk to the vulnerable and still primarily
  unvaccinated student population. DOE has met its burden


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  under the law that diverting the appellant from classroom duties constitutes
  an undue hardship.

          864.    The explanation makes no sense, and it appears that the Citywide Panel never read

  Ms. DiCapua’s submissions in their haste to concoct reasons to deny her relief.

          865.    For example, the summary states that Ms. DiCapua did not provide any examples

  of other medications or specific vaccines she declined because of her religious beliefs. But Ms.

  DiCapua’s six-page letter detailed many other medications declined on the basis of her religious

  beliefs, including, specifically, her original realization as a young adult that it violated her religion

  to take the flu vaccine.

          866.    Moreover, Ms. DiCapua’s letter was solely focused on her religious beliefs. Never

  once did she mention any factual opposition to the Mandate or vaccines nor is that the source of

  her religious objection.

          867.    Nor is Ms. DiCapua a direct threat due to her vaccine status as set forth in the undue

  hardship section, supra and in this section.

          868.    She worked in-person all throughout the worst of the pandemic and has natural

  immunity.

          869.    Additionally, other similarly situated teachers who were accommodated in the

  original unconstitutional process, were allowed to be accommodated for their religious beliefs.

          870.    There is no reason Ms. DiCapua should have been treated any differently.

          871.    The Citywide Panel never interviewed Ms. DiCapua and had no basis to draw the

  conclusions it did. Upon information and belief, the Citywide Panel never even read her materials

  but simply made up a hasty reason to deny Ms. DiCapua.

          872.    On or about February 11, 2022, Ms. DiCapua was terminated.




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         873.    On or about July 21, 2022, Ms. DiCapua filed a charge of discrimination with the

  EEOC, detailing the widespread religious discrimination that Defendants were imposing on her,

  and thousands of other teachers.

         874.    The charge provides notice of class-wide issues.

         875.    Ms. DiCapua was at the time it was filed, in a proposed class action lawsuit

  addressing the widespread class wide Constitutional violations.

         876.    Ms. DiCapua could not add Title VII claims to her lawsuit until she had a right to

  sue letter, which was not issued until April 23, 2024, at that time, she had no pending lawsuit in a

  lower court to add these claims to.

         877.    Because the district court declined to exercise supplemental jurisdiction over her

  state law claims in or around August 2022, Ms. DiCapua was allowed to pursue her related state

  law claims in state court, where she was lead plaintiff in the proposed class action in DiCapua v.

  City of New York.

         878.    That lawsuit was filed and decided before a right to sue letter was issued as well,

  so could not have included her Title VII claims.

         879.    On or about September 6, 2023, the New York State Supreme Court, Richmond

  County, issued a decision and order holding that the Citywide Panel’s denials were arbitrary and

  capricious, and directing that DOE reinstate her and her nine similarly situated colleagues with

  back pay and benefits and no break in service.

         880.    Additional relief is available under Title VII, including compensatory and punitive

  damages, among other relief.

         881.    Moreover, Ms. DiCapua has not yet been reinstated.




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         882.    Even though the Mandate had been dropped over a year and a half before, and even

  though the DOE was ordered to reinstate her by the New York State Supreme Court, Defendants

  refuse to honor this order, claiming that they can legally “stay” reinstatement pending appeal since

  they are a government employer.

         883.    Ms. DiCapua’s state law claims are now on appeal to the Second Department

  Appellate Division, New York State Supreme Court.

         884.    To ensure that her Title VII claims, which were asserted to protect her right to sue

  along with her similarly situated colleagues, Ms. DiCapua now joins this lawsuit, for the sole

  purpose of asserting Title VII claims along with the Class.

         885.    She files on behalf of herself and the Class, including a subclass of original Kane

  plaintiffs along with all other DOE employees denied relief from the Mandate.

         886.    Ms. DiCapua does not assert any other claims in this lawsuit other than the three

  Title VII claims.

         887.    Like the rest of her colleagues, Ms. DiCapua and her family suffered severe

  financial, emotional, psychological and spiritual harm because of Defendants’ discriminatory

  actions and policies.

  LEAH ERLENBACH

         888.    Plaintiff LEAH ERLENBACH is a resident of Kings County, New York. Prior to

  being denied religious accommodation, Ms. Erlenbach was a paraprofessional working in

  Brooklyn with 5 years of service at DOE.

         889.    Ms. Erlenbach has sincere religious objections to vaccination.

         890.    A devout Catholic, Ms. Erlenbach believes that participation in abortion is a mortal

  sin.



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          891.    She has lived her life by this religious tenet and made many sacrifices to stand by

  her beliefs.

          892.    Ms. Erlenbach was appalled to learn, in early 2020, that the vaccine industry uses

  aborted fetal cell lines to develop and test vaccines.

          893.    She never took another vaccine again and did not give any more vaccines to her

  children after that point.

          894.    Based on their shared religious beliefs, Ms. Erlenbach’s twenty-year old daughter

  had to defer college due to the vaccine mandate in place.

          895.    When the Covid-19 vaccine Mandate was announced, Ms. Erlenbach timely

  submitted a religious accommodation request in September 2021.

          896.    She was immediately denied through the same autogenerated email sent to all

  applicants, claiming it would be more than a minimal burden to accommodate her.

          897.    No individual at DOE reviewed Ms. Erlenbach’s application before she was denied.

          898.    Ms. Erlenbach could have been accommodated without undue hardship.

          899.    She had been granted an accommodation to work remotely the year before.

          900.    She timely appealed the DOE’s 2021 denial of the same accommodation request.

          901.    She was not given a hearing, just a denial, with no explanation other than an “x”

  next to the word “denied.”

          902.    She was involuntarily placed on leave without pay.

          903.    In or around November 2021, Ms. Erlenbach was informed that her application

  would be given fresh consideration by the City and that she would be reinstated with back pay if

  her religious beliefs qualified under lawful standards.

          904.    On or about February 2, 2022, Ms. Erlenbach received an autogenerated email from



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  the Citywide Panel, denying her application without any explanation other than – “The decision

  classification for your appeal is as follow: Employer undue hardship.”

         905.    No one individually reviewed whether she could have been accommodated in good

  faith before sending that denial.

         906.    She was fired later that month.

         907.    She was not offered accommodation when the reinstatement offer was made in

  August 2022.

         908.    Ms. Erlenbach is the victim of serious domestic violence, and her youngest child

  has special needs.

         909.    Ms. Erlenbach suffered severe financial, emotional, psychological and spiritual

  harm because of Defendants’ discriminatory actions and policies.

  MEGAN FICCHI

         910.    Plaintiff MEGAN FICCHI is a resident of Richmond County, New York. Prior to

  being denied religious accommodation, Mrs. Ficchi was an Assistant Principal working in

  Richmond County with over ten years of service at DOE.

         911.    Mrs. Ficchi has sincere religious objections to the Covid-19 vaccines.

         912.    She is a devout Catholic, and, like many Catholics, could not take the vaccine once

  she learned of the connection to aborted fetal cell lines.

         913.    Mrs. Ficchi also prayed for guidance from God and the Holy Spirit, as Pope Francis

  counseled all Catholics to do on this issue, and received clear guidance that she could not take the

  vaccine.

         914.    Mrs. Ficchi timely submitted an application for religious accommodation in

  September 2021.



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          915.      She was immediately sent the same autogenerated “undue hardship” email as all of

  her colleagues.

          916.      No one from DOE individually reviewed her application before denying her relief.

          917.      No one from DOE considered whether it would have been an undue hardship to

  accommodate Mrs. Ficchi before denying her relief.

          918.      It would not have been an undue hardship to accommodate Mrs. Ficchi, as set forth

  above, and as the DOE’s accommodation of Mrs. Ruiz-Toro, a Kane plaintiff with the same job,

  illustrates

          919.      Mrs. Ficchi supervised six different schools with multiple locations. She did not

  typically visit all six locations Often, the sites would be without her and a site coordinator would

  handle duties when she was not present on site.

          920.      She could have done her job remotely and had been accommodated to do this

  remotely in the past.

          921.      The year before, Mrs. Ficchi was pregnant and was allowed to do her job remotely

  for most of the school year while others worked in person.

          922.      Mrs. Ficchi could have been safely accommodated in person as well, as set forth in

  the undue hardship section, supra.

          923.      Mrs. Ficchi timely appealed.

          924.      Arbitrator Barry Peek declined to allow her a zoom hearing, and simply denied her,

  with no explanation, just an “x” next to the word denied.

          925.      On or about October 4, 2021, Mrs. Ficchi was involuntarily placed on leave without

  pay.

          926.      In November 2021, Mrs. Ficchi was informed her application would be given fresh



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  consideration by the City and she would be reinstated with backpay if her religious beliefs qualified

  under lawful standards.

          927.    At no time did anyone from the Citywide Panel engage in cooperative dialogue

  with Ms. Ficchi about possible accommodations or difficulties therewith.

          928.    On or about February 15, 2022, the Citywide Panel denied religious

  accommodation on the sole basis of unexplained “undue hardship.”

          929.    On or about August 22, 2022, Mrs. Ficchi was offered reinstatement if she got

  vaccinated, which DOE knew was against her religious beliefs.

          930.    Defendants refused to accommodate her.

          931.    To avoid termination, Mrs. Ficchi applied for and was granted childcare leave, but

  this meant that she had to go many more months without pay.

          932.    She would not have applied for childcare leave if her religious beliefs had been

  accommodated.

          933.    Mrs. Ficchi suffered severe financial, emotional, psychological and spiritual harm

  because of Defendants’ discriminatory actions and policies.

  KELLY FINLAW

          934.    Plaintiff KELLY FINLAW is a resident of New York County. Prior to being denied

  religious accommodation, Ms. Finlaw was a tenured art teacher working in Manhattan with over

  fourteen years of service at DOE.

          935.    Some years before, when testifying to Congress, Ms. Finlaw said that she felt she

  won the lottery in life.

          936.    She felt she was born to be a teacher and born to teach art in Washington Heights.

          937.    She loved her job and her students so much that she bought an apartment four



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  blocks from the school.

          938.    She went above and beyond for her students and the school and was well-respected

  and beloved.

          939.    Ms. Finlaw was highly respected and beloved by her school and the students. She

  was nominated for the Big Apple Award on two different occasions, as well as the Lifechanger of

  the Year Award.

          940.    Ms. Finlaw has long-standing sincerely held religious objections to vaccines.

          941.    On or about September 16, 2021, Ms. Finlaw uploaded her application for religious

  accommodation to the SOLAS portal.

          942.    She included an eight-page, single-spaced letter, explaining her deeply personal and

  detailed faith journey and innermost sacred beliefs, and why vaccination conflicts with them.

          943.    Ms. Finlaw explained her deep commitment to her Christian faith, having attended

  religious schooling from elementary school until high school, and then choosing to attend Christian

  colleges for both her undergraduate degree and graduate degree.

          944.    Due to her religious beliefs, Ms. Finlaw has not had a single vaccine since she was

  seventeen years old.

          945.    Since 2012, she has spent the summer traveling the world and teaching art to

  communities and children in need – and yet, not once has she taken a single vaccine during these

  travels due to her religious beliefs.

          946.    Ms. Finlaw follows a special diet, in accordance with guidance from scripture and

  prayer, and she does not take medication, even for headaches.

          947.    Among many other reasons detailed in her letter, Ms. Finlaw explained that she

  cannot take any product that is developed using fetal cell lines.



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             948.   She also included a detailed and very personal letter from her pastor, who has

  watched Ms. Finlaw’s journey over the years, and could attest to her religious sincerity and long-

  standing religious objection to vaccination.

             949.   Like all other applicants, Ms. Finlaw was immediately denied through an

  autogenerated email claiming it would be more than a minimal burden to accommodate her.

             950.   No one from the DOE individually reviewed Ms. Finlaw’s application before

  denying her relief.

             951.   Ms. Finlaw could have been accommodated without undue hardship remotely or in

  person as set forth in the undue hardship section, supra.

             952.   She timely appealed the denial of accommodation.

             953.   She was given a zoom hearing.

             954.   During the hearing, the DOE representative argued that beliefs derived from

  guidance from God and scripture, and concerns about abortion are inherently “philosophical” not

  religious.

             955.   Ms. Finlaw disagreed, pointing out that these are her sincerely held religious

  beliefs.

             956.   Shortly thereafter, she received a denial, without any explanation, just an “x” next

  to the word “denied.”

             957.   In or around November 2021, Ms. Finlaw received notification that her application

  would be given fresh review by the Citywide Panel, and that she would be reinstated with back

  pay if her religious beliefs qualified for accommodation under lawful standards.

             958.   She submitted another heartfelt supplemental letter, explaining how distressing it

  was to be cut off from teaching her students, and how horrible it felt to pour her heart out about



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  her most sacred and deeply held religious beliefs, only to have DOE mock them, and cavalierly

  attempt to dismiss them as “philosophical” instead of religious despite her pastor’s long letter in

  support.

         959.    No one from the Citywide Panel met with her or engaged with her questions.

         960.    Instead, on March 17, 2022, Ms. Finlaw was denied through an autogenerated email

  stating that the decision classification was undue hardship, without further explanation.

         961.    Ms. Finlaw timely served a notice of claim in early 2022 on both the City and DOE,

  and each failed to adjust her claims.

         962.    On or about August 22, 2022, Ms. Finlaw was offered reinstatement if she got

  vaccinated, which DOE knew was against her religious beliefs.

         963.    They refused to accommodate her.

         964.    Ms. Finlaw suffered severe financial, emotional, psychological and spiritual harm

  because of Defendants’ discriminatory actions and policies.

  MICHELE GARRETT

         965.    Plaintiff MICHELE GARRETT is a resident of Suffolk County, New York. Prior

  to being denied religious accommodation, she was a tenured math teacher working in Queens with

  nearly twenty years of service at DOE.

         966.    She started at DOE as a student teacher in 2003. She was hired in her 3rd year of

  college, after a highly respected principal in the district observed her teaching a middle school

  math class, and was so impressed, she called Ms. Garrett’s advisor and worked with her to allow

  her to graduate early and begin teaching immediately.

         967.    Over the years, Ms. Garrett was consistently rated MOTP highly effective, and was

  highly recommended and sought after in the district.



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          968.   Ms. Garrett has sincere religious objections to vaccines.

          969.   She applied for religious accommodation before the deadline set forth in the

  Stricken Standards.

          970.   A devout Christian, Ms. Garrett believes the body is a temple, and she prays over

  medical decisions.

          971.   She was given clear guidance not to take the vaccines.

          972.   She also objects to the use of aborted fetal cell lines in development of the vaccines,

  among other concerns.

          973.   To comply with the Stricken Standards, Ms. Garrett also uploaded clergy letters

  from a church that shares her religious beliefs.

          974.   Like all other applicants, she was immediately denied through an autogenerated

  email claiming it would be more than a minimal burden to accommodate her.

          975.   No one from DOE individually reviewed Ms. Garrett’s application before denying

  her relief.

          976.   Ms. Garrett not only could have been accommodated to work remotely – in the fall

  of 2021, she was already working remotely at the time she was denied based on alleged “undue

  hardship.”

          977.   Ms. Garrett had a co-teacher, and it would not have been a burden to allow her to

  continue to work remotely.

          978.   She also could have been accommodated in person, as set forth above.

          979.   Ms. Garrett timely appealed the denial of accommodation.

          980.   She was not given a zoom hearing, just a paper denying her accommodation, with

  no explanation, just an “x” next to the word “denied.”



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          981.       In or around November 2021, Ms. Garrett received notification that her application

  would be given fresh review by the Citywide Panel, and that she would be reinstated with back

  pay if her religious beliefs qualified for accommodation under lawful standards.

          982.       She submitted another heartfelt supplemental letter, explaining how distressing it

  was to be cut off from teaching her students, and how long-standing and sincere her religious

  beliefs in homeopathy and other remedies she believed that God preferred have been.

          983.       On March 17, 2022, the Citywide Panel denied her relief.

          984.       She was terminated for failing to violate her religious beliefs.

          985.       Ms. Garrett timely served notice of claim in early 2022 on both the City and DOE,

  and each failed to adjust her claims.

          986.       On or about August 22, 2022, Ms. Garrett was offered reinstatement if she got

  vaccinated, which DOE knew was against her religious beliefs.

          987.       Defendants refused to offer her religious accommodation, even though they knew

  they could have without undue hardship.

          988.       Ms. Garrett suffered severe financial, emotional, psychological and spiritual harm

  because of Defendants’ discriminatory actions and policies.

  BONNIE SKALA KILADITIS

          989.       Plaintiff BONNIE SKALA KILADITIS is a resident of Queens County, New York.

  Prior to being denied religious accommodation, she was a tenured elementary school teacher

  working in Queens with over twenty-four years of service at DOE.

          990.       She was a beloved and well-respected teacher.

          991.       Ms. Kiladitis has sincerely held religious objections to vaccination based on her

  Christian faith.



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         992.    She timely submitted a heartfelt six-page letter detailing some of her objections.

         993.    DOE granted religious exemptions from school vaccine requirements to both of her

  children, based on the same beliefs she described in her letter.

         994.    Beginning in the fall of 2019, when the religious exemption was repealed in New

  York, Ms. Kiladitis homeschooled her two children rather than violate her sincerely held religious

  beliefs, which has been very difficult, especially since her eldest son has serious special needs.

         995.    Though DOE accepted her children’s religious accommodation requests, when Ms.

  Kiladitis applied for religious accommodation at DOE for herself, she was immediately denied

  through the autogenerated email sent to all applications, alleging undue hardship.

         996.    No one from DOE individually reviewed her application to see if she could be

  accommodated.

         997.    Ms. Kiladitis could have been accommodated remotely as set forth in the undue

  hardship section, supra.

         998.    As she worked with a classroom paraprofessional, she could have taught via Zoom

  lessons to those in the classroom. She could have Zoomed with students who were

  homebound. She could have worked remotely with parents.

         999.    Also as set forth above, she also could have taught in person without posing a direct

  threat, as she did from 2020-2021 without issue.

         1000. Ms. Kiladitis timely appealed. She was not given a zoom hearing, just denied with

  no further explanation than an “x” next to the word “denied.”

         1001. She was involuntarily placed on leave without pay on October 4, 2021.

         1002. In November, Ms. Kiladitis was informed she would get a Citywide Panel review.

         1003. She submitted additional materials, further detailing her sincerely held religious



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  beliefs.

             1004. No one engaged in cooperative dialogue with her regarding potential

  accommodations.

             1005. On or about March 7, 2022, the Citywide Panel sent an autogenerated email

  denying Ms. Kiladitis based on alleged and unspecified undue hardship.

             1006. On March 21, 2022, DOE mailed Ms. Kiladitis a letter telling her she was

  terminated for failing to violate her religious beliefs.

             1007. She timely submitted notice of claims to the DOE, which were not adjusted.

             1008. After she was terminated, she applied for unemployment insurance compensation.

             1009. But DOE retaliated against her and claimed she “quit” when she did not. DOE also

  claimed she had committed “misconduct” for failing to get vaccinated.

             1010. On or about August 22, 2022, Ms. Kiladitis was offered reinstatement if she got

  vaccinated, which DOE knew was against her religious beliefs.

             1011. After she was terminated, Ms. Kiladitis was elected PTA President of her son’s

  special needs public school in Queens. She was unanimously elected to serve as PTA President, a

  volunteer role, at P 177 Q once the mandates were lifted. This election was in the spring of 2023

  for the 2023-2024 school year, and she was later reelected unanimously for the 2024-2025 school

  year. Soon she will run again for 2025-2026.

             1012. During the Mandate, she was allowed to and did participate in and organize many

  volunteer activities in DOE public school buildings, yet, Defendants claimed it was an undue

  hardship for her to continue to do her job for pay inside the buildings.

             1013. Ms. Kiladitis suffered severe financial, emotional, psychological and spiritual harm

  because of Defendants’ discriminatory actions and policies.



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  ARIJANA LUKACEVIC

          1014. Plaintiff ARIJANA LUKACEVIC is a resident of Queens County, New York. Prior

  to being denied religious accommodation, she was a paraprofessional working in Queens with over

  two years of service at DOE.

          1015. Ms. Lukacevic has sincere religious objections to taking a Covid-19 vaccine.

          1016. She timely filed an application for accommodation, and on or about September 18,

  2021, she received a confirmation email thanking her for the submission. .

          1017. In her letter, Ms. Lukacevic explained that she cannot take a Covid-19 vaccine

  without violating her Muslim faith due to the use of fetal cell lines in the production and

  development of the vaccines.

          1018. Because of her faith, she further explained she will not eat pork, fat that comes from

  pork, meat that is not halal or alcohol, and she cannot do acupuncture, blood transfusions or several

  other healthcare interventions that are considered Haram in her faith, as she understands it.

          1019. DOE immediately sent the same autogenerated email sent to everyone else, stating

  it would be more than a minimal burden to accommodate Ms. Lukacevic.

          1020. No one from the DOE reviewed her application before denying her relief.

          1021. Ms. Lukacevic could have easily been accommodated remotely and had been in the

  past and as set forth more fully in the undue hardship section, supra as well as other paragraphs in

  this section.

          1022. Ms. Lukacevic’s main job duties as a paraprofessional were focused and

  individualized, not reliant on her physical presence in the classroom.

          1023. She worked one on one with a student, who had a main classroom teacher that was

  in person, and the student could have easily done her breakout one-on-one work with Ms.



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  Lukacevic through Google Classrooms or zoom.

         1024. Because her role as a paraprofessional centered entirely on direct, individualized

  student support, it was particularly well-suited to remote work. The successful transition to remote

  support during the pandemic clearly demonstrated that her responsibilities could be completed

  fully and effectively from home.

         1025. During the pandemic, she performed all of her duties remotely via Zoom during

  certain periods. She regularly used breakout rooms to meet with students one-on-one, provided

  academic support, assisted them with tasks, and helped keep them engaged, all of which mirrored

  the work she did in person, with no reduction in effectiveness or quality.

         1026. Given that the core functions of her job were already proven to be compatible with

  a remote setting, a remote work accommodation would have been both reasonable and minimally

  disruptive to school operations. Allowing her to continue in her role remotely would have upheld

  her sincerely held religious beliefs while ensuring uninterrupted support for students.

         1027. Other employees in similar roles were able to continue working remotely during

  the 2021-2022 school year, and the infrastructure for doing so (Zoom, breakout rooms, remote

  communication) was already in place and functioning effectively.

         1028. Ms. Lukacevic could have also been safely accommodated in person as she did not

  pose a direct threat to anyone based on her religious practices as set forth more fully in the undue

  hardship section, supra.

         1029. While working in person, like her co-plaintiffs, she complied with school safety

  protocols and was tested weekly for COVID-19.

         1030. In fact, Ms. Lukacevic tested positive for Covid-19 on September 24, 2021, about

  ten days prior to the October 4, 2021, deadline for receiving the vaccine. .



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         1031. DOE was aware of this, since Ms. Lukacevic was testing weekly at the time and

  informed them, and stayed home until she tested negative again.

         1032. Other employees who had had Covid-19 within ninety days of the deadline to be

  vaccinated were accommodated, at least temporarily, even if they did not have religious objections

  to the vaccine, but the DOE refused to extend the same accommodation to Ms. Lukacevic.

         1033. She timely requested an appeal and submitted a supplemental statement, providing

  even more detail about why her Muslim faith does not allow her to take a Covid-19 vaccine, and

  explaining that she’d written the same letter for her two children, whose religious accommodations

  had been accepted by their colleges.

         1034. Martin Scheinman reviewed her appeal, and denied her without the opportunity for

  a hearing, with no further explanation than an “x” next to the word denied.

         1035. Ms. Lukacevic was involuntarily placed on leave without pay on or about October

  2, 2021.

         1036. On or about March 28, 2022, Ms. Lukacevic was informed through an

  autogenerated email that the Citywide Panel was denying her appeal.

         1037. No one individually reviewed whether Ms. Lukacevic could have been

  accommodated before issuing this determination.

         1038. Ms. Lukacevic could have been accommodated without undue hardship.

         1039. On both August 1 and August 24, 2022, Ms. Lukacevic received reminders stating

  that unless she provided proof of vaccination before September 5, 2022 and returned to work on

  September 6, 2022, she would be deemed to have voluntarily resigned, even though DOE knew

  that she required religious accommodation. .

         1040. Ms. Lukacevic was terminated in the fall of 2022 for failing to get vaccinated in



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  violation of her sincerely held religious beliefs.

         1041. DOE continues to retaliate against Ms. Lukacevic to this day.

         1042. She tried to get a job at DOE but was rudely told she could not be reinstated.

         1043. She finally got a job at a private preschool, but upon information and belief, DOE’s

  problem code is triggering problems with her security clearance.

         1044. Ms. Lukacevic has no criminal or disciplinary history which should trigger any kind

  of security clearance problem.

         1045. Yet, the DOE’s problem code continues to result in her being denied a security

  clearance by the New York City Department of Health and Mental Hygiene, which denied her

  security clearance as recently as July 8, 2024. This continues to impact Ms. Lukacevic’s

  employment prospects.

         1046. Ms. Lukacevic suffered severe financial, emotional, psychological and spiritual

  harm because of Defendants’ discriminatory actions and policies.

  ANAMARIE MEDINA

         1047. Plaintiff ANAMARIE MEDINA is a resident of Westchester County. Prior to being

  denied religious accommodation, Ms. Medina was a tenured teacher working in the Bronx with 27

  years of service at DOE.

         1048. Ms. Medina was certified as a Special Education and ESL teacher.

         1049. She was beloved by her students and well respected at her job.

         1050. Ms. Medina has sincerely held religious beliefs in opposition to vaccination.

         1051. Ms. Medina is a devout Christian.

         1052. She is a member of the Ministry of Foreign Affairs for Superior Church, and her

  religious leaders share her religious opposition to vaccination.



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         1053. Ms. Medina also received clear and strong guidance from the Holy Spirit that she

  could not violate her faith and take the vaccine without violating God’s will.

         1054. Ms. Medina timely applied for religious accommodation and was immediately

  denied through the same autogenerated email sent to all other applicants, asserting it would be an

  undue hardship to accommodate her based on the “more than a minimal burden” standard.

         1055. No one from the DOE individually reviewed Ms. Medina’s application to see if she

  could be accommodated before denying her.

         1056. Ms. Medina could have been accommodated in person or remotely without undue

  hardship as set forth in more detail in the undue hardship section, supra and in this section.

         1057. The DOE had granted her a medical accommodation to work remotely the previous

  year due to her severe and multiple autoimmune conditions.

         1058. She could have continued to work with her students remotely during the 2021-2022

  school year as well or taught other students who were already remote and needed instruction,

  among other accommodations.

         1059. Ms. Medina timely appealed.

         1060. She was not even allowed a zoom hearing, even though her religious leaders agreed

  with her religious opposition to vaccination.

         1061. Instead, Ms. Medina was denied, with no further explanation than an “x” next to

  the word “denied.”

         1062. Ms. Medina received notification that her appeal would be given fresh

  consideration by the Citywide Panel.

         1063. The Citywide Panel did not reach out to Ms. Medina to discuss possible

  accommodations or difficulties therewith.



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           1064. Ms. Medina does not recall getting a response from the Citywide Panel, but she was

  terminated in the Spring of 2022, which effectively means she was denied. This makes her

  similarly situated to the NYFRL plaintiff Natasha Solon, whose free exercise claims were

  reinstated since the Citywide Panel never issued her a denial.

          1065. On or about August 22, 2022, Ms. Medina was offered reinstatement if she got

  vaccinated, which DOE knew was against her religious beliefs.

          1066. Defendants failed to offer her an accommodation.

          1067. Ms. Medina has lost everything as a result of her unjust denial of accommodation.

          1068. Nonetheless, she continues to follow the will of God and try to follow his will.

          1069. After the trauma of having her religious rights violated so egregiously, Ms. Medina

  decided to turn it into something positive and pursue her dream of becoming an ordained minister.

          1070. This Spring, she graduated from Seminary with a master’s degree in interreligious

  theology.

          1071. Ms. Medina has just returned from a three-week course at the Vatican on

  “Interreligious Dialogue of the Ecumenical Movement with the Friars of Atonement”, having been

  awarded a competitive scholarship for religious leaders and outstanding recent seminary graduates

  to be able to attend and to meet Pope Francis.

          1072. She prays that God will guide this Court to give justice to her and all of the other

  teachers and educators who were unjustly treated for attempting to follow their faith, in accordance

  with their legal rights.

          1073. Ms. Medina suffered severe financial, emotional, psychological and spiritual harm

  because of Defendants’ discriminatory actions and policies.

  AYELLET MOAS



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         1074. Plaintiff AYELLET MOAS is a resident of Broward County, Florida. Prior to being

  denied religious accommodation, Ms. Moas was a tenured special education teacher working in

  Manhattan with over thirteen years of service at DOE.

         1075. Ms. Moas was well-respected, routinely receiving “Highly Effective” ratings and

  was beloved by her students and their parents.

         1076. She has sincerely held religious beliefs that conflict with the vaccine, which are a

  result of her Jewish faith.

         1077. Ms. Moas timely applied for religious accommodation, submitting a personal and

  heartfelt letter along with a letter from her Rabbi, who supports her beliefs.

         1078. She was immediately denied through the same autogenerated email sent to all

  applicants, which asserted undue hardship under the “more than a minimal burden” standard.

         1079. No one at the DOE individually reviewed Ms. Moas’ application before denying

  her accommodation.

         1080. Ms. Moas could have been accommodated in person or remotely without undue

  hardship as set forth more fully below and in the undue hardship section, supra.

         1081. During the 2020-2021 school year, when remote learning was implemented due to

  the COVID-19 pandemic, Ms. Moas successfully adapted her special education teaching to the

  online environment. Her students actively engaged with the Seesaw program, a remote learning

  platform designed to foster interactive and personalized learning.

         1082. Ms. Moas was responsible for teaching a small group of students with autism and

  intellectual disabilities. She successfully adapted her teaching methods to ensure that her students

  continued to make progress both academically and developmentally.

         1083. Ms. Moas’s special education students made significant academic and



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  developmental gains, demonstrating her ability to effectively teach in a virtual setting.

         1084. Both Ms. Moas and her classroom paraprofessional were assigned to a blended

  model of instruction, which included a combination of in-person and remote learning for both

  students and teachers. This flexible approach enabled them to effectively engage with all students,

  whether they were learning remotely or in the classroom.

         1085. Ms. Moas and her paraprofessional were able to integrate all students into the

  classroom experience, ensuring no student was left behind, regardless of whether they were

  attending in-person or remotely. The successful execution of this blended model demonstrated that

  it could have been continued throughout the following year without disruption.

         1086. The same group of students was assigned to Ms. Moas for the 2021-2022 school

  year, emphasizing the continuity and stability that had been established in the previous year. This

  continuity allowed her to build upon the strong relationships and educational foundation she had

  already established, fostering an environment of trust and consistent learning.

         1087. Ms. Moas’s typical day began with setting up virtual learning materials and

  ensuring that all students had access to the Seesaw platform, where she could upload interactive

  lessons, assignments, and other resources. She would then host live Zoom sessions to engage with

  students in real-time. The lessons were tailored to each student’s needs, aligned with their

  Individualized Education Program (IEP).

         1088. Her daily tasks included: morning check-ins via Zoom to connect and assess

  students before diving into lessons; interactive lessons through Seesaw, which allowed her to

  upload videos, pictures, and recorded explanations to engage the students; managing small group

  breakout sessions in Zoom, which was particularly effective given the small size of the class;

  working collaboratively with the paraprofessional to provide individualized support for the



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  students; and maintaining continual assessments of the students’ progress, while keeping

  communication lines open with parents and other teachers.

         1089. The combination of Zoom and Seesaw allowed for a seamless and engaging

  learning experience. The small class size made it easier for Ms. Moas to effectively manage the

  sessions and ensure that no student was left behind. The breakout room feature on Zoom allowed

  for individualized instruction and peer interactions, further enhancing the learning experience. Ms.

  Moas was able to provide direct feedback and support in real-time, which was especially important

  for students with special needs.

         1090. Given the success of remote learning and the fact that Ms. Moas was able to deliver

  individualized, effective instruction, there was no reason why she could not have been

  accommodated remotely for the remainder of the school year. The technology and infrastructure

  were already in place, and there was no disruption to learning during the remote period. Her ability

  to teach remotely demonstrated that it was possible for her to continue providing high-quality

  education without needing to be physically present in the classroom.

         1091. Throughout this period of remote instruction, Ms. Moas was consistently rated as

  ‘Highly Effective’ by the Department of Education, further attesting to her dedication, expertise,

  and ability to deliver quality education remotely.

         1092. Additionally, during the periods from September to November 2020 and March to

  June 2021, when Ms. Moas continued to work in person, she adhered to strict safety protocols,

  including masking, social distancing, and regular COVID-19 testing. She was able to continue

  delivering instruction safely while maintaining the health and safety of her students and colleagues.

  Given this, it is clear that Ms. Moas did not pose a direct threat to anyone’s health and safety, and

  she could have been accommodated in-person without risk.



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            1093. Given her success in the remote teaching environment, it is clear that Ms. Moas

  could have been accommodated without causing any undue hardship. The school system had the

  technology and infrastructure in place, and there was no legitimate reason to believe that

  accommodating her remotely would have created significant disruption or hardship.

            1094. As discussed, supra, other classroom teachers found to have qualifying beliefs

  under the Stricken Standards were accommodated by placing co-teachers in the classroom and

  allowing them to zoom in, among other methods.

            1095. DOE could have allowed Ms. Moas to work in this way during the temporary

  mandate.

            1096. Ms. Moas could have also been accommodated in person without causing a direct

  threat.

            1097. The DOE’s claim that Ms. Moas posed a direct threat to the health and safety of

  others is unsupported, as detailed in this complaint and also by her individual history. During the

  school year, from September 2020 to November 2020 and March 2021 to June 2021, Ms. Moas

  continued to work regularly in-person, providing quality education to both remote and in-person

  students. Throughout this period, safety measures such as masking, social distancing, and COVID-

  19 testing were consistently practiced, ensuring a safe environment for all.

            1098. Given her successful integration of these safety protocols and her continued

  effective teaching in person during far worse periods of the mandate, it is clear that Ms. Moas did

  not pose any direct threat to her students or colleagues, and she could have been accommodated

  in-person without risk.

            1099. If anything, the undue hardship lay in terminating Ms. Moas. Losing her due to the

  Covid-19 mandate forced the school to dismantle the program she taught, disrupting an entire class



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  of special education students with autism and intellectual disabilities. After two years together,

  these students were suddenly separated, causing them confusion, emotional distress, and setbacks

  in their progress. Families struggled to find comparable support, and the loss of stability affected

  these vulnerable students.

         1100. Ms. Moas timely appealed and was allowed a zoom hearing.

         1101. She submitted additional materials, including a letter explaining that the DOE’s

  original denial, based on undue hardship, violated the terms of the arbitration award, which

  promised that “An employee who is granted a medical or religious exception under this process

  and within the specific criteria identified above shall be permitted the opportunity to remain on

  payroll…”

         1102. She noted that she fit within the criteria, and asked if she could bring her Rabbi,

  who could attest that her beliefs were sincerely held, and that they are shared by her religious

  leaders.

         1103. She was told she was not allowed to bring any witness to testify, even her Rabbi.

         1104. In the zoom hearing, the DOE representative and the arbitrator asked irrelevant

  questions and the DOE representative argued that she should be denied because some unspecified

  rabbis in Israels were vaccinated (even though Ms. Moas’ own Rabbi supported her belief and was

  not allowed to come testify to that fact).

         1105. Ms. Moas was involuntarily placed on leave without pay on October 4, 2021.

         1106. In late November 2021, Ms. Moas was informed that she would get a fresh review

  by the Citywide Panel.

         1107. On March 28, 2022, the Citywide Panel denied her through an autogenerated email

  stating the reason as: “[t]he employee has failed to establish a sincerely held religious belief that



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  precludes vaccination. DOE has demonstrated that it would be an undue hardship to grant

  accommodation to the employee given the need for a safe environment for in-person learning.”

          1108. On or about August 22, 2022, Ms. Moas was offered reinstatement if she got

  vaccinated, which DOE knew was against her religious beliefs.

          1109. Ms. Moas searched diligently for work. Despite her excellent qualifications and a

  serious staffing shortage, she was repeatedly turned down.

          1110. Ms. Moas suffered severe financial, emotional, psychological and spiritual harm

  because of Defendants’ discriminatory actions and policies.

          1111. Among other harms, she had to sell her house to pay down the crushing credit card

  debt incurred so that she could live while out of work.

  MICHAEL MONZILLO

          1112. Plaintiff MICHAEL MONZILLO is a resident of Nassau County, New York. Prior

  to being denied religious accommodation, he was a biology teacher, working in Queens with over

  eight years of service at DOE.

          1113. Mr. Monzillo has sincere religious beliefs and believes that the Covid-19 vaccines

  violate his Catholic faith.

          1114. He timely submitted an application for accommodation, detailing his sincerely held

  religious beliefs, including his opinion that participation in abortion is tantamount to spiritual

  death, and attached the Congregation for the Doctrine of Faith, which explains the Church’s

  religious objections to the use of products like Covid-19 vaccines, which were developed using

  aborted fetal cell lines, three court cases involving aborted fetal tissue, and a clergy letter of

  support.

          1115. He was immediately denied through the same autogenerated email sent to all



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  applicants, claiming undue hardship on the “more than a minimal burden” standard.

         1116. No one at the DOE individually reviewed Mr. Monzillo’s application before

  denying him accommodation.

         1117. Mr. Monzillo could have been accommodated remotely or in person without undue

  hardship as set forth in more detail in the undue hardship section, supra.

         1118. Mr. Monzillo timely appealed and was denied, without the opportunity to have a

  zoom hearing, with no further explanation than an “x” next to the word “denied.”

         1119. On or about October 4, 2021, Mr. Monzillo was involuntarily placed on leave

  without pay.

         1120. In or around December 2021, Mr. Monzillo received notification that his

  application would be reviewed by the Citywide Panel.

         1121. No one from the City ever engaged in cooperative dialogue with Mr. Monzillo to

  discuss the feasibility of accommodation possibilities.

         1122. Mr. Monzillo notified the DOE of his claims on February 22, 2022.

         1123. No one from the DOE adjusted his claims.

         1124. He was never provided with any denial or reason from the Citywide Panel directly.

         1125. Instead, on March 31, 2022, he received an autogenerated email from the Division

  of Human Resources stating: “We have been advised that the City of New York Reasonable

  Accommodation Appeals Panel has denied your appeal and you should have received email notice

  directly. If you cannot find this in your employee inbox, please note that it may appear as being

  sent from noreply@salesforce.com.

         1126. Mr. Monzillo searched and did not find any such email and was never provided

  with a reason for his denial from the Citywide Panel.



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          1127. In or around August 2022, Mr. Monzillo received notification that he could be

  reinstated to his former position, but only if he got vaccinated.

          1128. Mr. Monzillo was desperate at the time. He was about to lose his house and his

  family of six, who relies on him, was struggling to eat.

          1129. On or about August 22, 2022, Mr. Monzillo was offered reinstatement if he got

  vaccinated, which DOE knew was against his religious beliefs.

          1130. Left with no real choice as he watched his family go hungry, he got vaccinated in

  violation of his sincerely held religious beliefs and returned to work on or about September 5,

  2022.

          1131. Mr. Monzillo was deeply harmed by being forced to violate his faith.

          1132. As an extra slap in the face, the DOE never even asked to see proof of a second

  dose (though the Mandate required it), revealing that the “public health” justification was

  pretextual.

          1133. Mr. Monzillo suffered severe financial, emotional, psychological and spiritual harm

  because of Defendants’ discriminatory actions and policies.

  DONNY NAPOLITANO

          1134. Plaintiff DONNY NAPOLITANO is a resident of Saint John’s County in Florida.

  Prior to being denied religious accommodation, he was a tenured secondary math teacher working

  in Brooklyn with over eight years of service at DOE.

          1135. Mr. Napolitano was a highly regarded and commended teacher.

          1136. Mr. Napolitano has sincerely held religious beliefs opposing vaccination.

          1137. His oldest child was granted religious accommodation prior to New York State’s

  repeal of the religious exemption for children in 2019.



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         1138. His younger children were not old enough to attend school yet when New York

  offered a religious exemption, but in accordance with his religious beliefs, they have never been

  vaccinated and were homeschooled after the repeal until the family moved to Florida, where the

  children all receive religious accommodation from vaccine mandates.

         1139. Mr. Napolitano timely submitted a lengthy, well-articulated letter explaining his

  faith journey as a Christian, and some of his religious objections to vaccination, including but not

  limited to guidance from prayer, the need to put faith in God rather than man, and the sanctity of

  the blood, and the job of each Christian to avoid contaminating it with any impure substance,

  including products tainted by a link to abortion. He also included a clergy letter supporting his

  request.

         1140. Mr. Napolitano was immediately denied through the same autogenerated email sent

  to all applicants, claiming undue hardship on the “more than a minimal burden” standard.

         1141. No one at the DOE individually reviewed Mr. Napolitano’s application before

  denying him accommodation.

         1142. Mr. Napolitano could have been accommodated remotely or in person as without

  undue hardship as set forth more fully in the undue hardship section, supra.

         1143. He had been already been granted an accommodation to work remotely for the

  entire year and a half before.

         1144. Mr. Napolitano timely appealed, explaining that the undue hardship denial violated

  the law, and that he could have easily been accommodated remotely or in person, with the

  accommodation of testing weekly, which was allowed in neighboring school districts and all other

  City departments at the time.

         1145. He had a zoom hearing.



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         1146. At the zoom hearing, the DOE representative acknowledged that Mr. Napolitano

  had sincere religious beliefs, but argued that his beliefs were wrong, and thus should not be granted

  accommodation.

         1147. Mr. Napolitano was involuntarily placed on leave without pay on or about October

  4, 2021.

         1148. In or around December 2021, Mr. Napolitano received notification that the

  Citywide Panel would review his application.

         1149. No one from the City reached out to engage in cooperative dialogue about possible

  accommodations or difficulties posed by them.

         1150. On or about March 17, 2021, Mr. Napolitano was denied by the Citywide Panel

  through an autogenerated email and terminated.

         1151. Mr. Napolitano is the sole provider for his family of five.

         1152. His wife suffers health problems.

         1153. His children have special needs.

         1154. On or about August 22, 2022, Mr. Napolitano was offered reinstatement if he got

  vaccinated, which DOE knew was against his religious beliefs.

         1155. After the Mandate was repealed, Mr. Napolitano attempted to get rehired, but was

  shut out of the system and was unable to apply.

         1156. He and his family suffered severe financial, emotional, psychological and spiritual

  harm because of Defendants’ discriminatory actions and policies.

  MAWULI OLIVIERRE

         1157. Plaintiff MAWULI OLIVIERRE is a resident of Kings County, New York. Prior

  to being denied religious accommodation, he was a tenured social studies teacher working in



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  Brooklyn with over 21 years of service at DOE.

          1158. Mr. Olivierre was a well-respected and beloved teacher in good standing.

          1159. He has a Masters degree in Instructional Technology from New York State Institute

  of Technology, as well as a state certificate in teaching technology.

          1160. Mr. Olivierre has sincerely held religious objections to taking a Covid-19 vaccine.

          1161. He timely submitted a request for religious accommodation on or about September

  20, 2021.

          1162. In his letter, he explained that he believes that he is part of a diaspora of the Hebrew

  Tribes of Israel, whose four fathers are Abraham, Issac, Jacob and Moses under the teachings of

  Jesus Christ. As such, Mr. Olivierre explained that he follows strict dietary and religious practices,

  including avoiding all vaccines or other pre-emptive medical intervention.

          1163. Mr. Olivierre was immediately denied through the same autogenerated email sent

  to all applicants, claiming undue hardship on the “more than a minimal burden” standard.

          1164. No one at the DOE individually reviewed Mr. Olivierre’s application before

  denying him accommodation.

          1165. Mr. Olivierre could have been accommodated remotely or in person without undue

  hardship as set forth more fully in the undue hardship section, supra.

          1166. Mr. Olivierre timely appealed.

          1167. He was denied, without a hearing, and without any explanation other than an “x”

  next to the word “denied.”

          1168. Mr. Olivierre was involuntarily placed on leave without pay on or about October 4,

  2021.

          1169. In or around December 2021, he was notified that his application would be given



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  fresh consideration by the Citywide Panel.

          1170. No one from the City reached out to engage in cooperative dialogue about possible

  accommodations.

          1171. On or about March 28, 2022, the Citywide Panel sent an autogenerated denial of

  accommodation.

          1172. No one individually reviewed Mr. Olivierre’s application or individually

  considered whether it would be an undue hardship before denying him relief on this basis.

          1173. In April 2022, Mr. Olivierre was terminated for failing to get vaccinated in violation

  of his sincerely held religious beliefs.

          1174. On or about August 22, 2022, Mr. Olivierre was offered reinstatement if he got

  vaccinated, which DOE knew was against his religious beliefs.

          1175. Mr. Olivierre and his family suffered severe financial, emotional, psychological

  and spiritual harm because of Defendants’ discriminatory actions and policies.

  PETER OTTO

          1176. Plaintiff PETER OTTO is a resident of Suffolk County, New York. Prior to being

  denied religious accommodation, Mr. Otto was a tenured teacher and programmer with just under

  fifteen years of service at DOE.

          1177. Mr. Otto had a dual role. He taught social studies, and he also served as the school

  programmer, spending at least three periods a day on computer work in an office away from

  students.

          1178. Mr. Otto has sincerely held religious beliefs that conflict with the Covid-19 vaccine

  mandate.

          1179. He timely submitted a deeply personal four-page single-spaced letter, detailing his



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  most sacred innermost beliefs and his faith journey.

         1180. He explained how he and his wife, who are both deeply religious Christians,

  developed a personal relationship with God after many trials and tribulations, and learned to seek

  guidance directly.

         1181. Mr. Otto believes that it would violate God’s will to take a Covid-19 vaccine based

  on this guidance, and also is opposed to the use of aborted fetal cell lines in the production and

  development of the vaccines. He also has come to believe that pre-emptive medical intervention

  is not in God’s will, but treatment for sickness is.

         1182. Mr. Otto was immediately denied through the same autogenerated email sent to all

  applicants, claiming undue hardship on the “more than a minimal burden” standard.

         1183. No one at the DOE individually reviewed Mr. Otto’s application before denying

  him accommodation.

         1184. Mr. Otto could have been accommodated in person or remotely without undue

  hardship as more fully set forth, supra and in this section.

         1185. As the school programmer, he was involved in all stages of setting up remote

  learning. He designed the school’s remote learning system. All of this work was done through

  computers and could have been done from anywhere.

         1186. During the year and a half of the pandemic preceding the Mandate, Mr. Otto’s

  classes were taught online, though he had not requested that to happen.

         1187. During the 2021-2022 school year, he retained his job as the school programmer,

  which was done in his programming office away from students. His programming tasks consisted

  of programming teachers, students, rooms, working transcripts and counselors, using NYC

  computer applications and other fully digital jobs that required no in-person interaction at all.



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         1188. Even his meetings with NYC Central Programming Administrators were conducted

  by Zoom, never in person.

         1189. School programming is a digital job.

         1190. It should also be noted that Mr. Otto does not know of any other School

  Programmer in NYC Schools that teaches four periods per day. Most school programmers don't

  teach any periods or if they do, it is only one class per day. But he taught four periods per day,

  with the other half of the day programming.         Mr. Otto could have easily done all of the

  programming remotely, since it is all digital. Additionally, he could easily have taught all of his

  students remotely. It would not have been an undue hardship to have a body sit in a classroom

  with his students while they received instruction remotely. This is how he taught his students

  during the previous school year under NYC's Hybrid Model.

         1191. Mr. Otto timely appealed.

         1192. He was given a zoom hearing, during which, DOE acknowledged that they did not

  question the sincerity of his beliefs. The arbitrator asked him if he rejected all medical treatment,

  he explained that he is not against medical treatment but does not believe in pre-emptive

  intervention, such as vaccination, quoting Bible verse to support his position.

         1193. Soon after, he was denied, with no further explanation than an “x” next to the word

  “denied.”

         1194. Mr. Otto was involuntarily placed on leave without pay.

         1195. In or around November 2021, he received notification that his application would be

  considered by the Citywide Panel and submitted supplemental materials.

         1196. On or about February 15, 2022, the Citywide Panel denied his application through

  an autogenerated email asserting (without explanation) undue hardship as the only reason.



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            1197. Mr. Otto was given seven days to get vaccinated or face termination.

            1198. His family was suffering greatly, and he was unable to get hired anywhere, even

  outside of the district, despite ample qualifications, teacher shortages in his field, and a stellar

  record.

            1199. Upon information and belief, this was due to the problem code DOE placed in his

  employment files.

            1200. Out of desperation, Mr. Otto was forced to get vaccinated in violation of his

  sincerely held religious beliefs so that he could feed his family.

            1201. Having to violate his faith was deeply traumatic, and Mr. Otto has still not been

  made whole for the months he was forced to stay on unpaid leave.

            1202. Mr. Otto and his family suffered severe financial, emotional, psychological and

  spiritual harm because of Defendants’ discriminatory actions and policies.

            1203. Mr. Otto’s school also suffered serious harm as a result of his denial of religious

  accommodation. As the only one with the necessary permissions to handle any number of crucial

  daily tasks required under law, his loss resulted in chaos and compliance issues. The undue

  hardship was not in accommodating Mr. Otto, it was in failing to accommodate him.

  LEONARD PIZZA

            1204. Plaintiff LEONARD PIZZA is a resident of Suffolk County, New York. Prior to

  being denied religious accommodation, he was a tenured science teacher working in Queens with

  eighteen years of service at DOE.

            1205. Mr. Pizza was beloved by his students and the faculty, staff and parents.

            1206. He is a devout Catholic and seeks guidance from his religious conscience, which

  according to his faith, is the voice of the Holy Spirit.



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          1207. When the Mandate was announced, Mr. Pizza received direct guidance from his

  conscience that the vaccine was evil.

          1208. He believes, through contemplation and prayer, that it represents the mark of the

  beast, and that it would be a grave sin to take it.

          1209. Mr. Pizza timely filed a request for religious accommodation from the Mandate,

  including a detailed letter and a clergy letter in his request.

          1210. In less than 24 hours, he was denied through the same autogenerated, generic

  email that was sent to all applicants.

          1211. No one from DOE individually reviewed his application before it was denied.

          1212. Mr. Pizza could have been accommodated remotely or in person without undue

  hardship as further set forth in the undue hardship section, supra.

          1213. During the past year, he taught hundreds of lessons via Google Meet for those

  students who stayed remote.

          1214. While many DOE employees worked remotely the year before, often on flimsy

  excuses, Mr. Pizza worked in person without posing any threat.

          1215. He already had gotten and recovered from Covid-19, and had natural immunity,

  which was known to create far more robust and durable and effective immunity than the vaccine.

          1216. Mr. Pizza timely appealed.

          1217. He was not give a zoom hearing, just denied, with no further explanation than an

  “x” next to the word “denied.”

          1218. He was involuntarily placed on leave without pay.

          1219. In or around November 2021, Mr. Pizza was informed his application would be

  given fresh review by the Citywide Panel.



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         1220. He waited for months for a decision, while he and his family became desperate

  without any income.

         1221. On or about January 26, 2022, Mr. Pizza could wait no longer and so returned to

  work by getting vaccinated against his sincerely held religious beliefs.

         1222. He got very sick and suffered severe spiritual harm as a result.

         1223. Upon his return, DOE retaliated against Mr. Pizza.

         1224. For example, he was subjected to invasive and stressful disciplinary proceedings

  for telling his students before he was placed on leave without pay in October that he would likely

  have to go on leave soon, but that he was not abandoning them.

         1225. He never mentioned anything about the reason for his anticipated leave, or anything

  political or inappropriate.

         1226. He was ultimately cleared of wrongdoing, but upon information and belief, the

  investigation was meant to punish him and retaliate against him for his religious beliefs.

         1227. Months later, after he was already back at work, he finally received a denial from

  the Citywide Panel, who sent him an autogenerated email giving the sole reason that it would be

  an undue hardship to accommodate him (without explanation).

         1228. Mr. Pizza and his family suffered severe financial, emotional, psychological and

  spiritual harm because of Defendants’ discriminatory actions and policies.

  SAUNDRA RAYMOND

          1229. Plaintiff SAUNDRA RAYMOND is a resident of Westchester County, New York.

  Prior to being denied religious accommodation, she was a tenured first-grade teacher working at

  the same school in the Bronx for over twenty-four years of service at DOE.

          1230. Ms. Raymond was a well-respected and beloved teacher in good standing.



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          1231. She is also a devout Pentecostal Christian, and long-term member of the Eben-Ezer

  Church in Yonkers, where she heads several ministries and served as secretary to the assembly at

  the time of her application.

          1232. Ms. Raymond has applied for, and been granted, religious accommodation from

  other DOE requirements that violated her faith in the past.

          1233. Ms. Raymond has sincerely held religious objections to Covid-19 vaccination.

          1234. OnSeptember 16, 2021, she timely applied for religious accommodation.

         1235. In less than 24 hours, she was denied through the same autogenerated, generic

  email that was sent to all applicants.

         1236. No one from DOE individually reviewed her application before it was denied.

         1237. Ms. Raymond, who had a co-teacher at that time, could have been accommodated

  remotely without undue hardship, as accommodation was granted to other teachers accepted

  under the Stricken Standards by hiring a sub to co-teach in-person while they taught from home

  during the 2021-2022 school year..

         1238. She had a co-teacher, and she could have stayed in person and facilitated Ms.

  Raymond to join via Google Classrooms.

         1239. In the past, Ms. Raymond was already acccommodated in this manner when she

  was undergoing cancer treatment during which time she was accommodated by being assigned

  to work from a converted closet in her school building until the union helped her arrange to work

  from home.

         1240. Moreover, Ms. Raymond’s position as the general education teacher, who co-

  taught with the special education teacher, provided the flexibility to split the class into small

  groups as the teachers saw fit for instruction. During lockdown, this was seamlessly done in



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  breakout rooms.

         1241. As an ICT class, in addition to the two teachers, at least one paraprofessional is

  assigned to the class to help students with special needs.

         1242.   As successfully demonstrated during the lockdown, every single task could have

  been seamlessly done remotely.

         1243. Ms. Raymond timely appealed.

         1244. Ms. Raymond was not given any zoom hearing, just denied, with no further

  explanation than an “x” next to the word “denied.”

         1245. She was involuntarily placed on leave without pay.

         1246. On November 19, 2021, Ms. Raymond was informed that her application would

  be considered by the Citywide Panel. Ms Raymond provided more exhibits, including a notarized

  letter requesting reinstatement and several emails showing religious accommodation requests

  before the mandates.

         1247. No one from the City ever engaged in cooperative dialogue with her about possible

  accommodations, including the accommodation she’d had when she had cancer.

         1248. Instead, on or about February 7, 2022, Ms. Raymond received an autogenerated

  email from the Division of Human Resources informing her that they’d been advised that the

  Citywide Panel had denied Ms. Raymond’s appeal.

         1249. Ms. Raymond did not receive an email from the Citywide Panel providing reasons.

         1250. On or about February 18, 2022, Ms. Raymond was terminated for failing to get

  vaccinated in violation of her sincerely held religious beliefs.

         1251. She timely filed a grievance and asked for a 3020 hearing, which tenured teachers

  are entitled to before any adverse action is taken against them.



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         1252. She was not given a hearing.

         1253. Instead, the DOE retaliated against her, contesting her application for

  unemployment, and falsely accusing her of “misconduct” and having “voluntarily quit” when in

  reality she was denied religious accommodation and forced out.

         1254. On or about August 22, 2022, the DOE mailed Ms. Raymond a letter, inviting her

  to be reinstated to her old position, keeping her tenure and other benefits, but only if she got

  vaccinated, which DOE knew was against her religious beliefs.

         1255. DOE refused to give Ms. Raymond religious accommodation from this

  requirement, despite the fact that they were well aware that vaccination served no public health

  benefits. Ms. Raymond, to this day, has still not taken the covid vaccine and has also recovered

  completely from all of the cancer related health issues, just as she was assured personally, by

  God.

         1256. Ms. Raymond suffered severe financial, emotional, psychological and spiritual

  harm because of Defendants’ discriminatory actions and policies.

  ROBERT RETTINO

          1257. Plaintiff ROBERT RETTINO is a resident of Putnam County, New York. Prior to

  being denied religious accommodation, he was a tenured teacher working in the Bronx with over

  sixteen years of service at DOE.

          1258. Mr. Rettino has sincerely held religious objections to taking a Covid-19 vaccine.

          1259. He timely submitted his religious accommodation request, along with a letter from

  the pastor of his church, confirming that Mr. Rettino is a member of the congregation and that the

  that his sincere religious objections to vaccination were consistent with the tenets of the Church.

         1260. In less than 24 hours, he was denied through the same autogenerated, generic



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  email that was sent to all applicants asserting “undue hardship” based on the more than a minimal

  burden standard.

            1261. No one from DOE individually reviewed Mr. Rettino’s application before it was

  denied.

            1262. Mr. Rettino could have been accommodated remotely or in person without undue

  hardship as set forth more fully in the undue hardship section, supra and herein.

            1263. Mr. Rettino was part of the Absent Teacher Reserve (“ATR”) program, which is an

 active pool of educators whose positions were eliminated when schools that they taught in lost

 enrollment or were consolidated.

            1264. As an ATR teacher, Mr. Rettino was able to be placed anywhere there was a need

 and was entitled to his salary under the contract.

            1265. At the time he was denied, DOE was still offering a fully remote program that it

 maintained throughout the 2021-2022 school year.

            1266. At the time Mr. Rettino was denied, the remote program still needed educators, and

 Mr. Rettino could have done that job.

            1267. Shortly before Mr. Rettino was denied accommodation, and for some years before,

 multiple press outlets reported that Mayor de Blasio was aggressively trying to winnow down the

 pool of ATR teachers.

            1268. Upon information and belief, one goal of the Mandate was also to winnow highly

 paid tenured teachers, like Mr. Rettino and others, who were protected by their union contracts from

 adverse action.

            1269. Mr. Rettino timely appealed.

            1270. On or about September 23, 2021, Mr. Rettino received a denial from Martin F.



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 Scheinman, with no opportunity for a hearing, and no explanation, just an “x” next to the word

 “denied.”

          1271. On or about October 4, 2021, he was involuntarily placed on leave without pay.

          1272. In or around December 2021, Mr. Rettino received notification that his application

 would be considered by the Citywide Panel.

          1273. He waited months, as his family struggled desperately.

          1274. His wife, who was a paraprofessional, was also denied religious accommodation

 and placed on leave without pay.

          1275. Finally, on or about March 28, 2022, Mr. Rettino received a generic (autogenerated)

 email letting him know that the Citywide Panel had denied his accommodation request.

          1276. He never received a termination notice.

          1277. On or about August 22, 2022, he received a letter, offering reinstatement with his

 tenure and seniority, if he would get vaccinated, though they knew this violates his sincerely held

 religious beliefs.

          1278. To this day, Mr. Rettino has not received any formal notice of termination.

          1279. He has attempted to get his job back or be rehired, but DOE refuses to rehire him.

          1280. Mr. Rettino suffered severe financial, emotional, psychological and spiritual harm

  because of Defendants’ discriminatory actions and policies.

  NICOLE RIVICCI

          1281. Plaintiff NICOLE RIVICCI is a resident of Richmond County, New York. Prior to

  being denied religious accommodation, she was a tenured teacher working in Brooklyn with six

  years of service at DOE.

          1282. She was a well-respected ENL teacher that was beloved by her students and



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  colleagues.

            1283. Mrs. Rivicci is a devout Christian with sincerely held religious beliefs that do not

  allow her to take a Covid-19 vaccine.

            1284. She timely applied for religious accommodation, explaining that she has not taken

  any vaccine since she was nineteen years old, and that she does not take any medication associated

  with abortion, among other concerns.

            1285. She was immediately denied through the same autogenerated, generic email that

  was sent to all applicants asserting “undue hardship” based on the more than a minimal burden

  standard.

            1286. No one from DOE individually reviewed Mrs. Rivicci’s application before it was

  denied.

            1287. Mrs. Rivicci could have been accommodated remotely or in person without undue

  hardship as set forth more fully in the section on undue hardship, supra and in this section.

            1288. Mrs. Rivicci’s job title was English as a New Language teacher. Her school used a

  “push in/pull out” method in order to serve the students. She is not a classroom teacher, but rather

  an additional co-teacher to the classroom teacher who only provided ENL services.

            1289. Since she was not the main teacher, her job could have easily been accomplished

  and accommodated outside of a classroom setting.

            1290.   In fact, her job description included virtual push-in support, highlighting the remote

  nature of her job duties. She could have held regular virtual sessions with students and their

  parents. She could have held virtual meetings in collaboration with classroom teachers. All of her

  designed materials and lessons could have been shared with students, parents, and classroom

  teachers digitally, as was often the case anyway. She tracked students’ progress remotely



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  monitoring their assessments as a regular job task as well. All of these daily duties could have

  easily been done, as per her usual day-to-day requirements for her job.

          1291. Mrs. Rivicci timely appealed and was denied a zoom hearing, without explanation.

          1292. Instead, Mrs. Rivicci’s appeal to the arbitrator was denied, with no further

  explanation than an “x” next to the word “denied.”

          1293. Mrs. Rivicci was involuntarily placed on leave without pay on or about October 1,

  2021.

          1294. In or around November 2021, Mrs. Rivicci was informed that her application would

  be considered by the Citywide Panel.

          1295. She was summarily denied in or around the Spring of 2022 on the alleged (and

  unexplained) basis of undue hardship.

          1296. No one from the Citywide Panel engaged in cooperative dialogue to discuss

  possible accommodations or difficulties therewith before denying her.

          1297. On or about March 17, 2022, Mrs. Rivicci was terminated for failing to get

  vaccinated in violation of her religious beliefs.

          1298. On or about August 22, 2022, Mrs. Rivicci was offered reinstatement if she got

  vaccinated, which DOE knew was against her religious beliefs.

          1299. The DOE continued to retaliate against her.

          1300. After the Mandate was repealed in February 2023, Mrs. Rivicci applied for

  reinstatement.

          1301. Her principal immediately wanted to hire her.

          1302. She told Mrs. Rivicci that she could not complete the hiring process because her

  account was flagged.



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         1303. When Mrs. Rivicci called human resources to ask about the problem code, she was

  told they were not allowed to discuss why she had a problem code.

         1304. Mrs. Rivicci had a spotless record of employment.

         1305. There is no reason that she should have a problem code attached to her file other

  than for failing to get vaccinated in violation of her religious beliefs, which DOE has claimed in

  other proceedings is “not misconduct.”

         1306. Eventually, she was able to get reinstated in 2023, after months of suspension

  without pay. In February 2025, Mrs. Rivicci’s principal offered her an F-status position (part-time)

  after being out on maternity leave for four months. She applied for this position, but her

  background investigation would not clear due to a problem code on her account (once again). She

  was told the problem code was removed back in 2023 when she was first rehired. It took over a

  month and several phone calls to HR to remove the problem code.

         1307. However, the DOE still has not restored her tenure, stating that “legal” is still trying

  to decide how to treat employees like Mrs. Rivicci, who were fired for failing to violate their

  sincerely held religious beliefs, and so she is currently on a three-year probation.

         1308. Mrs. Rivicci and her family suffered severe financial, emotional, psychological and

  spiritual harm because of Defendants’ discriminatory actions and policies.

         1309. Her husband, a New York City Firefighter, was also wrongfully denied religious

  accommodation from the Mandate and terminated.

         1310. He won a lawsuit challenging the denial, but the City appealed and they are still

  engaged in endless litigation to enforce their basic rights.

  CHRISTIAN SCHMIDT

         1311. Plaintiff CHRISTIAN SCHMIDT is a resident of Kings County, New York. Prior



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  to being denied religious accommodation, he was a tenured art teacher, working in Manhattan with

  over sixteen years of service at DOE.

         1312. Mr. Schmidt was well respected, consistently rated highly effective, and beloved

  by students.

         1313. Mr. Schmidt, a devout Gnostic Catholic, has sincerely held religious beliefs in

  opposition to vaccination.

         1314. Mr. Schmidt timely submitted a religious accommodation request. He explained

  that he believes vaccination is a sin, and has never been vaccinated in his adult life for this reason.

  He further explained that he prayed about the Covid-19 vaccine, as he does about all major

  decisions, and received clear guidance from the Holy Spirit that he must not succumb and get the

  vaccine, as it would be a sin.

         1315. Mr. Schmidt included a letter from his Bishop of the Gnostic Catholic Apostolic

  Ecclesia of North America, who attested that Mr. Schmidt has sincerely held religious beliefs in

  opposition to vaccination and that it would violate his religious obligations to get vaccinated in

  violation of guidance from his religious conscience.

         1316. Mr. Schmidt’s Principal and Vice Principal expressed support for Mr. Schmidt’s

  accommodation.

         1317. Mr. Schmidt made it clear to his bosses, the DOE, the UFT, and arbitration that he

  was willing to take a weekly test.

         1318. Like everyone else who applied, Mr. Schmidt received an autogenerated email

  almost immediately after submitting his application, alleging that it would be more than a minimal

  burden to accommodate him.

         1319. No one individually reviewed his application before denying it.



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          1320. Mr. Schmidt could have been accommodated, remotely or in person without undue

  hardship, as set forth above in the undue hardship section and in this section.

          1321. The DOE accommodated other teachers during the 2021-2022 school year whose

  religious beliefs were deemed to meet the Stricken Standards criteria.

          1322. Mr. Schmidt timely appealed.

          1323. Martin F. Scheinman reviewed his application.

          1324. He was not given a zoom hearing, just a denial, with no explanation, just an “x’

  next to the word “denied.”

          1325. Mr. Schmidt wrote an email to Mr. Scheinman directly, reiterating that he was

  willing to negotiate with all parties involved and take hardships upon himself if it meant his

  religious beliefs were respected and accommodated.

          1326. Mr. Schmidt was involuntarily placed on leave without pay on or about October 4,

  2021.

          1327. In late November 2021, Mr. Schmidt received an email letting him know that his

  application was being given fresh consideration by the Citywide Panel.

          1328. No one from the Citywide Panel ever engaged in cooperative dialogue with Mr.

  Schmidt about possible accommodations or difficulties therewith.

          1329. On or about March 7, 2022, the Citywide Panel sent him an autogenerated email

  stating that he was denied, and the decisional classification was: “The employee has failed to

  establish a sincerely held religious belief that precludes vaccination” and that DOE had allegedly

  demonstrated that it would be an undue hardship to accommodate him.

          1330. Mr. Schmidt was desperate at this point.

          1331. Under extreme duress, he got vaccinated so that he could return to work on or about



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  March 15, 2022.

         1332. The experience was extremely traumatic. He was physically injured, and has lasting

  heart issues, and worse, he was spiritually traumatized by having to violate his religious

  conscience.

         1333. Mr. Schmidt suffered severe financial, emotional, psychological and spiritual harm

  because of Defendants’ discriminatory actions and policies.

  DAMARIS SCOTT

         1334. Plaintiff DAMARIS SCOTT is a resident of Bronx County, New York. Prior to

  being denied religious accommodation, she was a secretary, working in the Bronx with over

  twenty-four years of service at DOE.

         1335. Ms. Scott was a well-respected administrator, who was on the verge of retiring

  through the fifty-fife/twenty-five plan that she had been paying into for over thirteen years.

         1336. She is deeply religious, and her husband is the Pastor at Refreshing Word

  Ministries, a non-denominational Christian Church serving the Bronx since 2005.

         1337. Ms. Scott timely applied for religious accommodation, including a letter from the

  Church affirming that she is a long-standing member, and the Church believes that vaccination

  violates God’s will and Ms. Scott’s obligations as a Christian.

         1338. Like all other applicants, Ms. Scott was immediately denied through an auto

  generated email claiming it would be more than a minimal burden to accommodate her.

         1339. No one reviewed Ms. Scott’s application before denying her relief.

         1340. Had they, it would have been immediately obvious that she could have been

  accommodated without undue hardship.

         1341. Ms. Scott was a secretary and did not work in a student-facing job.



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         1342. She could have been accommodated remotely without issue or in person without

  posing a direct threat to anyone.

         1343. Ms. Scott timely appealed.

         1344. She had a zoom hearing on or about September 28, 2021.

         1345. The arbitrator and DOE affirmed they do not question her sincerity but questioned

  the validity of the Church’s religious beliefs.

         1346. They asked her, for example, whether she takes any medication.

         1347. But, as detailed in her letter and supplemental materials submitted on appeal, Ms.

  Scott explained that she is not opposed to treating illness, but is opposed to pre-emptive

  interventions, especially those as invasive as attempting to change one’s God-given immune

  system, and especially if the intervention involves a product tainted by its use of aborted fetal cell

  lines in production or development.

         1348. Ms. Scott detailed her extensive religious history, how she and her husband started

  the ministry for the underserved Bronx community that she lives in over fifteen years ago, and

  how she prays over every major decision that she makes.

         1349. Ms. Scott was immediately denied the same day, with no further explanation than

  an “x” next to the word “denied.”

         1350. Ms. Scott was then involuntarily placed on leave without pay.

         1351. In or around November 2021, she was informed that her application would be

  considered by the Citywide Panel.

         1352. On or about February 15, 2022, the Citywide Panel denied her application, with no

  further explanation than: “DOE has demonstrated that it would be an undue hardship to grant this

  accommodation to appellant given the need for a safe environment for in-person learning.”



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         1353. No one individually assessed whether it would have been an undue hardship to

  accommodate Ms. Scott, who was a secretary and did not work in a student-facing position, before

  making this determination.

         1354. Ms. Scott was forced to retire early, just shy of her twenty-five years, so that she

  could keep her home and so that she and her family could meet their basic needs.

         1355. Ms. Scott suffered severe financial, emotional, psychological and spiritual harm

  because of Defendants’ discriminatory actions and policies.

  JUDITH STAMOS

         1356. Plaintiff JUDITH STAMOS is a resident of Suffolk County, New York. Prior to

  being denied religious accommodation, she was an occupational therapist, working in Queens with

  over ten years of service at DOE.

         1357. Mrs. Stamos has long-standing sincerely held religious beliefs that conflict with

  vaccination.

         1358. She timely applied, explaining her beliefs and noting that her children (by then in

  their 20’s) had religious accommodations throughout their schooling, and during college continued

  to be granted accommodation from vaccine requirements based on the family’s religious

  opposition, which is based on their Christian faith and guidance from prayer and reflection on what

  God requires of them.

         1359. Mrs. Stamos attached a clergy letter to her application.

         1360. Like all other applicants, Mrs. Stamos was immediately denied through an auto

  generated email claiming it would be more than a minimal burden to accommodate her.

         1361. No one reviewed Mrs. Stamos’ application before denying her relief.

         1362. Mrs. Stamos could have been accommodated in person or remotely without undue



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  hardship as further detailed in the undue hardship section of this complaint.

             1363. She was not even a classroom teacher, but rather a therapist.

             1364. For the eighteen months prior to being denied accommodation, she had been

  working remotely, first due to the pandemic closures and then because she was granted remote

  work as a medical accommodation.

             1365. During the eighteen months of remote work, she was able to perform occupational

  therapy highly effectively, without issue, and had been commended for her success rate.

             1366. Mrs. Stamos immediately appealed and was granted a zoom hearing.

             1367. During the hearing, the DOE representative and arbitrator acknowledged that her

  religious objections were sincere.

             1368. However, the arbitrator harassed her, aggressively grilling her about irrelevant

  aspects of her faith and whether she belonged to a religious organization that shared these same

  beliefs.

             1369. Mrs. Stamos had an attorney present, who objected repeatedly that the arbitrator

  was asking unconstitutional questions.

             1370. Mrs. Stamos felt that she was in a heresy inquisition and left shaken and

  traumatized.

             1371. Mrs. Stamos then received a denial, with no explanation, just an “x” next to the

  word “denied.”

             1372. She was placed on leave without pay on or about October 4, 2021.

             1373. In or around November 2021, Mrs. Stamos was informed that her application would

  be reconsidered by the Citywide Panel.

             1374. No one from the City engaged in cooperative dialogue about possible



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  accommodations or difficulties therewith.

          1375. On or around February 16, 2022, Mrs. Stamos was sent an autogenerated email

  stating that her appeal had been denied on the sole alleged reason that: “DOE has demonstrated

  that it would be an undue hardship to grant this accommodation to appellant given the need for a

  safe environment for in-person learning.”

          1376. No one from DOE individually reviewed her request before making this alleged

  determination.

          1377. Later that Spring, Mrs. Stamos was terminated for failing to get vaccinated in

  violation of her sincerely held religious beliefs.

          1378. DOE retaliated against Mrs. Stamos and the others denied religious accommodation

  by placing a problem code on her fingerprint records.

          1379. Mrs. Stamos, who has had a spotless record and is eminently qualified in a field

  that is chronically short-staffed, was repeatedly turned down from jobs as a result of the code.

          1380. She first applied to New York Therapy Placement services, in or around March

  2022.

          1381. She was informed that she could not be hired due to a problem code that showed

  up when they ran her fingerprints.

          1382. The problem code sent by DOE stated: “Notification of Ineligibility due to Problem

  Code: The following employee does not have full security clearance and must be immediately

  removed from contact with students pending further review and investigation. In addition, their

  roster status must be changed from active to inactive immediately.”

          1383. The compliance coordinator for the New York Therapy Placement Service wrote

  that Mrs. Stamos could not be hired because of the DOE’s problem code and added: “there’s really



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  no way of determining what the action is that’s caused her to lose her clearance but she can’t be

  placed until she clears it up.”

          1384. Mrs. Stamos has known the person who was in charge of hiring at New York

  Therapy Placement for over twenty years. She encouraged Mrs. Stamos to pay for a private finger-

  printing service for $110 to see if a problem code showed up there.

          1385. Mrs. Stamos did pay for private fingerprinting investigation and found that there

  was no problem code that showed up that way.

          1386. The DOE was the one that placed the code on her file, and was trying to make sure

  she could not continue to work in her field.

          1387. Still, the damage had been done, and Mrs. Stamos struggled to find work due to

  DOE’s retaliation.

          1388. On or about August 22, 2022, Mrs. Stamos was offered reinstatement if she got

  vaccinated, which DOE knew was against her religious beliefs.

          1389. After the repeal of the Mandate in February 2023, Mrs. Stamos attempted to get her

  job back at DOE.

          1390. Her former supervisor, Marybeth Fitzgerald, explained she would have to apply as

  a new hire, despite all her years of service and seniority at the DOE.

          1391. She received an offer to start in May 2023.

          1392. The offer letter was for significantly less than she’d been making, but she was

  assured that would quickly be adjusted after she was hired.

          1393. For unexplained reasons, however, she was notified that her start date had to be

  pushed back multiple times due to unspecified issues in the security clearance.

          1394. Two weeks before her extended start date the next fall, Mrs. Stamos was told that



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  DOE required her to sign a waiver if she wanted to return.

         1395. Mrs. Stamos explained that she could not sign a waiver, as she believed her

  religious rights had been violated and intended to pursue relief.

         1396. At the time, the DOE was submitting multiple letters in the pending appeal in the

  Second Circuit claiming that they were not imposing a waiver on DOE employees who had been

  denied religious accommodation who wanted to return.

         1397. The Kane plaintiffs filed Mrs. Stamos’ waiver as proof this was not true.

         1398. The DOE’s attorney submitted multiple conflicting statements to try to explain the

  imposition of the waiver requirement on Mrs. Stamos.

         1399. In truth, the DOE selectively applies the waiver requirement only on some

  employees, without any fixed rule about which ones will get it or not.

         1400. Some therapists, teachers, paraprofessionals and all other class of employees have

  been asked to sign the waiver, others have not.

         1401. In any event, Mrs. Stamos was informed that because she would not sign the waiver,

  her offer was rescinded, and she could not come back to the DOE if she wanted to enforce her

  right to seek legal redress for the unlawful denial of her religious accommodation request.

         1402. Mrs. Stamos suffered severe financial, emotional, psychological and spiritual harm

  because of Defendants’ discriminatory actions and policies.

  ZABDIEL VALERA

         1403. Plaintiff ZABDIEL VALERA is a resident of Essex County, New Jersey. Prior to

  being denied religious accommodation, he was a tenured teacher, working in Manhattan with over

  fifteen years of service at DOE.

         1404. Mr. Valera is a devout Christian and has sincerely held religious objections to



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  vaccination.

         1405. A Seventh Day Adventist, he does not drink alcohol, smoke tobacco or eat meat,

  and believes that pharmaceutical products should be used seldom, if ever, and only after prayer

  and reflection.

         1406. Mr. Valera timely applied for accommodation, explaining in a heartfelt and

  personal letter detailing his objections, including, most importantly, that he’d received guidance

  from prayer not to take it, and also that he objected on multiple other grounds, including the use

  of aborted fetal cell lines in production and development of the vaccines.

         1407. Like all other applicants, Mr. Valera was immediately denied through an auto

  generated email claiming it would be more than a minimal burden to accommodate him.

         1408. No one reviewed Mr. Valera’s application before denying him relief.

         1409. Mr. Valera could have been accommodated in-person or remotely without undue

  hardship and without presenting a direct threat to anyone as set forth in the undue hardship section,

  supra, and here.

         1410. He knows another teacher who was accommodated despite being unvaccinated and

  believes he could have been just as easily accommodated.

         1411. As a special education teacher and an ENL teacher, many of his job duties could

  have been accomplished remotely too.

         1412. Given the breadth of his responsibilities, several aspects of his teaching role could

  have been reasonably adjusted or done remotely, such as: virtual co-teaching using Zoom (like

  some NYC teachers had done during remote and hybrid instruction during lockdowns); remote

  IEP writing and meetings over Zoom (again, both common practice during the pandemic);

  transition coordinator services like career planning, virtual college workshops, transition



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  assessments and agency outreach (all could have happened remotely); family and student

  communication; curriculum support and lesson planning; professional development and

  instructional team meetings; and documentation and compliance work like IEP writing, progress

  monitoring, ENL logs, and many other documentation tasks that were typically all done digitally

  anyway.

          1413. The majority of Mr. Valera’s responsibilities could have been effectively done

  remotely or through a hybrid model with appropriate support and collaboration from the school

  team.

          1414. Mr. Valera timely appealed and was given a zoom hearing.

          1415. In the hearing, the DOE representative stated that though DOE did not question Mr.

  Valera had sincerely held religious beliefs, he must be denied because the leadership of the Seventh

  Day Adventist religion was vaccinated.

          1416. The DOE presented a letter from the President/leadership committee of the Church

  as evidence.

          1417. Mr. Valera was denied shortly thereafter without any explanation, just an “x” next

  to the word “denied.”

          1418. Mr. Valera was placed on leave without pay on or about October 4, 2021.

          1419. On or about November 19, 2021, Mr. Valera received notification that the Citywide

  Panel would review his application.

          1420. The Citywide Panel never issued a determination.

          1421. Instead, after waiting months for a determination on his appeal, on or about March

  17, 2022, the DOE notified Mr. Valera that he was terminated for failing to get vaccinated.

          1422. Mr. Valera suffered severe financial, emotional, psychological and spiritual harm



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  because of Defendants’ discriminatory actions and policies.


                                      FIRST CAUSE OF ACTION

                         (Failure to Accommodate in Violation of Title VII)

                             Class and all Plaintiffs against all Defendants

            1423. Plaintiffs incorporate all other paragraphs of this Complaint as if fully set forth

  herein.

            1424. As and for a First Cause of Action, Plaintiffs assert that both Defendants failed to

  accommodate their religious beliefs in violation of Title VII.

            1425. Plaintiffs were each entitled to accommodation, but were denied religious

  accommodation, first by the DOE and then the City, in violation of Title VII.

            1426. Title VII imposes an affirmative obligation on employers to make reasonable

  accommodations for their employees’ (or potential employees’) religious beliefs and practices. 42

  U.S.C §2000e(j); 20 C.F.R. §1605.2(b).

            1427. Each Plaintiff has a sincerely held religious belief in opposition to vaccination.

            1428. DOE knew that each Plaintiff and proposed class member needed religious

  accommodation from the Mandate, since they all applied for it.

            1429. Both Defendants initially attempted to refuse to accommodate anyone.

            1430. After Defendants were ordered by the Court and an arbitrator to offer religious

  accommodation, they responded by pretending to offer it, but denying every single applicant on

  alleged “undue hardship” based on the unlawful “more than a minimal burden” without ever

  assessing in good faith whether they could have accommodated any employee.

            1431. The same denial was sent out to employees who already worked remotely or easily

  could have done so.


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            1432. Defendants did not individually review the applications before sending out the

  denials.

            1433. The denials stated on their face that they were issued in accordance with the

  Stricken Standards, which were later found unconstitutional.

            1434. After they were denied religious accommodation, Plaintiffs were each placed on

  leave without pay for failing to violate their faith by taking a Covid-19 vaccine.

            1435.   Each Plaintiff was then denied reasonable accommodation again in the arbitration

  appeal.

            1436. The arbitrators were also governed by the Stricken Standards and both the DOE

  and the arbitrators made openly discriminatory comments during the implementation of the initial

  administrative appeals.

            1437. Each Plaintiff was then denied again by the City during the Citywide Panel review.

            1438. The Citywide Panel also did not follow Title VII standards in determining whether

  to grant relief, even though they had promised to do so.

            1439. Instead, the Citywide Panel continued to categorically deny personally held

  religious beliefs, and beliefs grounded in concerns about the use of aborted fetal cells, among

  others.

            1440. The Citywide Panel also imposed a blanket undue hardship denial for nearly all

  employees, without engaging in the required good faith analysis or meeting its burden of proof.

            1441. All Plaintiffs and their similarly situated class members could have been

  accommodated without undue hardship.

            1442. As a result of the City’s denials, Plaintiffs were denied the right to be reinstated

  with back pay, as promised by the City and DOE to anyone whose religious beliefs were found



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  to qualify under lawful standards after the remedial fresh consideration by the Citywide Panel.

          1443. The DOE then compounded the problem by offering reinstatement to all DOE

  employees in the fall of 2022, but refusing to accommodate Plaintiffs’ known religious practices,

  which did not allow for them to take the vaccine as a condition of rehire.

          1444. Religious accommodation is required under Title VII is not just required for

  employees but also potential employees that an employer knows – or should know – needs

  religious accommodation.

          1445. Defendants knew that Plaintiffs and their colleagues required religious

  accommodation from the vaccine condition.

          1446. Defendants knew they could have safely provided such accommodation.

          1447. But Defendants refused to offer such accommodation and outright denied all

  requests for it.

          1448. Plaintiffs suffered multiple adverse employment consequences as a result of both

  Defendants’ actions, including loss of pay, suspension, derogatory records placed in their file,

  termination, to name a few.

          1449. To the extent that Defendants claim “undue hardship” as a defense, Plaintiffs

  reserve the right to rebut such allegations in more detail, as undue hardship is an affirmative

  defense and cannot give rise to dismissal for failure to state a claim.

          1450. Under Title VII, the burden is on the employer to demonstrate “that he is unable

  to reasonably accommodate an employee’s or prospective employee’s religious observance or

  practice without undue hardship on the conduct of the employers’ business.” 42 U.S.C. §2000e(j).

          1451. For a Title VII claim, undue hardship is shown “when a burden is substantial in

  the overall context of an employer’s business”. Groff v DeJoy, 143 S Ct 2279, 2294 (2023). “[A]n



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  employer must show that the burden of granting an accommodation would result in substantial

  increased costs in relation to the conduct of its particular business.” Id. at 2295 (internal citations

  omitted).

          1452. To prevail on this defense, Defendants must show they considered all options for

  accommodation in good faith and proved, prior to denial, that such options were untenable

  according to statutory factors and analysis of objective evidence assessed against each

  individual’s circumstances.

          1453. Defendants did not meet their undue hardship burden, and the denials on this basis

  were pretextual.

          1454. Moreover, Defendants did not engage in an interactive process to determine the

  feasibility of accommodating Plaintiffs before denying them relief.

          1455. Defendants made no good faith effort to accommodate Plaintiffs’ need for

  religious accommodation and did not engage in an individualized assessment of possible

  accommodations pursuant to the required statutory standards before denying accommodation.

          1456. Defendants did not assess the significance, duration, or likelihood of any danger

  that would result from allowing Plaintiffs to remain unvaccinated.

          1457. Nor did Defendants assess the best available scientific and medical sources to

  make this determination.

          1458. Instead, Defendants relied on assumption and speculation and issued a blanket

  determination that they each could not accommodate Plaintiff.

          1459. Defendants also did not assess possible accommodations on an individualized

  basis that could have mitigated any actual risks.

          1460. Instead, in a stunning show of bad faith, the DOE immediately denied 100% of



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  the applicants based on alleged and unexplained “undue hardship.”

            1461. Without waiving their right to submit further proofs, Plaintiffs’ facts show that

  Plaintiffs could have been accommodated without undue hardship.

            1462. Plaintiffs did not pose a direct threat based on their vaccination status.

            1463. Each of them could have been safely accommodated in person.

            1464. The Covid-19 vaccines cannot stop transmission of Covid-19 to any meaningful

  degree.

            1465. And even if they could stop transmission, the presence of one million

  unvaccinated students rendered the impact of the relatively small percentage of DOE staff that

  needed to be accommodated meaningless.

            1466. Most Plaintiffs also had natural immunity, which the data show is longer-lasting,

  vastly superior, and more durable than vaccine immunity.

            1467. To the extent that Defendants were able to prove that Plaintiffs would pose a direct

  threat if allowed to work in person unvaccinated, multiple less dramatic measures than suspension

  and termination were available, including, but not limited to, testing, masking, symptom checks,

  social distancing, and air filtration to mitigate the risk.

            1468. Plaintiffs could have also been accommodated remotely if they were a direct

  threat.

            1469. Each of them had been accommodated remotely for various periods during the

  previous eighteen months and could have been accommodated remotely again.

            1470. Many of them already worked remotely in the fall of 2021 or had jobs that did not

  require any in person contact with students.

            1471. To the extent that Defendants truly could not accommodate Plaintiffs in person or



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  remotely without substantial hardship, Defendants could have provided other accommodations,

  such as allowing Plaintiffs to return without waiving their seniority or tenure, providing leave

  with health insurance not tied to coercive waivers, allowing them to work at other jobs during the

  leave, and refraining from attaching problem codes and/or accusing the employees of misconduct

  and attempting to block their efforts to collect unemployment insurance while they waited for the

  “emergency” to subside so they could return to work.

         1472. The DOE did not assess any of these potential accommodations to determine

  whether they would have posed a substantial hardship.

         1473. Instead, Defendants denied 100% of applicants, and then, argued for and enforced

  a discriminatory policy on appeal to categorically uphold most of the denials based on

  impermissible criteria, such as whether a person belonged to a preferred religion, or whether their

  supposed religious leader was vaccinated.

         1474. Tellingly, after the appeals, the DOE did accommodate at least 163 employees,

  some of them teachers, who posed no different threat than Plaintiffs and the thousands denied.

         1475. They made this determination based on criteria having nothing to do with safety

  or economic differences, and only to do with impermissible criteria such as membership in a

  preferred religious organization.

         1476. As set forth more fully in the Complaint, the City aided, abetted, encouraged and

  directed the DOE’s original discrimination and is jointly liable for it.

         1477. The City is also directly responsible for the failure to accommodate.

         1478. After the Second Circuit held that both Defendants had likely violated the

  constitution by imposing DOE’s original discriminatory religious accommodation policies, the

  City agreed to provide fresh consideration as a form of remediation.



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           1479. But it failed to provide fresh consideration to most applicants.

           1480. Except for one person, those who were given “fresh consideration” were all denied

  based on undue hardship (with no analysis of the required factors) and sometimes also told, once

  more, that their beliefs “do not qualify” pursuant to unlawful standards.

           1481. The City’s denials were pretextual and were intended to try to rubber stamp and

  affirm as many of the initial denials as possible.

           1482. As a direct and proximate result of Defendants' failure to accommodate them,

  Plaintiffs suffered, and continue to suffer, severe mental anguish and emotional distress,

  including but not limited to depression, humiliation, embarrassment, stress and anxiety, loss of

  self-esteem and self-confidence, and emotional pain and suffering, including physical symptoms,

  for which they are entitled to an award of monetary damages in an amount to be determined at

  trial.

           1483. Plaintiffs are also entitled to other compensatory damages, for financial and other

  consequences arising from Defendants actions. Plaintiffs incurred high interest debt, suffered

  penalties and losses as a result of the deprivation of their income and benefits, incurred medical

  debt, and suffered other harms caused by Defendants actions, for which they are entitled to an

  award of monetary damages in an amount to be determined at trial.

           1484. Plaintiffs are also entitled to injunctive and other equitable relief, including

  reinstatement with no break in service, front pay and back pay in salary and all benefits and

  employment terms, including retirement credits, compensatory damages, including pain and

  suffering, nominal damages at an amount to be determined at trial, and attorney’s fees. 42 U.S.C.

  §§ 1981a(a)(1), 2000e-5(g)(1), (k).

           1485. Plaintiffs are also entitled to punitive damages in an amount to be determined at



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  trial. Under Title VII, Plaintiffs can "recover punitive damages . . . [by] demonstrat[ing] that the

  respondent engaged in a discriminatory practice or discriminatory practices with malice or with

  reckless indifference to the federally protected rights of an aggrieved individual." 42 U.S.C. §

  1981a(b)(1).

          1486. And Plaintiffs are entitled to reasonable attorneys’ fees and costs.

          1487. Defendants were put on notice many times over that their religious

  accommodation policies were unconstitutional and discriminatory and yet they displayed reckless

  disregard for Plaintiffs’ rights by failing to give their application fresh review in good faith even

  after the Second Circuit chastised them for their policies.

          1488. Yet, they continued to inflict the same discriminatory criteria that they

  acknowledged was unconstitutional and continued to deny accommodation in bad faith.

          1489. Defendants’ use of problem codes, coercive and unlawful waivers, and other

  retaliatory measures, and their failure to reinstate most of the wrongfully terminated employees

  shows further malice.

          1490. Pursuant to the single filing rule, Plaintiffs are entitled to join this lawsuit because

  two of the named Plaintiffs in this lawsuit (Ms. Zapantis and Ms. DiCapua) timely filed complaints

  with the EEOC alerting the DOE and the City about class-wide discrimination and failure to

  accommodate, and this lawsuit was timely commenced within ninety days of these Plaintiffs

  receiving a right to sue letter.

          1491. Pursuant to the same rule, all members of the proposed class are entitled to Title

  VII relief on the same basis without individually exhausting administrative remedies. See Tolliver

  v. Xerox Corp., 918 F.2d 1052 (2d Cir. 1990).

          1492. The claims of the administrative claimants and the rest of the proposed class and



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  group all arise out of the same circumstances and within the same time frame. This is sufficient to

  allow the entire class to join in this claim pursuant to the single-filing rule. Id. at 1058.

          1493. Additionally, though they need not have in this action, the administrative claims of

  Ms. DiCapua and Ms. Zapantis provided notice that the issues were class wide.

          1494. Defendants and the EEOC were also on notice that the issues were class wide

  through the filing of hundreds of other claims from similarly situated DOE employees, and

  multiple related proposed class-action lawsuits referencing the widespread violation of Title VII

  and anticipated actions regarding same. Moreover, Plaintiffs can also file this claim under the

  single filing rule in reliance on other colleague’s timely filed lawsuits after receipt of right to sue

  letters on such claims, including those filed by Natalya Hogan and Carlos Contreras.

          1495. All of these claims give notice of classwide discrimination and failure to

  accommodate issues. Ms. DiCapua is one of the named plaintiffs in Kane v. de Blasio, which is a

  proposed class action lawsuit addressing widespread discrimination and referenced the lawsuit in

  her complaint, explaining that the issues were class wide.

          1496. As a named Plaintiff in the proposed class-action lawsuit, Ms. DiCapua has

  purported to represent the class.

          1497. Plaintiffs each individually and as a class have asserted failure to accommodate

  claims under Title VII.

                                   SECOND CAUSE OF ACTION

                              (Discrimination in Violation of Title VII)

                            Class and all Plaintiffs against all Defendants

          1498. Plaintiffs reincorporate all paragraphs of this Complaint as if fully written herein.

          1499. In addition to failure accommodate claims, Plaintiffs assert straight religious



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  discrimination claims against both Defendants – both pattern and practice and as applied.

          1500. Title VII was enacted with the purpose of prohibiting employment discrimination

  based on religion, among other protected characteristics. 42 U.S.C § 2000e et seq. 71.

          1501. Under Title VII, it is an unlawful employment practice for an employer: (1) to fail

  or to refuse to hire or discharge any individual, or to otherwise discriminate against any individual

  with respect to his compensation, terms, conditions, or privileges of employment because of such

  individual’s race, color, religion, sex, or national origin; or (2) to limit, segregate, or classify his

  employees or applicants for employment in any way which would deprive or tend to deprive any

  individual of employment opportunities or otherwise adversely affect his status as an employee,

  because of such individual’s race, color, religion, sex, or national origin. 42 U.S.C §2000e-2(a).

          1502. Plaintiffs and their proposed class are all members of a protected class –

  specifically, they all have protected religious beliefs.

          1503. Each was qualified to hold their position, as evidenced by the fact that they were

  all DOE employees in good standing before they were denied religious accommodation.

          1504. The fact that accommodation was offered shows that it was not an employment

  qualification to be vaccinated, since employees could receive religious accommodation and still

  be qualified to work, and at least 163 employees did receive such accommodation to work

  unvaccinated.

          1505. Moreover, related litigation has already held that the City lacked the authority to

  require vaccination as a condition of employment for DOE employees, and Defendants are

  precluded from relitigating that issue here.

          1506. Plaintiffs each suffered an adverse employment condition, including, inter alia,

  being denied religious accommodation, suspended without pay, charged with “misconduct”,



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  denied unemployment compensation, having problem codes placed in their files, and for most,

  being terminated and barred from return to the DOE or in many cases, private employers too.

         1507. These adverse actions occurred under circumstances giving rise to an inference of

  discrimination.

         1508. In fact, the evidence in this case raises much more than just an inference of

  discrimination, which is the most that is required under notice pleading standards.

         1509. Defendants’ adoption, implementation, ratification and enforcement of a facially

  discriminatory religious accommodation policy, which conditioned access to accommodation on

  membership in a preferred religious organization, and excluded access to those with unorthodox

  religious beliefs, shows discrimination as a matter of law.

         1510. The Supreme Court has held that an employer’s adoption of a policy that makes

  express classifications based on a protected characteristic constitutes “direct evidence of

  discrimination,” which is sufficient as a matter of law to win relief absent an affirmative defense.

  Trans World Airlines, Inc. v. Thurston, 469 U.S. 111 (1985).

         1511. In so holding, the Supreme Court explained that “the McDonnell Douglas test is

  inapplicable where the plaintiff presents direct evidence of discrimination.” Id. at 121

  (referencing McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973)).

         1512. Use of such classifications demonstrates a discriminatory purpose as a matter of

  law, without regard to the decision-makers’ animus or subjective intent. See Miller v. Johnson,

  515 U.S. 900, 904–05 (1995); see also Hassan v. City of New York, 804 F.3d. 277, 295 (3d Cir.

  2015) (“Put another way, direct evidence of intent is ‘supplied by the policy itself.’”).

         1513. The Plaintiff’s case here is even stronger than TWA, because unlike the age

  discrimination statutes, there is no affirmative defense to a policy that discriminates between



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  orthodox and unorthodox religious beliefs.

         1514. The Stricken Standard policy made express classifications based on protected

  characteristics – to wit – membership in a disfavored religious group and defined all other religious

  beliefs as somehow not meriting the same protection as those the policy favored.

         1515. Contrary to the Stricken Standards’ unlawful criteria, the term “religion” includes

  all aspects of religious observance and practice, as well as belief. 42 U.S.C §2000e(j).

         1516. Protected religious beliefs also include “moral or ethical beliefs as to what is right

  and wrong which are sincerely held with the strength of traditional religious views.” 29 C.F.R.

  1605.1; 42 U.S.C §2000e(j).

         1517. It is well-settled law, acknowledged by the Supreme Court of the United States all

  the way down to the district courts and administrative agencies as well as state court systems, that

  an individual seeking to demonstrate a sincerely held religious belief under New York State or

  federal statutory or constitutional standards need not prove that his belief is part of the recognized

  dogma of a religious sect. See, e.g., Widmar v. Vincent, 454 U.S. 263 (1981) (“The beliefs need

  not be consistent with the dogma of any organized religion, whether to not the plaintiffs belong to

  any recognized religious organization.”)

         1518. “The fact that the religious group to which the individual professes to belong may

  not accept such belief will not determine whether the belief is a religious belief of the employee.”

  29 C.F.R. 1605.1.

         1519. An employee’s belief or practice can be “religious” under Title VII even if the

  employee is affiliated with a religious group that does not espouse or recognize that individual’s

  belief or practice, or if few – or no – other people adhere to it. Welsh v. U.S., 398 U.S. 333, 343

  (finding that petitioner’s beliefs were religious in nature although the church to which he belonged



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  did not teach those beliefs); Thomas v. Rev. Bd. Of Ind. Emp’t Sec. Div., 450 U.S. 707, 715 (1981)

  (disagreement among sect workers as to whether their religion made it sinful to work in an

  armaments factory irrelevant to whether belief was religious in nature because “[t]he guarantee of

  free exercise is not limited to beliefs which are shared by all of the members of a religious sect.”).

          1520. Employers, especially government employers, must not entangle themselves in

  religious questions when assessing a request for religious accommodation.

          1521. Employers, especially government employers, cannot substitute judgment for the

  employee about whether the belief is religious in nature.

          1522. Nor can employers, especially government employers, deny an applicant because

  her religious beliefs overlap with similar secular concerns – religious employees are entitled to

  have both religious and secular concerns, and this does not diminish protection of the employee’s

  religious practices.

          1523. The Supreme Court of the United States cautions: “it must be remembered that, in

  resolving these exemption problems, one deals with the beliefs of different individuals who will

  articulate them in a multitude of ways. In such an intensely personal area, of course, the claim of

  the registrant that his belief is an essential part of a religious faith must be given great weight.”

  U.S. v. Seeger, 85 S.Ct. 850, 863 (1965); See also EEOC v. United Health Programs of Am., Inc.,

  213 F. Supp. 3d 377, 393 (E.D.N.Y. 2016) (“Delineating the meaning of ‘religion’ for purposes of

  Title VII often requires resort to First Amendment cases, where nontraditional religious practices

  are a frequent source of litigation.”).

          1524. It is impermissible “to question the centrality of particular beliefs or practices to a

  faith, or the validity of particular litigants' interpretations of those creeds.” Hernandez v. Comm’r,

  490 U.S. 680, 699 (1989).



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         1525. Defendants violated each of these cardinal rules and more.

         1526. In addition to adopting a written policy that makes express classifications and

  favors certain religions over others, hostile comments by high-level City actors’ and DOE agents

  about the invalidity of sincere religious objections grounded in concerns about abortion or

  personal prayer, or derived from religions other than Christian Science, constitute further direct

  evidence of discrimination.

         1527. As and for another count of direct evidence of discrimination, the City and DOE

  further discriminated against Plaintiffs by subjecting those who did not qualify under the Stricken

  Standards to a more onerous undue hardship standard than those who were favored under the

  unconstitutional criteria.

         1528. Under the Stricken Standards, those who met the discriminatory definition “shall

  be accommodated” and no provision was made for an undue hardship defense. Pursuant to that

  policy, at least 163 people were accommodated.

         1529. But when the Citywide Panel gave supposed “fresh consideration” to the

  applications of some of those denied under the original Stricken Standards, they applied a blanket

  undue hardship ban on accommodation for any teacher and most other employees – thus imposing

  a less generous standard.

         1530. By adopting a substantially different undue hardship standard for those who were

  deemed to meet the discriminatory criteria of the Stricken Standards, both DOE and the City

  showed direct discrimination against unorthodox religious beliefs.

         1531. Moreover, they continued to apply the same unconstitutional bar against

  accommodation of personally held religious beliefs and beliefs grounded in concerns about

  abortion.



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         1532. Under the direct evidence standard of review, it must be presumed that the adverse

  employment actions were pretextual and discriminatory, and, under this framework, Defendants

  cannot survive summary judgment without asserting an affirmative defense.

         1533. No such defense is available because it is black letter law that the government may

  not target religious minorities for disparate treatment, no matter how well-intentioned the subject

  regulation may be. Trump v. Hawaii, 138 S. Ct. 2392, 2423 (2018).

         1534. In the alternative Plaintiffs set forth a prima facie case under the McDonnell

  Douglas framework.

         1535. Plaintiffs were each qualified for employment at the time they were denied, and

  each could have been accommodated without undue hardship, but they were denied and subjected

  to adverse employment actions, including, as one of many examples, being suspended without

  pay.

         1536. Plaintiffs have more than established an inference of discriminatory intent, as

  DOE representatives and the City’s representatives have repeatedly made public comments and

  official comments dismissing and showing animus towards religious opposition to vaccination

  (other than supposedly for Christian Scientists).

         1537. Plaintiffs also provided ample evidence that gives rise to an inference of further

  discrimination.

         1538. For example, even though they’d been ordered to make religious accommodations

  (by a court and by an arbitrator), Defendants denied 100% of all applicants immediately upon

  receipt of their application, leading to the strong presumption that the denials were pretext, and

  based on discrimination rather than a good faith undue hardship finding.

         1539. The DOE’s representatives then argued repeatedly that applicants should be



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  denied for discriminatory reasons in the appeal hearings before an arbitrator provided under the

  Stricken Standards, claiming all Jews, Muslims, Catholics and Buddhists, should be

  presumptively disqualified based on their religion, among other discriminatory policies.

         1540. The evidence also leads to an inference that the Citywide Panel’s affirmance of all

  denials except one were infected by the same animus and were also pretextual.

         1541. This is compounded by hostile and dismissive comments made by the Mayor and

  Mr. Eichenholtz, who was placed in charge of the Citywide Panel process by the Mayor.

         1542. It is also shown by the email sent to Mr. Eichenholtz by a trainee on the panel,

  who confirmed that Mr. Eichenholtz had told her that beliefs related to a concern about abortion

  would not be accommodated.

         1543. It is also shown by the Citywide Panel’s notations received in related discovery,

  which show that the Citywide Panel continued to reject personally held beliefs, such as guidance

  from prayer, unlawfully substituting judgment to find that such beliefs, while sincere, are

  somehow “not religious in nature” or “do not preclude the applicant from getting vaccinated.”

         1544. Defendants’ discrimination impacted all applicants for religious accommodation,

  including Plaintiffs, many of whom were told, point blank told that they were being denied relief

  because their religious “leader” allegedly did not share their beliefs, among other discriminatory

  reasons.

         1545. Plaintiffs should also prevail under a disparate impact theory of discrimination.

         1546. Disparate impact discrimination is also barred by Title VII, and “occurs when an

  employer uses facially neutral policies or practices that a have a disproportionately adverse effect

  on protected groups.” Ricci v. DeStefano, 557 U.S. 557, 577–78 (2009).

         1547. “Disparate-impact claims do not require a showing of discriminatory intent.”



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  United States v. Brennan, 650 F.3d 65, 90 (2d Cir. 2011). Rather, “a plaintiff establishes a prima

  facie violation by showing that an employer uses ‘a particular employment practice that causes a

  disparate impact on the basis of race, color, religion, sex, or national origin.’” Ricci v. DeStefano,

  557 U.S. 557, 578 (2009) (citing 42 U.S.C. § 2000e–2(k)(1)(A)(i)).

         1548. An employer can rebut a prima facie case “by demonstrating that the practice is

  ‘job related for the position in question and consistent with business necessity.’” Id.

         1549. The plaintiff, in turn, can rebut that showing by “showing that the employer

  refuses to adopt an available alternative employment practice that has less disparate impact and

  serves the employer's legitimate needs.” Id. (citing §§ 2000e–2(k)(1)(A)(ii) and (C)).

         1550. “The basis for a successful disparate impact claim involves a comparison between

  two groups—those affected and those unaffected by the facially neutral policy.” Tsombanidis v.

  W. Haven Fire Dep't, 352 F.3d 565, 575 (2d Cir.2003).

         1551. Most people can take a Covid-19 vaccine without violating their religious beliefs.

         1552. But a recognized minority of people cannot.

         1553. Those who cannot were disparately impacted by the Covid-19 vaccine policy, and

  the draconian religious accommodation policies that were imposed as a result.

         1554. The employers cannot show that imposing the Mandate was consistent with

  business necessity, as the vaccines do not stop transmission.

         1555. But even if they could, the DOE could have been far less punitive with those

  employees who were unable to take the vaccine.

         1556. DOE did not have to put a scarlet letter on people’s files, or strip them of tenure,

  or coerce them into signing waivers, or try to prevent them from getting work anywhere – at the

  DOE or elsewhere, or refuse to do 3020 hearings, which by law, they were required to provide to



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  all tenured employees before making any change to conditions or benefits.

            1557. And the DOE could have come up with ways to accommodate employees, like

  weekly testing, which was sufficient at every other school district in the state and could have

  worked at the DOE too.

            1558. And there is of course a disparate impact claim among religions, as some religions

  and types of religious beliefs were preferred over others during the religious accommodation

  process.

            1559. As a direct and proximate result of each Defendants' discrimination, Plaintiffs

  suffered harms, including but not limited to those set forth in the first cause of action.

            1560. Plaintiffs seek injunctive and declaratory relief, and damages, including nominal,

  actual, compensatory, and punitive damages, along with attorneys’ fees pursuant to this cause of

  action.

            1561. Plaintiffs are also entitled to reasonable attorneys’ fees and costs.

                                      THIRD CAUSE OF ACTION

                        (Retaliation and Harassment in Violation of Title VII)

                              Class and all Plaintiffs against all Defendants

            1562. Plaintiffs incorporate all other paragraphs of this Complaint as if fully set forth

  herein.

            1563. Pursuant to the single filing rule, Plaintiffs also assert retaliation and harassment

  claims in violation of Title VII.

            1564. Plaintiffs each sought religious accommodation from the vaccine mandate, which

  is protected activity pursuant to statute.

            1565. Defendants were aware that Plaintiffs sought to protect their religious rights, as



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  each Plaintiff applied for accommodation and each Defendant acknowledged receipt of their

  application and indicated that it would be considered.

            1566. Rather than accommodate Plaintiffs, Defendants denied accommodation,

  terminated them, attached damaging problem codes to their files, and then blocked their efforts

  to get unemployment insurance, asserting that they’d engaged in misconduct for being unable to

  violate their sincerely held religious beliefs and/or that they’d “voluntarily” quit when in reality

  they were terminated against their will.

            1567. Defendants used many of the discriminatory and unconstitutional arguments they

  already knew were unlawful – such as that applicants had to be denied unemployment insurance

  because the Pope did not agree with their beliefs.

            1568. Defendants also denied Plaintiffs a 3020 hearing, even though it is illegal to take

  adverse action against a tenured employee, or attach a finding of “misconduct” to their files

  without such hearing.

            1569. Defendants also refuse to rehire most Plaintiffs without coercive and unnecessary

  conditions not imposed on new hires.

            1570. Defendants also harassed and denigrated Plaintiffs in the arbitration hearings and

  made dismissive and derogatory comments about their faith to the press and to their face.

            1571. As a direct and proximate result of each Defendants' discrimination, Plaintiffs

  suffered harms, including but not limited to those set forth in the first cause of action.

            1572. Plaintiffs seek injunctive and declaratory relief, and damages, including nominal,

  actual, compensatory, and punitive damages, along with attorneys’ fees pursuant to this cause of

  action.

            1573. Plaintiffs are also entitled to reasonable attorneys’ fees and costs.



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                                     FOURTH CAUSE OF ACTION

                                           (Violation of SHRL)

                         Class and all Plaintiffs except DiCapua against all Defendants

            1574. For the reasons set forth in the first three causes of action, supra, Plaintiffs assert

  claims under the SRHL against both defendants for failure to accommodate, discrimination,

  harassment, retaliation and aiding and abetting discrimination in violation of the SHRL.

            1575. Plaintiffs repeat and realleges all paragraphs of this Complaint as if fully set forth

  herein.

            1576. At all relevant times, the SHRL has been in full force and effect, and has applied

  to both Defendants’ conduct.

            1577. Defendants worked in concert to deprive Plaintiffs of reasonable accommodation.

            1578. The SHRL provides:

            It shall be an unlawful discriminatory practice for an employer, or an employee or agent
            thereof, to impose upon a person as a condition of obtaining or retaining employment,
            including opportunities for promotion, advancement or transfers, any terms or conditions
            that would require such person to violate or forego a sincerely held practice of his or her
            religion…unless, after engaging in a bona fide effort, the employer demonstrates that it is
            unable to reasonably accommodate the employee’s or prospective employee’s sincerely
            held religious observance or practice without undue hardship on the conduct of the
            employer’s business.

  N.Y. Executive Law § 296(10(a).

            1579. It is also a violation of the SHRL for any party to aid or abet another in the violation

  of rights guaranteed thereunder.

            1580. Undue hardship is defined under the SHRL as “an accommodation requiring

  significant expense or difficulty (including significant interference with the safe or efficient

  operation of the workplace…).” N.Y. Executive Law § 296(10(d)




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         1581. If the undue hardship is alleged based on a safety concern, “the employer must

  make an individualized assessment, based on reasonable judgment that relies on current medical

  knowledge or the best available objective information to ascertain: the nature, duration and

  severity of the risk; the probability that the potential injury will actually occur, and whether

  reasonable accommodations, such as modification of policies, practices or procedures, will

  mitigate the risk.” 9 CRR-NY 466.11.

         1582. At all relevant times, Defendants were Plaintiff’s employer, or potential employer,

  as defined by the SHRL.

         1583. The City was also the DOE’s agent, in the Citywide Panel reviews, and controlled

  the DOE, directing, aiding and abetting the discriminatory practices at every level of review.

         1584. For the same reasons set forth above in the First Claim, Defendants violated the

  SHRL by failing to accommodate Plaintiffs.

         1585. The same standards which define protected religious beliefs under federal standards

  govern state and local statutory accommodation requests, though the SHRL and CHRL are more

  generous and expressly include creed as a protected category of religious belief.

         1586. Similar standards govern the undue hardship determination, though there is a

  heightened burden on employers under the SHRL to show a significant burden and to assess

  specific factors using the most current objective evidence prior to denial of relief.

         1587. Failure to engage in cooperative dialogue about undue hardship also leads to a

  strong presumption of discrimination under the state statutory requirements.

         1588. Accommodating Plaintiffs would not have required significant expense or

  difficulty from DOE.




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          1589. Accommodating Plaintiffs would not significantly interfere with the safe or

  efficient operation of the DOE’s workplaces.

          1590. Accommodating Plaintiffs would not require the DOE to violate a bona fide

  seniority system.

          1591. Defendants failed to engage in any interactive process with Plaintiffs regarding

  potential accommodations or the difficulties posed by any prior to denial.

          1592. Defendants violated the SHRL by denying Plaintiffs’ request for reasonable

  accommodation without first engaging in an interactive process and assessing the statutory factors.

          1593. Instead of accommodating Plaintiffs’ religious beliefs, Defendants retaliated

  against Plaintiffs by suspending them, and terminating them if they would not violate their

  religious beliefs.

          1594. For the same reasons set forth in the preceding claims, and herein, Defendants also

  are liable under the SHRL for discrimination, harassment and retaliation based on religion.

          1595. The SHRL adopts the same frameworks for assessing discrimination, retaliation

  and harassment claims but is governed by a standard even more generous to Plaintiffs.

          1596. Aiding and abetting discrimination is expressly also listed as a standalone violation

  of the statute even if the colluder is not the employer.

          1597. Plaintiffs seek relief on behalf of themselves and all others similarly situated to

  address widespread discriminatory practices.

          1598. This goal meets the public interest exception to the notice of claim requirements

  applicable to the DOE.

          1599. There are no notice of claim requirements attaching to claims under the SHRL

  against the City.



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            1600. Moreover, multiple plaintiffs did file notices of claims with the DOE within three

  months of the occurrence.

            1601. And the functional notice requirements were met in any event by timely EEOC

  complaints by Plaintiffs DiCapua and Zapantis, who provided the DOE with notice of class wide

  discrimination.

            1602. As a direct and proximate result of each Defendants' discrimination, retaliation

  and harassment, Plaintiffs suffered harms, including but not limited to those set forth in the first

  cause of action.

            1603. Plaintiffs seek injunctive and declaratory relief, and damages, including nominal,

  actual, compensatory, and punitive damages, along with attorneys’ fees pursuant to this cause of

  action.

            1604. And Plaintiffs are entitled to reasonable attorneys’ fees and costs under the SHRL.

  Executive Law § 297(10).

                                      FIFTH CAUSE OF ACTION

                                           (Violation of CHRL)

                     Class and all Plaintiffs except DiCapua against all Defendants

            1605. For the reasons set forth in the first four causes of action, supra, Plaintiffs assert

  claims under the CHRL against both defendants for failure to accommodate, discrimination,

  harassment, retaliation and aiding and abetting discrimination in violation of the CHRL.

            1606. Plaintiffs repeat and realleges all paragraphs of this Complaint as if fully set forth

  herein.

            1607. At all relevant times, the CHRL has been in full force and effect and has applied

  to Defendants’ conduct.



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         1608.   Pursuant to the CHRL:

         It shall be an unlawful discriminatory practice for an employer or an employee or agent
         thereof to impose upon a person as a condition of obtaining or retaining employment any
         terms or conditions, compliance with which would require such person to violate, or
         forego, a practice of, such person’s creed or religion,…and the employer shall make
         reasonable accommodation to the religious needs of such person.

         N.Y.C. Admin Code § 8-107(3)(a).o
         1609. Like the SHRL, the CHRL also prohibits encouraging, aiding or abetting the

  violation of any rights provided therein.

         1610. Plaintiffs each have sincerely held religious belief (and creed) that prevents them

  from being able to take a Covid-19 vaccine.

         1611. Plaintiffs each requested reasonable accommodation to retain their employment

  without violating their faith.

         1612. The DOE denied Plaintiff’s request for reasonable religious accommodation and

  suspended them pursuant to a facially unconstitutional religious exemption policy.

         1613. The City, who had agreed to review the initial denials after DOE’s religious

  accommodation policies were held unconstitutional, also denied Plaintiffs religious

  accommodation requests, thereby depriving Plaintiffs of the right to be reinstated with back pay

  as agreed if they met the statutory accommodation statutes.

         1614. As a result of each Defendants’ actions, Plaintiffs were each suspended and/or

  terminated, and in some instances forced to submit to vaccination in violation of their sincerely

  held religious beliefs.

         1615. Both Defendants actions violated Plaintiffs’ rights and proximately caused their

  adverse employment consequences.

         1616. Both Defendants also failed to engage in the required cooperative dialogue with

  Plaintiffs before denying their accommodation requests, which is a separate and independent act


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  of discrimination under the CHRL.

         1617. The CHRL prohibits denial of accommodation until the employer engages in a

  cooperative dialogue.

         The determination that no reasonable accommodation would enable the person requesting
         an accommodation to satisfy the essential requisites of a job or enjoy the right or rights in
         question may only be made after the parties have engaged, or the covered entity has
         attempted to engage, in a cooperative dialogue.

         N.Y.C. Admin. Code § 8-107(28)(2).

         1618. Pursuant to statute, the cooperative dialogue must include analysis and discussion

  about any possible accommodation and the challenges they might face, so that the employee has

  a chance to engage with the process and offer suggestions too which can be considered in good

  faith before denial.

         1619. This amendment was made in response to a Court of Appeals holding that the

  failure to engage in cooperative dialogue, while very important and indicative of whether an

  employer acted in good faith, was not enough to result in a summary judgment determination

  absent more.

         1620. The legislative history of the CHRL amendment notes that the amendment was

  meant to cure this holding, and to make failure to engage in cooperative dialogue an independent

  basis for finding summary judgment against the employer, even if undue hardship could have

  ultimately been proven.

         1621. Other important amendments are relevant too.

         1622. In 2005, the New York City Council amended the CHRL by passing the Local

  Civil Rights Restoration Act of 2005 (the “Restoration Act”), N.Y.C. Local L. No. 85.

         1623. “In amending the []CHRL, the City Council expressed the view that the []CHRL

  had been ‘construed too narrowly’ and therefore ‘underscore[d[ that he provisions of New York


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  City’s Human Rights Law are to be construed independently from similar or identical provisions

  of New York state or federal statutes.’” Restoration Act § 1.

         1624. To bring about the change, the Act established two new rules of construction. First,

  it created a “one way ratchet” by which interpretations of state and federal civil rights statutes

  can serve only “’as a floor below which the City’s Human Rights law cannot fall.’” Restoration

  Act § 1. Second, it amended the CHRL to require that its provisions “be construed liberally for

  the accomplishment of the uniquely broad and remedial purposes thereof, regardless of whether

  federal or New York State civil and human rights laws, including those laws with provisions

  comparably-worded to provisions of this title[,] have been so construed.” Restoration Act § 7

  (amending N.Y.C. Admin. Code § 8-130).

         1625. In 2011, New York City enacted the Workplace Religious Freedom Act, amending

  sections 8-102 and 8-107, to adopt a stiffer standard for assessing undue hardship. The committee

  report noted that the City Council’s intention was “to provide greater protection to workers under

  the City Human Rights Law than the federal, and even the State, human rights provisions

  provide.” N.Y.C. Council, Report of Committee on Civil Rights on Proposed Int. No. 632, Aug.

  16, 2011.

         1626. Under the CHRL, undue hardship is defined:

         “Reasonable accommodation” as used in this subdivision, shall mean such
         accommodation to an employee’s or prospective employee’s religious observance or
         practice as shall not cause undue hardship in the conduct of the employer’s business. The
         employer shall have the burden of proof to show such hardship. “Undue hardship” as used
         in this subdivision shall mean an accommodation requiring significant expense or
         difficulty (including a significant interference with the safe or efficient operation of the
         workplace or a violation of a bona fide seniority system.)

         N.Y.C. Admin. Code § 8-107(3)(b).

         1627. Plaintiffs were able to perform the essential duties of their job with reasonable



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  accommodation.

         1628. Accommodating Plaintiffs would not require significant expense or difficulty

  from the Defendants.

         1629. Accommodating Plaintiffs would not require the Defendants to violate a bona fide

  seniority system.

         1630. Accommodating Plaintiffs would not significantly interfere with the safe or

  efficient operation of Defendant’s workplace.

         1631. Plaintiffs and their colleagues each asserted sincere religious objections and there

  was no basis to question their sincerity.

         1632. Defendants did not establish that Plaintiffs posed a direct threat because of their

  vaccine status, nor can they do so, as set forth more fully above.

         1633. Plaintiffs also assert discrimination, harassment, and retaliation claims pursuant

  to CHRL, as more fully described in the SHRL and Title VII causes of action, which apply the

  same standards, though the CHRL is to be the most favorably construed towards Plaintiffs.

         1634. As a direct and proximate result of Defendants’ unlawful discriminatory practices,

  Plaintiffs have suffered and continues to suffer substantial losses, for which she is entitled to an

  award of monetary damages which exceeds the jurisdiction limits of all lower courts, along with

  reinstatement, declaratory nominal, compensatory and other relief.

         1635. As a direct and proximate result of Defendants’ failure to accommodate Plaintiffs,

  Plaintiffs suffered, and continues to suffer, severe mental anguish and emotional distress,

  including but not limited to depression, humiliation, embarrassment, stress and anxiety, loss of

  self-esteem and self-confidence, and emotional pain and suffering for which she is entitled to an

  award of monetary damages in an amount to be determined at trial.



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          1636. As a direct and proximate result of Defendants’ failure to accommodate, Plaintiffs

  are also entitled to injunctive and declaratory relief, nominal and compensatory damages, pain

  and suffering and punitive damages.

          1637. As set forth above, Defendants’ conduct was willful and showed a reckless

  disregard for Plaintiffs’ rights, and the rights of all of her similarly situated colleagues. In denying

  accommodation, Defendants violated their own policies as well as well-established law, all while

  flouting multiple court orders.

          1638. Plaintiffs are also entitled to attorneys’ fees, expert fees, and other costs under the

  CHRL N.Y.C. Admin Code §8-502(g).

                                     SIXTH CAUSE OF ACTION

                   (Violation of the U.S. Constitution - Equal Protection Clause)

                   Class and all Plaintiffs except DiCapua against all Defendants

          1639. Plaintiffs reincorporate all paragraphs of this Complaint as if fully written herein.

          1640. Plaintiffs assert that DOE’s adoption of a facially discriminatory religious

  accommodation policy, which conditioned access to accommodation on membership in a

  preferred religious organization, and excluded access to those with unorthodox religious beliefs,

  constitutes direct evidence of discrimination in violation of the Equal Protection Clause of the

  United States Constitution.

          1641. Defendants are judicially and collaterally estopped from arguing that the Stricken

  Standards policy is non-discriminatory. As the Second Circuit already noted: “The City concedes

  that the Arbitration Award…’may’ have been ‘constitutionally suspect,’ [] and its defense of that

  process is half-hearted at best. Indeed, it offers no real defense of the Accommodation Standards

  at all.” Kane v. de Blasio, 19 F.4th 152, 167 (2d Cir. 2021). “We confirm the City’s ‘susp[icion]’



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  …” Id.

           1642. First, the Court held that the written policy is not neutral, because on its face, it

  singles out unorthodox beliefs and faiths for disparate and unequal treatment: “We conclude, first,

  that the procedures specified in the Arbitration Award and applied to Plaintiffs are not neutral.

  The Supreme Court has explained that ‘the government, if it is to respect the Constitution’s

  guarantee of free exercise, cannot impose regulations that are hostile to religious beliefs of

  affected citizens and cannot act in a manner that passes judgment upon or presupposes the

  illegitimacy of religious beliefs and practices.’ Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights

  Comm’n, ---U.S.---, 138 S. Ct. 1719, 1731 (2018).” Id. at 168. Moreover, hostile comments by

  high-level City actors’ and DOE agents about the invalidity of sincere religious objections

  grounded in concerns about abortion or personal prayer, or derived from religions other than

  Christian Science, constitute additional direct evidence of discrimination.

           1643. Next, the Court also acknowledged additional direct evidence of discrimination in

  the application of DOE’s facially unlawful standards, for example, through DOE’s pattern of

  recharacterizing people’s beliefs as personal rather than religious. “Denying an individual a

  religious accommodation based on someone else’s publicly expressed religious views – even the

  leader of her faith – runs afoul of the Supreme Court’s teaching that [i]t is not within the judicial

  ken to question the centrality of particular beliefs or practices of faith, or the validity of particular

  litigants’ interpretation of those creeds.” Id. at 168-169 (emphasis in original).

           1644. Moreover, the City’s choice to apply a more onerous undue hardship to employees

  who did not meet the discriminatory criteria under the original Stricken Standards than those who

  were unlawfully preferenced under the original policy constitutes another express classification

  and is yet another instance of direct evidence of discrimination.



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            1645. Moreover, Defendants’ discriminatory statements made when implementing the

  policy constitute further direct evidence of discrimination.

            1646. Because Defendants adopted written and de facto policies with express

  classifications based on which religion a person belonged to, and because of the other Direct

  Evidence of discrimination set forth above, Plaintiffs’ denials of accommodation must be

  presumed to be pretextual and discriminatory under this framework, and Defendants cannot

  survive summary judgment since there is no affirmative defense.

            1647. As a direct and proximate result of Defendants' discrimination, Plaintiffs suffered,

  and continue to suffer, economic consequences, and severe mental anguish and emotional

  distress, including but not limited to depression, humiliation, embarrassment, stress and anxiety,

  loss of self-esteem and self-confidence, and emotional pain and suffering for which they are

  entitled to an award of monetary damages in an amount to be determined at trial.

            1648. Plaintiffs are entitled to injunctive and other equitable relief, including

  reinstatement with no break in service, front pay and back pay in salary and all benefits and

  employment terms, including retirement credits, compensatory damages, including pain and

  suffering, nominal damages at an amount to be determined at trial, and attorney’s fees. 42 U.S.C.

  §§ 1981a(a)(1), 2000e-5(g)(1), (k).

            1649. Plaintiffs also seek declaratory relief and nominal damages. Id.

                                   SEVENTH CAUSE OF ACTION

                 (Infringement of Free Exercise Clause – United States Constitution)

                     Class and all Plaintiffs except DiCapua against all Defendants

            1650. Plaintiffs repeat and reallege all paragraphs of this Complaint as if fully set forth

  herein.



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         1651. The Free Exercise Clause of the First Amendment to the United States Constitution

  prohibits the government from burdening the free exercise of religion.

         1652.    The First Amendment provides, in pertinent part, that “Congress shall make no law

  respecting an establishment of religion or prohibiting the free exercise thereof…” U.S. Const.

  amend. I.

         1653. The Supreme Court has held that “a law burdening religious practice that is not

  neutral or not of general application must undergo the most rigorous of scrutiny.” Church of

  Lukumi Babalu Aye, Inc. v. Hialeah, 508 U.S. 520, 546 (1993).

         1654. Where there is evidence of animus, or where there is a mechanism for exemption

  or lack of general neutrality requirements, an infringement must be strictly scrutinized, and the

  Defendants bear the burden of showing that they applied a law or policy using the least restrictive

  means available to further a compelling state interest.

         1655. Plaintiffs’ sincerely held religious beliefs prohibit them from taking a Covid-19

  vaccine.

         1656. Defendants’ denials of accommodation substantially burdened Plaintiffs’ free

  exercise of religion, in that they were forced to violate their faith if they wanted to keep her job

  and avoid serious consequences.

         1657. Defendants’ refusal to accommodate Plaintiffs’ religious practices created coercive

  pressure on them to change or violate their sincerely held religious beliefs.

         1658. The Mandate, which Defendants used to justify the denial of accommodation, was

  not neutral nor was it generally applicable as this complaint fleshes out in a way that the complaint

  assessed in NYFRL or Kane did not.




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         1659. The Mandate is not generally applicable, because the Mayor and other members of

  the Executive Branch is empowered to make exceptions to the Mandates in their sole discretion.

         1660. Since the DOE Mandate was issued, the Mayor has issued over a hundred executive

  orders, extending and expanding coverage of the City’s vaccine mandates to various different

  groups, and then making carve-outs and exceptions according to secular reasons that undermine

  the Government’s stated reason the same way that a religious carve out would.

         1661. The Mandate is also not generally applicable because it makes exceptions for

  secular reasons that defeat the purpose of the Mandate in the same manner.

         1662. For example, the DOE Mandate allows bus drivers to remain unvaccinated, even

  though they are in enclosed busses with unvaccinated children, and it allows students to remain

  unvaccinated and attending class in person, though they are just as able to spread Covid-19 to their

  peers as teachers, but it requires teachers to be vaccinated.

         1663. The Mandate is also not generally applicable, because, on its face, it allows

  employers to exercise a mechanism for individualized exception – to wit, medical or religious

  accommodation.

         1664. Pursuant to state and municipal law, discretionary mechanisms for exemption

  existed whereby each of the Defendants was not only allowed but required to consider whether to

  grant a religious or medical accommodation when an employee applies.

         1665. These exemption reviews are defined to be individualized processes, which are,

  like the “good cause” standard, open to interpretation and not a ministerial act, like determining

  whether a person has a doctor’s note. Thereby, discretion is routinely applied in deciding whether

  to accept or deny an application for accommodation.




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          1666. The DOE also adopted a policy for religious accommodations, thereby defeating

  any argument that the Mandates were general applicable without a mechanism for accommodation,

  as applied, and the City also added an express provision, coupled by a promise to a state court, that

  religious accommodation and exemption would be allowed.

          1667. The religious accommodation policies implemented and enforced by the DOE and

  the City were also themselves government policies that burdened religion, and they were not

  neutral nor generally applicable either.

          1668. As recognized by the Second Circuit, DOE’s adoption of a discriminatory written

  policy and comments by DOE decision makers defeats neutrality.

          1669. This complaint adds further detail showing that the City also directly participated

  in and facilitated the discrimination that occurred under the Stricken Standards, and then after the

  Second Circuit held they were unconstitutional, failed to disavow them and continued to enforce

  them.

          1670. Because the policies were not neutral, strict scrutiny applies.

          1671. The Second Circuit also already held that the Defendants’ religious accommodation

  policies were not generally applicable, because decision-makers exercised discretion about

  whether to grant or deny accommodation, thereby evidencing a mechanism for individualized

  exemption.

          1672. Because the policies were not generally applicable, strict scrutiny applies.

          1673. Defendants, who are each state actors, did not have a compelling interest in

  requiring Plaintiffs to be vaccinated.

          1674. The vaccine cannot stop transmission, and there is therefore outside of the state’s

  police powers.



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         1675. To the extent that the Defendants could prove that any significant danger existed

  because of Plaintiff’s vaccine status, reasonable accommodations such as weekly testing, daily

  symptom checks, mask use or allowing remote or off-site meetings could have been implemented

  without undue hardship.

         1676. In refusing to accommodate Plaintiff’s sincerely held religious beliefs, Defendants

  did not use the least restrictive means of furthering any compelling state interest.

         1677. More importantly, as the Second Circuit pointed out, Defendants did not have a

  compelling interest in any event in conditioning access to accommodation on membership in a

  favored religious organization.

         1678. Nor do Defendants have a compelling interest in applying a more favorable undue

  hardship analysis to those found to meet the criteria for the impermissibly favored religions.

         1679. Defendants’ actions injured and continue to injure Plaintiffs, by chilling their right

  to practice their religion and imposing lasting consequences and harm to their emotional,

  psychological, physical, and financial wellbeing, as well as their reputation.

         1680. As a direct result of the violation of their First Amendment rights, most Plaintiffs

  are still unlawfully removed from their jobs.

         1681. Plaintiffs seek, and are entitled to, declaratory relief and nominal damages stating

  that the denial of their religious accommodation and subsequent employment consequences are

  void ab initio and violated their First Amendment right to freely practice their religion.

         1682. Plaintiffs are entitled to, and seek, reinstatement with no break in service, and full

  compensation for front and back pay of salary, benefits, retirement credits and all employment

  benefits, including anticipated raises, as if she had never been denied religious accommodation,




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  along with compensatory damages for actual harm, including pain and suffering and emotional

  damages, along with punitive damages and attorney’s fees. Tanzin v. Tanvir, 141 S. Ct. 486 (2020).

                                    EIGHTH CAUSE OF ACTION

              (Violation of the Establishment Clause of the United States Constitution)

                     Class and all Plaintiffs except DiCapua against all Defendants

            1683. Plaintiffs repeat and reallege all paragraphs of this Complaint as if fully set forth

  herein.

            1684. The Establishment Clause of the First Amendment to the United States Constitution

  prohibits the State from preferencing any particular religion or religious dogma or belief, or

  abridging Plaintiffs’ rights to free exercise of religion.

            1685. Defendants each violated the Establishment Clause by expressing a preference for

  certain faiths and leaders over others and by expressing animus towards religious objection to

  vaccination.

            1686. The DOE took this so far as to adopt a facially discriminatory policy, which favors

  Christian Scientists on its face, and requires discrimination against minority and unorthodox faiths.

            1687. The various preferences expressed by the state actors for some religions and

  religious leaders or religious beliefs over others trigger strict scrutiny of Defendants’ denial of

  Plaintiffs’ religious beliefs as a violation of the Establishment Clause.

            1688. Defendants cannot meet the burden of proof to show that their denial of

  accommodation was narrowly tailored to further a compelling state interest.

            1689. There is no legitimate, rational or compelling interest in applying the Mandate to

  discriminate against unorthodox religious beliefs.




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         1690. The Mandate is not the least restrictive means of achieving an otherwise

  permissible government interest, which could be achieved by other protective measures but not by

  favoring some religious beliefs over others.

         1691. The Mandate, on its face and as applied, has caused, is causing and will continue

  to cause irreparable harm and actual undue hardship to Plaintiffs from the violation of their

  sincerely held religious beliefs and the occupational, professional, social, and economic

  consequences pleaded above.

         1692. Plaintiffs seek and are entitled to declaratory relief and nominal damages,

  injunctive relief including reinstatement with no break in service, back and front pay and benefits,

  actual, compensatory and punitive damages, along with attorneys’ fees, costs and expenses.

         WHEREFORE, for all causes of action pleaded above, Plaintiffs pray that this Court grant

  judgment to her containing the following relief:

         A.      A declaratory judgment that the Defendants’ failure to accommodate Plaintiffs’

  sincerely held religious beliefs and all actions arising therefrom are void ab initio and constitute

  unlawful discriminatory practices pursuant to Title VII along with nominal damages and attorneys’

  fees and costs; and

         B.      A declaratory judgment that the Defendants’ failure to accommodate Plaintiffs’

  sincerely held religious beliefs and all actions arising therefrom are void ab initio and constitute

  unlawful discriminatory practices pursuant to the New York City Human Rights Law along with

  nominal damages and attorneys’ fees and costs; and

         C.      A declaratory judgment that the Defendants’ failure to accommodate Plaintiffs’

  sincerely held religious beliefs and all actions arising therefrom are void ab initio and constitute




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  unlawful discriminatory practices pursuant to the New York State Human Rights Law along with

  nominal damages and attorneys’ fees and costs; and

          D.     A declaratory judgment that the Defendants’ failure to accommodate Plaintiffs’

  sincerely held religious beliefs and all actions arising therefrom are void ab initio and constitute

  unlawful discriminatory practices pursuant to the Equal Protection Clause of the United States

  Constitution along with nominal damages and attorneys’ fees and costs; and

          E.     A declaratory judgment that the Defendants’ failure to accommodate Plaintiffs’

  sincerely held religious beliefs and all actions arising therefrom are void ab initio because and

  violate the Free Exercise Clause of the First Amendment of the United States Constitution along

  with nominal damages and attorneys’ fees and costs; and

          F.     A declaratory judgment that the Defendants’ failure to accommodate Plaintiffs’

  sincerely held religious beliefs and all actions arising therefrom are void ab initio because and

  violate the Establishment Clause of the First Amendment of the United States Constitution along

  with nominal damages and attorneys’ fees and costs; and

          G.     An order that Defendants reinstate Plaintiffs to their former positions with full

  seniority, no break in service, status, retirement credits, salary increments, bonuses and benefits as

  if the denials of accommodation had never occurred; and

          H.     An award of actual and compensatory damages in an amount to be determined at

  trial; and

          I.     An award of costs in this action and any appeals, including reasonable attorney’s

  fees and expert fees under 42 U.S.C. § 1988, Title VII of the Civil Rights Act of 1964, the New

  York State Human Rights Law, and other governing laws; and




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         J.      An order for civil fines and penalties pursuant to New York Executive Law

  §297(9); and

         K.      An award of pre- and post-judgment interest on all amounts awarded to Plaintiffs

  and the class at the highest rates and from the earliest dates allowed by law on all causes of action;

  and

         L.      Such other and further relief as this Court may deem just and proper.

                                           JURY DEMAND

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure and Rule 38(b) of the

  Local Rules, Plaintiffs demand trial by jury for all the issues pleaded herein so triable.

  Dated: Ithaca, New York
          April 11, 2025


                                                        Respectfully Submitted,
                                                        Gibson Law Firm, PLLC

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